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              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

 Old Dominion Electric Cooperative,        )
                                           )
                    Petitioner             )
                                           )
       v.                                  )
                                                      20-1374
                                           ) Case No. _____
 Federal Energy Regulatory                 )
 Commission,                               )
                                           )
                    Respondent.            )
                                           )
                                           )


                     PETITION FOR REVIEW OF
               OLD DOMINION ELECTRIC COOPERATIVE

      Pursuant to Section 313(b) of the Federal Power Act, 16 U.S.C. § 825l(b), and

Rule 15(a) of the Federal Rules of Appellate Procedure and the Circuit Rules of the

United States Court of Appeals for the District of Columbia Circuit, Old Dominion

Electric Cooperative (“ODEC”) hereby petitions this Court for judicial review of the

following order issued by the Federal Energy Regulatory Commission (“FERC” or

“Commission”):

      PJM Interconnection, L.L.C., Order on Proposed Tariff and Operating
      Agreement Revisions, Docket Nos. EL19-58-000 and ER19-1486-000, 171
      FERC ¶ 61,153 (May 21, 2020) (“May 21 Order”).

      On June 22, 2020, ODEC, along with other parties, timely requested rehearing

of the May 21 Order. Subsequently, on July 20, 2020, the Commission issued in the
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same proceedings a Notice of Denial of Rehearings by Operation of Law and

Providing for Further Consideration (“Notice of Denial”). Pursuant to 16 U.S.C. §

825l(a) (2018) and the Court’s recent decision regarding the proper interpretation of

this statutory provision in Allegheny Defense,1 the Notice of Denial provided that

ODEC’s request for rehearing of the May 21 Order may be deemed denied by

operation of law due to the Commission’s lack of substantive action within thirty

days. The Notice of Denial also provided that “the rehearing requests of the [May

21 Order] filed in this proceeding will be addressed in a future order to be issued

consistent with the requirements of [16 U.S.C. § 825l(a)].”

      In Allegheny Defense, the Court determined that FERC does not have the

authority to issue tolling orders to extend the statutory period for requests for

rehearing under Section 717r of the Natural Gas Act, 15 U.S.C. § 717r. Because the

Court has consistently interpreted this provision and Section 313 of the Federal

Power Act similarly,2 ODEC believes that the Court may find its request for

rehearing was deemed denied by operation of law upon passage of the thirtieth day

after it was filed with the Commission and issuance of the Notice of Denial (i.e.,



1
 Allegheny Def. Project v. Fed. Energy Regulatory Comm'n, No. 17-1098 (D.C. Cir.
June 30, 2020) (en banc) (“Allegheny Defense”).
2
  See, e.g., Allegheny Defense, No. 17-1098, slip op. at 28 (citing City of Clarksville
v. Fed. Energy Regulatory Comm'n, 888 F.3d 477, 484 (D.C. Cir. 2018)).

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July 20, 2020).3 In that event, this petition for review would be timely filed no later

than sixty days thereafter (i.e., September 18, 2020), as prescribed by Federal Power

Act Section 313(b), 16 U.S.C. § 825l(b).

        The Commission, however, filed a motion requesting that the Court stay

issuance of the mandate in Allegheny Defense until October 5, 2020 in order to

facilitate the Commission’s consideration of how to implement the ruling and to

allow the federal government time to consider filing a petition for a writ of certiorari

in the Supreme Court.4 The Court granted the Commission’s motion on July 23,

2020.5 Accordingly, there is uncertainty regarding how the Court may treat the

Commission’s provision for a future order in this case and, correspondingly, how

the Court will view the timeliness of this petition. In the event that the Court allows

the July 20 Notice of Denial to postpone the deadline for substantive Commission

action on ODEC’s request for rehearing, then the Court may find that this petition is

premature and subject to dismissal without prejudice.6




3
    See 16 U.S.C. § 825l(a); Fed. R. App. P. 26(a)(1)(C).
4
    FERC Mot., No. 17-1098, at 1-2 (July 6, 2020).
5
    Per Curiam Order, No. 17-1098, at 1 (July 23, 2020).
6
 See, e.g., Clifton Power Corp. v. Fed. Energy Regulatory Comm'n, 294 F.3d 108,
110 (D.C. Cir. 2002).


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      Therefore, ODEC submits this petition for review out of an abundance of

caution in the event that the Court determines that the time period for ODEC to seek

judicial review of the May 21 Order has already commenced as opposed to awaiting

a FERC order on ODEC’s pending request for rehearing.

      A copy of the Commission’s order is attached hereto. Also attached to this

petition are: (1) the corporate disclosure statement required by Rule 26.1 of the

Federal Rules of Appellate Procedure; and (2) a Certificate of Service, with the list

of parties to the underlying proceeding.

                                Respectfully submitted,


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                                Counsel for Old Dominion Electric Cooperative


Dated: September 18, 2020




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              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

 Old Dominion Electric Cooperative,       )
                                          )
                   Petitioner             )
                                          )
       v.                                 )
                                          ) Case No. _____
 Federal Energy Regulatory                )
 Commission,                              )
                                          )
                   Respondent.            )
                                          )
                                          )


              CORPORATE DISCLOSURE STATEMENT OF
              OLD DOMINION ELECTRIC COOPERATIVE

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and Circuit

Rule 26.1, Old Dominion Electric Cooperative (“ODEC”) states as follows:

      1.    ODEC is a not-for-profit power supply electric cooperative to which

Rule 26.1 does not apply. See Fed. R. App. P. 26.1(a).
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                            Respectfully submitted,


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Dated: September 18, 2020




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                            CERTIFICATE OF SERVICE

      Pursuant to Rule 15(c) of the Federal Rules of Appellate Procedure, I hereby

certify that I have this 18th day of September, 2020, caused to be served copies of

the foregoing Petition for Review and Corporate Disclosure Statement by first class

mail, postage prepaid to:

      Ms. Kimberly D. Bose, Secretary
      Federal Energy Regulatory Commission
      888 First Street, N.E.
      Washington, D.C. 20426

      Robert Solomon, Solicitor
      Federal Energy Regulatory Commission
      888 First Street, N.E.
      Washington, D.C. 20426

and by email on all parties on the Commission’s service list in the underlying

proceeding Docket Nos. EL19-58-000 and ER19-1486-000, attached hereto.


                                            /s/ Adrienne E. Clair
                                            Adrienne E. Clair
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                              171 FERC ¶ 61,153
                         UNITED STATES OF AMERICA
                  FEDERAL ENERGY REGULATORY COMMISSION


 Before Commissioners: Neil Chatterjee, Chairman;
                       Richard Glick, Bernard L. McNamee,
                       and James P. Danly.


 PJM Interconnection, L.L.C.                                 Docket Nos. EL19-58-000
                                                                         ER19-1486-000


   ORDER ON PROPOSED TARIFF AND OPERATING AGREEMENT REVISIONS

                                   (Issued May 21, 2020)

        On March 29, 2019, PJM Interconnection, L.L.C. (PJM) submitted filings
 pursuant to sections 205 and 206 of the Federal Power Act (FPA)1 asserting that reserve
 market provisions of its Open Access Transmission Tariff (Tariff) and the Amended and
 Restated Operating Agreement of PJM (Operating Agreement) are unjust and
 unreasonable, and proposing revisions to the Tariff and Operating Agreement (Reserve
 Market Proposal) as a just and reasonable replacement rate.

         As discussed below, we find PJM’s existing Tariff and Operating Agreement
 unjust and unreasonable, largely adopt PJM’s proposed replacement rate as just and
 reasonable, subject to certain modifications, and direct PJM to submit a compliance filing
 to revise its Tariff and Operating Agreement within 45 days of the date of this order. We
 also find that adoption of the proposed revisions renders one element of PJM’s Reliability
 Pricing Model (RPM) capacity market, in Attachment DD to PJM’s Tariff, unjust and

        1
          16 U.S.C. §§ 824d-824e (2018). PJM filed the proposed revisions to the
 Operating Agreement pursuant to section 206 of the FPA and filed pursuant to section
 205 to include the same revisions to its Tariff, Attachment K-Appendix, which merely
 repeats certain provisions of the Operating Agreement. PJM Transmittal at 1 n.1. As
 PJM recognized in its transmittal letter, because PJM does not have authority under its
 Operating Agreement to file these revisions unilaterally pursuant to section 205, its
 section 205 filing remains subject to the requirements of section 206 of the FPA. Id. All
 citations to the “PJM Transmittal” herein, unless otherwise noted, refer to the transmittal
 filed in Docket No. EL19-58-000, which, aside from the cover letter and Attachments A
 and B, is identical to the transmittal filed in Docket No. ER19-1486-000.
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 unreasonable, establish the just and reasonable replacement rate, and direct PJM to
 submit a compliance filing within 45 days of the date of this order. As part of its further
 compliance filing, we direct PJM to propose an effective date as early as practicable that
 will allow it sufficient time to implement the revisions directed herein, including any
 necessary software changes. We recognize the interaction between the directives in this
 order and the pending revisions to the capacity market minimum offer price rules in
 Docket Nos. EL16-49-000 et al.2 PJM’s compliance filing should therefore present an
 implementation schedule for the instant revisions that appropriately harmonizes the
 revisions here with ongoing revisions in the other proceeding while minimizing any
 auction delays. The Commission will set the effective date for these Operating
 Agreement and Tariff revisions upon review of the compliance filing ordered herein.

 I.     Background

        Reserves play an important role in maintaining the reliability of the bulk power
 system. The North American Electric Reliability Corporation (NERC) mandates that
 each regional transmission organization and independent system operator (RTO/ISO), as
 Balancing Authorities, maintain sufficient reserves to respond to the loss of the largest
 single contingency on its system within 15 minutes.3 RTOs/ISOs also seek to maintain
 sufficient reserves to address other real-time operational uncertainties, such as deviations
 of load, generator availability and performance, and interchange from forecast values.
 RTOs/ISOs use different reserve product specifications and set different minimum
 reserve requirement (MRR) quantities, but the objective is the same—to adequately
 prepare for operational uncertainties.

        In PJM, resources capable of converting reserve capability into energy in 30
 minutes or less are eligible to provide 30-minute Reserves, which PJM refers to as Day-
 Ahead Scheduling Reserves. Resources capable of converting reserve capability into
 energy in 10 minutes or less are eligible to provide 10-minute Reserves, which PJM
 terms Primary Reserves. PJM currently procures Day-Ahead Scheduling Reserves in the
 day-ahead market and Primary Reserves in the real-time market. Primary Reserves,
 which PJM uses to meet NERC Reliability Standard BAL-002, are sub-divided into
 Synchronized and Non-Synchronized Reserves (depending on whether the supplying
 resource is synchronized to the transmission system), and Synchronized Reserves are




        2
         Calpine Corp. v. PJM Interconnection, L.L.C., 169 FERC ¶ 61,239 (2019), reh’g
 and clarification, 171 FERC ¶ 61,035 (2020).
        3
        See N. Am. Elec. Reliability Corp., Standard BAL-002 – Disturbance Control
 Performance (2019).
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 further sub-divided into Tier 1 and Tier 2 reserves.4 Tier 1 reserves represent the
 headroom on an online resource that could be converted to energy within 10 minutes
 based on the resource’s current dispatch point and ramp rate. Resources providing Tier 1
 reserves are generally not compensated and have no performance requirements or
 associated penalties for non-performance. Tier 2 reserves are provided by resources that,
 absent the need for additional reserves, would be dispatched to their profit-maximizing
 output for energy. Resources providing Tier 2 reserves are eligible for compensation and
 pay a penalty for failing to perform.

        Demand for reserves within PJM’s reserve market is represented by Operating
 Reserve Demand Curves (ORDCs). PJM currently uses step-function ORDCs, where the
 horizontal segments represent the maximum price the market is willing to pay for the
 associated quantity of reserves. These maximum prices are known as Reserve Penalty
 Factors. Reserve Penalty Factors can also be thought of as the maximum cost PJM will
 incur, within market, to redispatch its system to procure an additional megawatt (MW) of
 reserves. PJM currently uses ORDCs with two steps: (1) a step at a Reserve Penalty
 Factor of $850/MWh that extends to the MRR quantity for the particular reserve product
 (Step 1); and (2) a step at a Reserve Penalty Factor of $300/MWh that extends 190 MW
 beyond the MRR quantity (Step 2A). In certain circumstances, PJM can extend the
 second step of the ORDCs beyond 190 MW (Step 2B).

 II.    PJM’s Filings

         PJM explains that reserves play an important role in maintaining the reliability of
 its bulk power system, including managing system uncertainties. PJM states that the
 solution to managing these uncertainties is to line up resources that are not scheduled to
 serve load during the target period but that are capable of providing energy on short
 notice if needed.5

        PJM explains that its reserve requirements, and the procedures and products
 used to meet those requirements, have evolved over time. PJM explains that with any
 complex system, flaws can develop and become more apparent the longer they are left
 unaddressed. PJM states that several such flaws have developed within the PJM reserve




        4
        Superior reserve products are used to meet targets for inferior reserve products.
 For example, while there is a Synchronized Reserve Requirement, resources providing
 Synchronized Reserve also contribute to meeting the Primary Reserve Requirement.
        5
            PJM Transmittal at 2.
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 market which are unique to PJM and which lead to unjust and unreasonable rates that are
 unduly discriminatory and preferential.6

         PJM identifies the following concerns: (1) a Synchronized Reserve product
 definition that has led to under-compensation and poor performance because it is
 subdivided into Tier 1 and Tier 2 reserve products with disparate rules for commitment,
 compensation, and non-performance penalties; (2) ORDCs that fail to address
 uncertainties around load, wind and solar forecasts, and unanticipated supply resource
 outages and thus require PJM operators to frequently bias their scheduling of supply
 resources and take other out-of-market actions to preserve reliability; (3) reserve market
 clearing prices that do not reflect the operational value of flexibility; (4) a Reserve
 Penalty Factor of $850/MWh that is below the legitimate opportunity cost some resources
 could face in shortage or near-shortage conditions; and (5) misalignment of reserve
 products between the day-ahead and real-time markets that leads to inadequate
 procurement of forward reserves and inefficient commitment and pricing outcomes.7

        To address these concerns, PJM proposes to: (1) consolidate the Tier 1 and Tier 2
 reserve products into one product—Synchronized Reserve—with uniform commitment,
 compensation, and non-performance penalty structures; (2) raise the Reserve Penalty
 Factors to $2,000/MWh; (3) revise the ORDCs’ shape to be based on a probabilistic
 analysis of the risk of a reserve shortage due to operational uncertainties; and (4) align
 reserve procurement in the day-ahead and real-time markets by establishing two 10-
 minute Reserve requirements (Synchronized Reserve Requirement and Primary Reserve
 Requirement) and one 30-minute Reserve requirement (30-minute Reserve Requirement)
 in each market.8 PJM also proposes to define two new terms that are related but distinct:
 30-minute Reserve and Secondary Reserve. Secondary Reserve is the reserve capability
 of resources that can be converted fully into energy within 30 minutes.9 Secondary
 Reserve implicitly excludes reserve capability of resources that can be converted fully
 into energy within 10 minutes, which would be categorized instead as Synchronized
 Reserve or Non-Synchronized Reserve. By contrast, 30-minute Reserve is all
 reserve capability that can be converted fully into energy within 30 minutes, and




       6
           Id. at 2-3.
       7
           Id. at 5-9.
       8
           Id. at 9-14.
       9
           See Operating Agreement, OA Definitions S - T (15.0.0).
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 is thus comprised of Synchronized Reserve, Non-Synchronized Reserve, and
 Secondary Reserve.10

        PJM submitted two concurrent filings—Tariff revisions pursuant to FPA
 section 205 and Operating Agreement revisions pursuant to FPA section 206, with
 identical provisions in each.

 III.   Notice of Filings and Responsive Pleadings

         Notices of PJM’s filings in Docket Nos. ER19-1486-000 and EL19-58-000 were
 published in the Federal Register, 84 Fed. Reg. 13,284 (Apr. 5, 2019) and 84 Fed. Reg.
 13,650 (Apr. 4, 2019), respectively, with interventions, comments, and protests due on or
 before May 15, 2019. Notices of intervention and timely-filed motions to intervene were
 submitted by the entities noted in Appendix B to this order. In addition, a motion to
 intervene out-of-time was submitted by North Carolina Electric Membership Corporation
 (NCEMC) in both Docket Nos. EL19-58-000 and ER19-1486-000 on May 16, 2019. A
 late-filed motion to intervene was submitted by American Wind Energy Association
 (AWEA) in Docket No. EL19-58-000 on May 16, 2019.11

        R Street Institute (R Street), Exelon Corporation (Exelon), Clean Energy Entities
 (CEE),12 Energy Trading Institute (ETI), FirstEnergy Utility Companies (FirstEnergy),13
 Duke Energy Corporation (Duke), Nuclear Energy Institute (NEI), Dominion Energy
 Services, Inc. (Dominion), Calpine Corporation and LS Power Associates, L.P. (together,
 Calpine and LS Power), Institute for Policy Integrity at New York University School of
 Law (IPI), Direct Energy Business Marketing, LLC and Direct Energy Business, LLC
 (collectively, Direct Energy), Vistra Energy Corporation and Dynegy Marketing and
 Trade, LLC (collectively, Vistra), and Electric Power Supply Association (EPSA) filed
 supporting comments in both dockets. The American Petroleum Institute (API) filed



        10
             See Operating Agreement, OA Definitions A - B (7.0).
        11
         AWEA filed a timely motion to intervene in Docket No. ER19-1486-000 on
 May 15, 2019.
        12
             CEE is comprised of AWEA and the Solar Energy Industries Association.
        13
           The FirstEnergy utilities include: Ohio Edison Company, The Cleveland
 Electric Illuminating Company, The Toledo Edison Company, West Penn Power
 Company, Pennsylvania Power Company, Pennsylvania Electric Company, Metropolitan
 Edison Company, Jersey Central Power & Light Company, Monongahela Power
 Company, and The Potomac Edison Company.
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 supporting comments in Docket No. EL19-58-000. The PJM Power Providers Group
 (P3) late-filed supporting comments in both dockets.

        The Maryland Public Service Commission (Maryland Commission), Public
 Citizen, Inc. (Public Citizen),14 the Public Utilities Commission of Ohio (Ohio
 Commission), Old Dominion Electric Cooperative (ODEC), Organization of PJM States,
 Inc. (OPSI),15 the PJM Load/Customer Coalition (PJM Load Coalition),16 Clean Energy
 Advocates (CEA),17 American Electric Power Service Corporation (AEP), and the PSEG




       14
          In conjunction with its protest, Public Citizen also requested an evidentiary
 hearing and the recusal of Commissioner McNamee. On May 21, 2020, Commissioner
 Bernard L. McNamee issued a memorandum to the file documenting his decision not to
 recuse himself from these dockets, based on memoranda dated May 20, 2020 and January
 2, 2019 from the Designated Agency Ethics Official and Associate General Counsel for
 General and Administrative Law in the Office of General Counsel.
       15
            The OPSI members supporting the protest include: Delaware Public Service
 Commission, Public Service Commission of the District of Columbia, Illinois Commerce
 Commission, Indiana Utility Regulatory Commission, Maryland Public Service
 Commission, Michigan Public Service Commission, New Jersey Board of Public
 Utilities, Pennsylvania Public Service Commission, and the Tennessee Public Service
 Commission. The Kentucky Public Service Commission, North Carolina Utilities
 Commission, and the Virginia State Corporation Commission abstained from taking a
 position on specific concept solutions suggested in OPSI’s protest. The Public Service
 Commission of West Virginia and the Public Service Commission of West Virginia
 joined only certain aspects of OPSI’s protest. The Ohio Public Utilities Commission
 abstained. OPSI Protest at 1 n.2.
       16
          The PJM Load Coalition is comprised of the following: American Municipal
 Power, Inc., American Public Power Association, District of Columbia Office of People’s
 Counsel, District of Columbia Public Service Commission, Indiana Office of Utility
 Consumer Counsel, Kentucky Office of the Attorney General, Maryland Office of
 People’s Counsel, New Jersey Board of Public Utilities, New Jersey Division of Rate
 Counsel, Pennsylvania Office of Consumer Advocate, Pennsylvania Public Utility
 Commission, PJM Industrial Customer Coalition, Public Power Association of New
 Jersey, Southern Maryland Electric Cooperative, Inc., Delaware Division of the Public
 Advocate.
       17
          CEA is comprised of the Sierra Club, Natural Resources Defense Council, and
 Sustainable FERC Project.
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 Companies (PSEG)18 filed timely protests in both dockets. The Union of Concerned
 Scientists (UCS) filed a timely protest in Docket No. EL19-58-000. Monitoring
 Analytics, LLC, acting in its capacity as the Independent Market Monitor for PJM
 (IMM), late-filed a protest in both dockets on May 16, 2019.

       On May 31, 2019, the IMM filed a motion for leave to answer and answer in both
 dockets (IMM First Answer). On June 19, 2019, Exelon filed a motion for leave to
 answer and answer in both dockets. On June 20, 2019, Vistra, CEA, and PSEG filed
 motions for leave to answer and answers in both dockets. On June 21, 2019, P3 filed a
 motion for leave to answer and answer in both dockets.

        On June 21, 2019, PJM filed its answer to the comments and protests in both
 dockets (PJM Answer). On July 2, 2019, PJM submitted a signed verification to the
 Reply Affidavit of Christopher Pilong (Pilong Reply Affidavit), which was appended to
 its June 21, 2019 answer.

        On June 24, 2019, Calpine and LS Power filed a request for leave to answer and
 answer in both dockets. On June 26, 2019, EPSA and Steel Producers filed motions for
 leave to answer and answers in both dockets. On July 15, 2019, OPSI filed a motion for
 leave to answer and answer in both dockets. On July 16, 2019, the IMM filed a motion
 for leave to answer and answer in both dockets (IMM Second Answer). On July 19,
 2019, the PJM Load Coalition filed a motion for leave to answer and answer in both
 dockets.

 IV.    Discussion

        A.     Procedural Matters

         Pursuant to Rule 214 of the Commission’s Rules of Practice and Procedure,
 18 C.F.R. § 385.214 (2019), the notices of intervention and timely, unopposed motions
 to intervene serve to make the entities that filed them parties to the proceedings in which
 they were filed.

        Pursuant to Rule 214(d) of the Commission's Rules of Practice and Procedure,
 18 C.F.R. § 385.214(d) (2019), we grant NCEMC’s and AWEA’s late-filed motions to
 intervene given their interests in the proceeding, the early stage of the proceedings, and
 the absence of undue prejudice or delay.

        Rule 213(a)(2) of the Commission’s Rules of Practice and Procedure, 18 C.F.R.
 § 385.213(a)(2) (2019), prohibits an answer to a protest or answer unless otherwise

        18
          PSEG includes: PSEG Power LLC, PSEG Energy Resources & Trade LLC,
 and Public Service Electric and Gas Company.
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 ordered by the decisional authority. We accept the parties’ answers because they have
 provided information that assisted us in our decision-making process. We also accept
 P3’s late-filed comments and the IMM’s late-filed protest.

        After granting a complaint filed pursuant to FPA section 206, the Commission
 must establish a refund effective date that is no earlier than the date of the complaint and
 no later than five months subsequent to the date of the complaint.19 We establish the
 refund effective date as of the earliest date possible: March 29, 2019. However, no party
 claims, and we find no evidence that, any refunds would be warranted as a result of the
 Operating Agreement and Tariff revisions adopted herein.20

        We reject Public Citizen’s request for an evidentiary hearing to further investigate
 the merits of PJM’s filings.21 A significant record has been developed in this proceeding,
 which has provided us with sufficient information to make the findings detailed herein.
 We do not agree that further process in the form of an evidentiary hearing would assist in
 our decision-making process.

        B.       Substantive Matters

         As detailed below, we find that PJM’s existing reserve market design is unjust and
 unreasonable, and we establish a replacement rate that largely adopts PJM’s proposed
 Tariff and Operating Agreement revisions, subject to certain modifications, and require
 PJM to submit a compliance filing within 45 days of the date of this order. In addition,
 we find, pursuant to section 206 of the FPA, that the reserve market changes adopted
 herein render PJM’s existing methodology for calculating the energy and ancillary
 services offset (E&AS Offset) in PJM’s capacity market unjust and unreasonable,
 establish as the just and reasonable replacement rate a forward-looking E&AS Offset, and
 direct PJM to submit a compliance filing within 45 days of the date of this order to revise
 Attachment DD of its Tariff accordingly. As noted above, we direct PJM to propose an
 effective date as early as practicable that will allow it sufficient time to implement both
 sets of revisions. PJM’s compliance filing should present an implementation schedule
 that appropriately harmonizes the revisions here with ongoing revisions in the proceeding
 in Docket Nos. EL16-49-000 et al. while minimizing any capacity market auction delays.


        19
             16 U.S.C. § 824e(b).
        20
          Ameren Servs. Co. v. Midwest Indep. Transmission Sys. Operator, Inc.,
 127 FERC ¶ 61,121, at P 157 (2009) (“In cases involving changes to market design,
 the Commission generally exercises its discretion and does not order refunds when
 doing so would require re-running a market.”).
        21
             Public Citizen Protest at 3.
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 The Commission will set the effective date for these Operating Agreement and Tariff
 revisions upon review of the compliance filing ordered herein.

                 1.     Existing Market Design

        In this section, we address PJM’s argument that its current reserve market
 construct is unjust and unreasonable. The vast majority of the comments to this
 proceeding agree with PJM that it is unjust and unreasonable and must be revised.22
 The Ohio Commission, the Maryland Commission, the PJM Load Coalition, and the
 IMM argue that PJM has not met its burden to show that its current reserve market
 is unjust and unreasonable.

       As discussed in Section IV.B.1.d below, we find that PJM has met its burden
 to show that its current reserve market design is unjust and unreasonable.

                        a.     PJM’s Filings

       PJM argues that “facts specific to the PJM region and design flaws specific to the
 PJM reserve market rules,” have led to a reserve market design that is no longer just and
 reasonable.23 PJM states that its reserve markets no longer deliver the benefits that result
 from “better formed prices,” such as reliable operations and transparent pricing.24

         PJM explains that it currently uses two types of Synchronized Reserve products,
 Tier 1 and Tier 2 reserves, to meet its Synchronized Reserve Requirement.25 PJM
 explains that both the Tier 1 and Tier 2 products are provided from online resources that
 are synchronized to the electric grid and that can provide energy within 10 minutes.
 PJM states that Tier 1 reserves are provided from non-emergency resources that are not
 fully loaded and that can provide energy without departure from their energy profit-
 maximizing economic dispatch point. PJM states that Tier 2 reserves are provided from
 resources that have been dispatched away from their energy profit-maximizing dispatch


        22
         See infra note 65 (Exelon, CEE, ETI, Duke, NEI, P3, Dominion, API, Calpine
 and LS Power, IRI, Direct Energy, Vistra, EPSA, and PSEG).
        23
             PJM Transmittal at 5.
        24
          Id. at 4 (quoting Settlement Intervals & Shortage Pricing in Mkts. Operated by
 Reg’l Transmission Orgs. & Indep. Sys. Operators, Order No. 825, 155 FERC ¶ 61,276,
 at P 163 (2016)).
        25
          Id. at 15. The Synchronized Reserve Requirement is based on NERC Reliability
 Standard BAL-002.
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 point to create reserve capability.26 PJM explains that Tier 2 reserves must submit sell
 offers and failure to perform results in a resource being subject to a non-performance
 penalty via a loss of revenue.27 PJM explains that its market clearing process assumes
 Tier 1 reserves are free, and Tier 1 resources are not compensated in the event that PJM
 needs to procure Tier 2 reserves—even though both resource types are providing the
 same product and are relied upon by system operators. PJM explains that Tier 1
 resources do not face a penalty for non-performance.28 PJM notes that its Tier 1/Tier 2
 reserve construct is unique among RTOs/ISOs.29

        PJM argues that the Tier 1/Tier 2 reserve construct is unjust and unreasonable
 because it does not properly incentivize the supply and response of Synchronized
 Reserves in PJM. PJM provides several examples of Tier 1 resources not responding to
 Synchronized Reserve Events during 2016, 2017, and 2018–years in which the Tier 1
 reserve response rate was 75.1, 60.1, and 63.3%, respectively.30 While PJM argues that
 Synchronized Reserves are not appropriately valued on any given day, it states that it is
 most problematic that it occurs when the system is most stressed. PJM points to evidence
 during cold weather in January 2019 where reserve prices were $0.00/MWh for 29 hours
 of the 48-hour period and less than $10/MWh for 41 hours of the 48-hour period.31 PJM
 explains that operators needed to take out-of-market actions to ensure adequate reserves
 during these stressed conditions, which led to a spike in uplift.32

        PJM also argues that the Tier 1/Tier 2 reserve construct is unjust and unreasonable
 because it impedes price transparency. As a result of the under-performance of Tier 1
 reserves, PJM explains that it is difficult to estimate the amount of Tier 1 reserve
 resources on the system that will respond at any given time, often resulting in system
 operators’ taking actions, such as manually assigning Tier 2 reserves intra-hour, reducing

       26
            Id. at 15-16.
       27
            Id.
       28
            Id. at 16.
       29
            Id. at 17.
       30
           Id. at 17-20 (citing Monitoring Analytics, LLC, State of the Market Report for
 PJM, at 455-56 (2019); Monitoring Analytics, LLC, State of the Market Report for PJM,
 at 444, tbl.10-6 (2018); Monitoring Analytics, LLC, State of the Market Report for PJM,
 at 416, tbl.10-20 (2017)).
       31
            Id. at 20.
       32
            Id. at 20-22.
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 the hour-ahead Tier 1 reserve estimate via a manually entered bias in the hour-ahead
 procurement tool, and planning to meet the contingency recovery requirements by using
 Non-Synchronized Reserves.33 In addition, PJM states that the confidence in Tier 1
 reserves differs by operator and scenario, which can create inconsistent interventions, and
 in some cases suppress prices and create uplift.34

        In addition to the purported unjust and unreasonable aspects of how its reserve
 market currently compensates Synchronized Reserves, PJM also argues that its current
 ORDCs are unjust and unreasonable. PJM explains that it currently clears its real-time
 reserve markets with ORDCs, which are vertical curves that use step functions. When
 the reserve requirements cannot be met, PJM explains that the reserve shortage is priced
 using a Reserve Penalty Factor (i.e., the price for being unable to meet the MRR). PJM
 explains that the ORDCs administratively set the amount of reserves to clear and
 determine the limit on the price the market is willing to pay to substitute reserves for
 energy—the Reserve Penalty Factor. PJM states that the ORDCs only explicitly affect
 prices when not enough reserves are available at or below the MRR, or are at or below a
 level 190 MW greater than the MRR.35

       PJM states that Step 1 of the ORDCs are priced at Reserve Penalty Factors of
 $850/MWh, based on an analysis of the out-of-market payments made for reserves from
 an operating event in 2007.36 PJM states that Step 2A, priced at a Reserve Penalty Factor
 of $300/MWh, was added to each ORDC in 2017 in response to Order No. 719 to avoid
 system volatility due to large swings in price from small changes in reserve amounts.37
 PJM states that Step 2B, which is also priced at a Reserve Penalty Factor of $300/MWh,
 was added in 2015 with the purpose of providing an optional step to extend the reserve




        33
             Id. at 22-23 (citing Pilong Aff. ¶¶ 24-26).
        34
             Id. at 23.
        35
             Id. at 24-25.
        36
         Id. at 24 (citing PJM Interconnection, L.L.C., 139 FERC ¶ 61,057 (2012) (Order
 No. 719 Compliance Order)).
        37
           Id. at 24-25 (citing PJM Interconnection, L.L.C., Docket No. ER17-1590-000
 (Jul. 7, 2017) (delegated order); PJM Interconnection, L.L.C., 151 FERC ¶ 61,017
 (2015)).
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 requirements when PJM operators took actions to schedule additional reserves during
 conservative operations.38

         PJM argues that the current ORDCs are unjust and unreasonable because the
 Reserve Penalty Factors are inadequate, as they do not capture all actions PJM operators
 will take to meet PJM’s MRRs, forcing actions at costs above the Reserve Penalty
 Factors to be taken out-of-market and not reflected in price. PJM also argues that the
 current ORDCs do not attempt to estimate the value reserves beyond Step 2A (i.e.,
 beyond the MRR plus 190 MW) can provide in reducing the risk of falling below that
 level in real time.39

        PJM argues that it is unique among RTOs/ISOs given its relatively modest reserve
 requirements in proportion to its load. PJM explains that in 2018 it carried an average of
 2,139 MW of Synchronized Reserve (1.43% of its peak load) and 3,282 MW of Primary
 Reserve (2.19% of its peak load), while comparable RTOs/ISOs carry 2.2% of their peak
 load in Synchronized Reserves and 4.4–6.7% of their peak load in Primary Reserves.40
 PJM contends that, given its relatively small margin of reserves, it has a greater
 probability of a reserves shortage than other RTOs/ISOs.41

        PJM states that it first proposed an $850/MWh Reserve Penalty Factor in 2012
 in compliance with Order No. 719 as a compromise between accommodating most
 operating conditions and allaying stakeholder concerns over high prices.42 PJM
 explains that setting the Reserve Penalty Factor too low risks the possibility of economic
 shortages, where the Reserve Penalty Factor is less than resources’ opportunity costs
 and thus the Security Constrained Economic Dispatch (SCED) engines cannot procure
 reserves and reflect the marginal cost of reserves in market clearing prices. PJM explains

          38
         Id. at 25-26 (citing PJM Interconnection, L.L.C., Manual 13: Emergency
 Operations, § 3.2 (rev. 68, Jan. 1, 2019)). PJM states that Step 2B has never been
 invoked. Id. at 25 n.40.
          39
               Id. at 26.
          40
          Id. at 26-27 (explaining that ISO New England Inc.’s (ISO-NE’s) 10-Minute
 Total Reserve requirement is 6.7% of its peak load, New York Independent System
 Operator’s (NYISO’s) Total Synchronous Reserves requirement is 2.2% of its
 peak load, and NYISO’s Total 10-Minute Reserves requirement is 4.4% of its
 peak load).
          41
               Id.
          42
               Id. at 27-28 (citing Order No. 719 Compliance Order, 139 FERC ¶ 61,057 at
 P 62).
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 that $850/MWh was a reasonable Reserve Penalty Factor at the time, because the energy
 market offer cap was $1,000/MWh, so it was unlikely resources’ opportunity costs would
 exceed $850/MWh and cause an economic shortage.43

         PJM argues that its $850/MWh Reserve Penalty Factors are now unjust and
 unreasonable because Order No. 831 increased the price-setting energy offer cap to
 $2,000/MWh.44 PJM explains that Order No. 831 increased the cap on price-setting
 energy offers to $2,000/MWh, provided offers above $1,000/MWh are cost-justified.45
 PJM explains that if offers above $1,000/MWh set the Locational Marginal Price (LMP),
 it will significantly increase the opportunity cost for resources to be dispatched away
 from their profit-maximizing output level in order to provide reserves.46 PJM explains
 that its operators will dispatch resources with opportunity costs greater than $850/MWh
 to provide reserves, but those resources’ costs will not be reflected in market prices and
 will instead be covered through uplift.47

        PJM also argues that the current ORDCs unreasonably fail to account for the
 uncertainties that PJM operators currently address to maintain system reliability. PJM
 explains that it must conduct prospective forecasting and planning on an ongoing basis
 to ensure that reserve requirements are maintained throughout the operating day.48
 PJM explains that some level of error is always present with forecasts, including factors
 such as actual load, actual interchange, and the actual performance and availability of
 generation resources. PJM states that, to account for these operational uncertainties, its
 operators will often bias the load forecast input to the Intermediate Term (IT) SCED
 engine to ensure that adequate generation is online and available for the Real-time (RT)



        43
             Id. at 28-29.
        44
         Offer Caps in Mkts. Operated by Reg’l Transmission Orgs. & Indep. Sys.
 Operators, Order No. 831, 157 FERC ¶ 61,115 (2016), order on reh’g & clarification,
 Order No. 831-A, 161 FERC ¶ 61,156 (2017), amended by 165 FERC ¶ 61,136 (2018).
        45
             PJM Transmittal at 29.
        46
          Id. at 29-31 (noting that in addition to the marginal cost, LMP also includes
 congestion and losses which may increase or decrease the LMP relative to the marginal
 energy offer). PJM provides several examples of how the operators may need to
 manually commit resources to provide reserves. Id. at 29-30.
        47
             Id. at 31-33.
        48
             Id. at 34-35 (citing Pilong Aff. ¶¶ 5-7).
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 SCED engine to meet PJM’s reserve requirements.49 In certain instances, PJM explains
 that operators will also take out-of-market actions to manually commit additional
 generating resources, which may occur when longer-lead-time resources must be
 committed prior to the two-hour IT SCED window or if there is a locational need for
 reserves due to major transmission constraints.50

         PJM states that neither biasing nor out-of-market commitments are presently
 incorporated into the design of the ORDCs. PJM also states that the purpose of Step 2A
 on the ORDCs was not explicitly to value reserves beyond the MRR, and the magnitude
 of Step 2A is not consistent with the magnitude of the real-time uncertainties in the
 PJM market, where the average wind forecast error alone is around 160 MW. PJM
 states that the vertical ORDCs prohibit PJM from explicitly scheduling the flexibility it
 needs to accommodate forecasting uncertainties, which PJM argues mutes investment
 incentives for flexible resources.51 PJM also states that both biasing and out-of-market
 commitments can result in uplift if a resource needed to provide reserves is scheduled
 outside of the market clearing engine.52

         PJM explains that the existing ORDCs run counter to the Commission’s prior
 acknowledgement of the value to reliability and price stability that excess capability
 provides in other contexts. PJM cites to the RPM53 settlement where the Commission
 identified the failure of vertical demand curves in PJM to reflect the incremental value to
 reliability that capacity beyond the Installed Reserve Margin creates.54 In that order, PJM
 states that the Commission observed that “‘[u]nder a vertical demand curve, capacity
 above the Installed Reserve Margin[55] is deemed to have no value,’ but nonetheless
 ‘[i]ncremental capacity above the Installed Reserve Margin is likely to provide additional


        49
             Id. at 35 (citing Pilong Aff. ¶¶ 6-9).
        50
             Id. at 36 (citing Pilong Aff. ¶¶ 18-20).
        51
             Id. at 36-37.
        52
             Id. at 37-38.
        53
            The RPM is PJM’s construct for obtaining capacity needed to ensure long-term
 reliability.
        54
             Id. at 38 (citing PJM Interconnection, L.L.C., 117 FERC ¶ 61,331 (2006)).
        55
           The Installed Reserve Margin is the installed capacity percent above the
 forecasted peak load required to satisfy a loss of load expectation of one occurrence in
 10 years.
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 reliability benefits, albeit at a declining level.’”56 PJM states that Commission also stated
 on rehearing that “the vertical demand curve results in extremely volatile pricing, because
 as long as supply exceeds the required amount, the price falls precipitously, while, when
 capacity is short, price will rise to the deficiency penalty level.”57 PJM argues that the
 underlying concerns regarding PJM’s vertical demand curves in the capacity market
 are also applicable to the vertical ORDCs, which prevent PJM from accommodating
 legitimate forecasting uncertainties while ignoring the incremental value that the reserves
 provide.58

         Finally, in addition to arguing that its current Synchronized Reserve design and
 its ORDCs are unjust and unreasonable, PJM also argues that the current misalignment
 between its day-ahead and real-time reserve markets renders its reserve market construct
 unjust and unreasonable. PJM explains that its current market design utilizes a 30-minute
 Reserve product in the day-ahead market, known as Day-Ahead Scheduling Reserve,
 but utilizes 10-minute Reserve products in real time, both Synchronized Reserves and
 Primary Reserves, with no attempt at a forward procurement of the 10-minute Reserve
 products in the day-ahead market. PJM states that the lack of a day-ahead market product
 precludes resources capable of providing 10-minute Reserves from being able to lock in a
 forward revenue stream.59 PJM states that this lack of day-ahead commitment is not
 procuring 10-minute Reserves at the lowest cost because, in real time, PJM ignores
 longer-lead-time resources that may have been available and more cost-effective, relative
 to a day-ahead procurement. PJM states that, in extreme circumstances, this could result
 in under-scheduling the needed reserves, causing unnecessary real-time shortages.60

        Conversely, PJM explains that the 30-minute Reserve product is not valued in real
 time, as there is no 30-minute real-time reserve requirement. Without a real-time
 requirement, PJM argues that the market fails to recognize any value the 30-minute
 product may have in real-time operations.61




        56
             Id. (quoting PJM Interconnection, L.L.C., 117 FERC ¶ 61,331 at P 76).
        57
             Id. (quoting PJM Interconnection, L.L.C., 119 FERC ¶ 61,318, at P 99 (2007)).
        58
             Id. at 38-39 (stating that the uncertainties are projected to increase in the future).
        59
             Id. at 39-40.
        60
             Id. at 40-41.
        61
             Id. at 41.
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        PJM states that the lack of day-ahead and real-time alignment creates additional
 commitment mismatches, as the 30-minute Reserve product will impact the commitment
 of resources in the day-ahead market and influence which resources are cleared to
 provide energy or reserves. PJM states that the misalignment can also result in different
 transmission constraints binding between the day-ahead and real-time markets, leading to
 additional balancing congestion, which is a cost that is allocated to real-time load and
 exports.62 PJM explains that there is no guarantee that resources procured as 30-minute
 Reserves in the day-ahead market can provide 10-minute Reserves in real time due to
 ramping capabilities and the two different time horizons.63 PJM states the modeling
 discrepancies can also provide opportunities for harmful arbitrage, which PJM argues
 will not lead to market efficiencies that price convergence could engender since there are
 no prices to converge given the different products.64

                         b.     Comments and Protests

        Several parties filed comments supporting PJM’s claims and rationale for why the
 existing reserve market construct is no longer just and reasonable.65 Exelon, for example,
 argues that PJM’s evidence of operators taking extensive, inefficient, and discriminatory
 out-of-market-actions to ensure reliability demonstrates that the current reserve market
 construct is unjust and unreasonable.66 Further, Exelon explains that PJM’s current
 reserve market design leads to non-performance by resources, artificial shortages,



       62
            Id.
       63
            Id. at 41-42.
       64
            Id. at 43.
       65
        Parties include Exelon, CEE, ETI, Duke, NEI, P3, Dominion, API, Calpine and
 LS Power, IRI, Direct Energy, Vistra, EPSA, and PSEG.
       66
           Exelon Comments at 1-5, 8-9, 10-22 (noting that the operators’ actions
 effectively lead to the procurement of reserve capacity without payment for that service,
 and that such actions distort prices); see also IPI Comments at 4-6 (arguing that operator
 actions and out-of-market payments are non-transparent to market participants and distort
 market prices); Direct Energy Comments at 2-3; EPSA Comments at 9-10 (arguing that
 operators’ biasing raises filed rate doctrine concerns, because such actions significantly
 affect rates) (citing 16 U.S.C. § 824d(c) (2018)). Exelon argues that although PJM has a
 large planning reserve margin—currently 22%—this capacity does not help PJM’s
 operators in real-time if those resources have not been mobilized to be ready to respond
 to changing system conditions. Exelon Comments at 7-8.
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 unnecessary uplift, and price suppression.67 Exelon notes that in similar contexts, the
 Commission has made clear that an individual component of an existing market design
 may be just and reasonable, but its combination with other design elements can still result
 in unjust and unreasonable rates.68

         CEE, ETI, P3, Dominion, IPI, and EPSA argue that pursuant to PJM’s current
 reserve market design, Tier 1 reserves are undercompensated in an unduly discriminatory
 manner, operator actions mute proper price signals, and the $850/MWh Reserve Penalty
 Factors and misalignment of the day-ahead and real-time markets leads to market
 inefficiencies, all of which together create an unjust and unreasonable rate.69 NEI notes
 that operators often manually increase reserves through biasing even when conditions do
 not warrant such concern, leading to a surplus of Synchronized Reserves of more than
 1,000 MW in 25% of all hours.70 API argues that evidence of reserve prices near
 $0.00/MWh, with significant uplift payments, during various cold snaps (peak demand
 conditions) is indicative of an unjust and unreasonable market construct.71 Dominion and
 PSEG argue that the current $850/MWh Reserve Penalty Factors, which are significantly
 lower than the $2,000/MWh energy offer cap) impede the ability of reserve prices to
 reflect the true cost of generation to meet load and reserve requirements.72 IPI argues
 that PJM’s current market construct ignores the value of reserve beyond the MRR,
 which is unjust and unreasonable.73 EPSA argues that the Tier 1/Tier 2 reserve construct


        67
          Id. at 14-20; see also PSEG Protest at 3, 14-17 (“[t]he willingness of consumers
 to pay for reserves is not being reflected in the [current PJM reserve market] pricing
 algorithm which frequently assigns no value to reserves deemed necessary by the
 operators for reliability”).
        68
          Exelon Comments at 9 (citing PJM Interconnection, L.L.C., 115 FERC
 ¶ 61,079, at P 29 (2006); Midcontinent Indep. Sys. Operator, Inc., 162 FERC ¶ 61,176, at
 PP 56, 79 (2018)).
        69
        CEE Comments at 4-10; ETI Comments at 2-3; P3 Comments at 3-6; see also
 Dominion Comments at 2-5; IPI Comments at 4-8; EPSA Comments at 5-13.
        70
             NEI Comments at 7-8 (citing Pilong Aff. at tbl.1).
        71
             API Comments at 2.
        72
             Dominion Comments at 3; PSEG Protest at 12-13.
        73
          IPI Comments at 8 (citing Hogan & Pope Aff.); see also PSEG Protest at 17-19
 (arguing that PJM’s current market design fails to maximize social welfare and reflect
 consumers’ willingness to pay for reserves).
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 is “discriminatory on its face,” because Tier 1 reserves are paid nothing for providing the
 same exact product as Tier 2 reserves—textbook undue discrimination forbidden by
 the FPA.74

        Dominion also argues that the inefficient dispatch and poor price signals created
 by the current PJM market disrupt long-term investment signals.75 CEE, P3, ETI, and
 PSEG argue that the problems present in PJM’s current reserve market are only going to
 become more problematic moving forward, as more price-responsive and dispatchable
 load, Distributed Energy Resources, and utility-scale variable resources are added to the
 system.76

        Exelon states that during hot weather alerts, PJM typically increases the Day-
 Ahead Scheduling Reserve by 2 to 3 times the normal level, which translates to between
 8,000 to 16,000 MW of reserves.77

        The Ohio Commission, the Maryland Commission, the PJM Load Coalition, and
 the IMM argue that PJM has not met its burden under FPA section 206 to show its
 current reserve market construct is unjust and unreasonable. The Ohio Commission
 argues that while “certain aspects of PJM’s filing may represent improvements over the




        74
          EPSA Comments at 7-8 (citing Sebring Utils. Comm’n v. FERC, 591 F.2d 1003,
 1009 n.24 (5th Cir. 1979) (explaining that the “essence” of the statutory prohibition
 against undue discrimination “is that those who are similarly entitled must be treated
 equally”); Transwestern Pipeline Co., 36 FERC ¶ 61,175, at 61,433 (1986) (“Undue
 discrimination is in essence an unjustified difference in treatment of similarly situated
 customers.”) (citation omitted)).
        75
             Dominion Comments at 4-5.
        76
           CEE Comments at 10; P3 Comments at 6 (citing Cavicchi Aff. ¶ 28; Nicholson
 Whitepaper at P 3); ETI Comments at 2; PSEG Protest at 11; see also NEI Comments at
 6 (stating that distorted price signals in the reserve market are affecting choices by certain
 resources, in particular nuclear resources, of whether to stay in the market or close);
 Calpine and LS Power Comments at 6; PSEG Protest at 3 (arguing that current construct
 fails to value unit flexibility and is inefficient approach to deal with changing grid);
 PSEG Protest at 19-22 (same).
        77
             Exelon Comments at 17-18.
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 existing market design, PJM has not adequately demonstrated that the existing overall
 market design is unjust and unreasonable.”78

        The Maryland Commission and the PJM Load Coalition argue that PJM has not
 shown that the Tier 1/Tier 2 reserve structure is unjust and unreasonable or unduly
 discriminatory. These parties state that Tier 1 reserves and Tier 2 reserves differ, because
 calling on Tier 1 reserves does not require a departure from the resources’ profit-
 maximizing economic dispatch point (i.e., Tier 1 reserves incur no opportunity cost),
 unlike Tier 2 reserves.79 Second, the Maryland Commission argues that PJM’s
 operational uncertainty argument associated with Tier 1 reserves is illogical, because the
 average response rates of Tier 1 and Tier 2 reserves are not significantly different and
 instead suggest similar response concerns for both products.80 The IMM argues that PJM
 mischaracterizes the response of Tier 1 reserves to spinning events, noting that the Tier 1
 response rate actually typically exceeds PJM’s Tier 1 reserve estimates, and thus Tier 1
 response rates do not provide evidence that the Synchronized Reserve market is unjust
 and unreasonable.81

        The Maryland Commission and the PJM Load Coalition state that PJM has not
 demonstrated that the current first-step Reserve Penalty Factor of $850/MWh is no
 longer just and reasonable.82 The Maryland Commission argues that while cost-based
 incremental energy offers can now rise to $2,000/MWh, PJM’s filing does not address




        78
           Ohio Commission Protest at 2-3. The Ohio Commission supports PJM’s
 efforts to consolidate the Tier 1 and Tier 2 reserve products, to value reserves in excess
 of the MRR, and to align its reserve products in the day-ahead and real-time markets.
 Id. at 3-10.
        79
          Maryland Commission Protest at 4-5; PJM Load Coalition Protest at 21-22
 (arguing that Tier 1 and Tier 2 resources are not “similarly situated” as required for a
 finding of undue discrimination).
        80
          Maryland Commission Protest at 4-5 (arguing that PJM provides no logical
 reasoning why Tier 2 reserves respond only slightly better than Tier 1 reserves). The
 Maryland Commission argues that the real problem is that PJM fails to provide operators
 with actual, real-time resource operating data and performance capabilities. Id. at 5-6.
        81
             IMM Protest at 19-21.
        82
             Maryland Commission Protest at 6-8; PJM Load Coalition Protest at 26.
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 the likelihood of this happening.83 Similarly, the PJM Load Coalition argues that a
 particular energy price level cannot constitute a legitimate opportunity cost if it rarely or
 never is available.84 The Maryland Commission states that under the existing reserve
 market construct, PJM has not reported excessive MRR shortages or significant spinning
 events, or significant events when energy prices exceeded $1,000/MWh and reserves
 prices did not respond.85 The Maryland Commission also rejects PJM’s argument that
 emergency energy imports from neighboring regions, which may exceed $2,000/MWh,
 justify a higher Reserve Penalty Factor.86

        The PJM Load Coalition and the IMM argue that PJM has not shown that its
 current ORDC shape is unjust and unreasonable. The PJM Load Coalition and the
 Maryland Commission argue that PJM ignores Step 2B on the current ORDC, which it
 has yet to utilize.87 The PJM Load Coalition and the Maryland Commission argue that
 PJM can currently utilize Step 2B to procure additional reserves to address operational
 uncertainty during Hot/Cold Weather Alerts and other escalating emergency conditions,
 when needed, without increasing the Reserve Penalty Factors above existing levels.88

        The IMM also argues that PJM misidentifies the vertical nature of the ORDC as
 preventing PJM from scheduling additional reserves, but a vertical ORDC is consistent
 with scheduling more reserves under a market design where PJM can update the reserve
 requirements.89 The IMM argues that PJM’s reliance on the variable resource

        83
          Maryland Commission Protest at 7 (stating that PJM’s own prior analysis,
 which found that only one five-minute interval experienced any individual bus-level
 LMP over $1,000/MWh during times of reserve shortage, refutes the need to increase the
 penalty factor) (citing PJM Interconnection, L.L.C., PJM Market Participants’ Response
 to Prices Exceeding $1,000/MWh (2019), https://www.pjm.com/-/media/committees-
 groups/committees/mc/20190422-webinar/20190422-item-07b-ferc-required-reserve-
 shortage-report.ashx).
        84
             PJM Load Coalition Protest at 26-27 (citing Al-Jabir Aff. ¶ 14).
        85
        Maryland Commission Protest at 8 (noting that these were concerns of the
 Commission in 2012).
        86
             Id. at 8-9.
        87
          Id. at 6, 9-10 (arguing that the $300/MWh Reserve Penalty Factor for Step 2B
 incentivizes sufficient resource response); PJM Load Coalition Protest at 31-32.
        88
             PJM Load Coalition Protest at 30-32; Maryland Commission Protest at 10.
        89
             IMM Protest at 15-16.
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 requirement (VRR) curve used in PJM’s capacity market as justification for moving away
 from the vertical ORDC is not correct, as the VRR curve is not based on the value of
 lost load but on the cost of new entry (CONE) of a reference unit, and the VRR curve is
 designed to provide incentives to invest in capacity, while the ORDC is not.90 The PJM
 Load Coalition argues that the Electric Reliability Council of Texas’ (ERCOT’s) ORDC
 provides no support for PJM’s FPA section 206 complaint, because PJM has a capacity
 market construct and ERCOT does not, so their ORDCs have different purposes.91

        The PJM Load Coalition argues that PJM has not demonstrated that energy and
 reserve prices are unjust, unreasonable, or otherwise fail to fairly compensate generators.
 The PJM Load Coalition argues that PJM only cites one example as evidence that
 Synchronized Reserves are undercompensated—cold weather conditions from January
 30-31, 2019—which does not prove that the current market design is flawed, but rather
 that low prices occur when there is excessive supply relative to demand. The PJM Load
 Coalition argues that PJM was carrying reserves significantly in excess of its MRR
 during the cited period, and that PJM’s analysis confirms that many supply resources
 with capacity obligations were simply not needed to meet demand.92

         The PJM Load Coalition argues that PJM has not shown that it is incapable of
 attracting sufficient reserves to meet its MRR, nor has it presented any analysis to
 substantiate its speculative assertion that, absent reserve pricing changes, anticipated
 higher levels of intermittent resources will lead to future reliability problems.93 The
 IMM similarly argues that the projection of future increases in intermittent resources
 does not render PJM’s current market unjust and unreasonable.94 The IMM rejects
 PJM’s argument that it has less flexibility available than other RTOs/ISOs, and that it
 is different from other RTOs/ISOs, explaining that efficient energy and reserve market


        90
             Id. at 16-17.
        91
         PJM Load Coalition Protest at 27-28 (arguing more generally that ORDC
 approaches in other regions do not render PJM’s ORDC approach unjust and
 unreasonable).
        92
          Id. at 18-19 (noting that PJM had a reserve margin of upwards of 25% during
 the peak hour of January 30-31, 2019).
        93
           Id. at 22-24 (noting that PJM has failed to identify any specific instance where
 transmission system reliability was threatened due to an insufficient procurement of
 reserves and noting that PJM on average carries reserve levels well in excess of its
 reserve requirements) (citing Al-Jabir Aff. ¶ 8, Graph 1).
        94
             IMM Protest at 18-19.
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 pricing does not differ based on whether the RTO/ISO relies on a capacity market or
 cost-of-service regulation.95

        The PJM Load Coalition and the IMM argue that PJM has not demonstrated
 that uplift cost levels are unjust or unreasonable. The PJM Load Coalition argues that
 efficiency should be evaluated in relation to the cost to consumers of procuring the
 reserves that are needed to maintain system reliability, and PJM’s own calculations
 show its Reserve Market Proposal will increase net expenses for consumers.96 The
 IMM argues that uplift in PJM is low, accounting for $0.23/MWh of energy, with the
 majority driven by specific issues with certain supply resources or local transmission
 system conditions. Further, the IMM argues that there is a lack of evidence to directly
 link operator actions, reserve market outcomes, or the ORDC shape to quantifiable
 levels of uplift.97

         The IMM argues that PJM’s assertion that it needs to maintain reserves does not
 necessitate that reserve prices always or usually exceed $0.00/MWh. The IMM argues
 the supply and demand, not operational value, should determine the most efficient market
 price.98 The IMM asserts that the principles of energy pricing hold for reserves pricing
 as well—if the marginal cost of the marginal unit providing reserves is $0.00/MWh, the
 efficient reserve price is zero. The IMM explains that this is frequently the case because
 reserves exceed the reserve requirement during most hours of the day and the majority of
 energy in PJM is provided by coal and combined cycle units that create large quantities
 of zero-cost Synchronized Reserves.99

        The IMM argues that PJM has not established that misalignment between reserve
 products in the day-ahead market and the real-time market is grounds for finding the
 reserve markets unjust and unreasonable. The IMM argues that the misalignment
 between the day-ahead and real-time markets cannot be resolved given the intra-hour
 ramp sensitivity necessary when determining a resource’s ramping capability in real-
 time. The IMM argues that PJM has not provided evidence to support the claim that the



       95
            Id. at 19 (citing PJM Interconnection, L.L.C., 167 FERC ¶ 61,030, at P 46
 (2019)).
       96
            PJM Load Coalition Protest at 25-26.
       97
            IMM Protest at 17-18.
       98
            Id. at 13.
       99
            Id. at 13-14.
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 current practice results in higher costs than if PJM had procured the 10-minute Reserve
 products in the day-ahead market.100

        The PJM Load Coalition argues that substantial administrative market design
 changes are already underway in PJM, and the Commission should avoid introducing
 additional complexity into the energy and capacity markets at this time through
 implementation of these reserve market reforms.101

                            c.     Answers

        In response to commenters, the IMM argues that PJM does not reach any
 conclusion about whether load forecast uncertainty or generator behavior is the larger
 issue. While PJM states that its operators bias the load forecasts in IT SCED, the IMM
 argues that PJM fails to point out that if the negative bias is too large, prices will be
 inflated. The IMM argues that PJM does not assert that operator bias is systematically
 wrong.102 The IMM contends that if PJM is concerned about operator actions not
 being clear, transparent, or rule-driven, PJM should address that issue directly.103

         The IMM argues that PJM did not provide evidence to show that operators
 actually commit units based on positive bias, contrary to what Exelon argues, as IT
 SCED is a recommendation not a defined action.104 Further, the IMM argues that the
 claim that, absent biasing, PJM would have been in shortage conditions 29.1% of the
 time in 2018 is inaccurate, because it assumes that the IT SCED recommendations always
 result in actual commitments. The IMM asserts that the IT SCED analysis assumes that
 all recommendations result in unit commitment decisions which is not correct, as there is
 no evidence that suggests a one-for-one causal relationship.105



        100
              Id. at 21-22.
        101
          PJM Load Coalition Protest at 32-36 (referencing fast-start pricing change
 in Docket No. EL18-34, variable operations and maintenance cost changes in Docket
 Nos. ER19-210 and EL19-8, and capacity market minimum offer price rule changes in
 Docket Nos. EL18-178 et al.).
        102
              IMM First Answer at 6-7.
        103
              Id. at 7.
        104
              Id. at 7-8.
        105
              Id. at 9.
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         PJM and Exelon argue that there is substantial evidence to show that the current
 reserve market rules are unjust and unreasonable.106 Exelon argues that treating resources
 differently for providing the same reserves is discriminatory and creates “pseudo-
 reserves” that are not compensated.107 PJM disagrees with the IMM over the calculation
 of the Tier 1 response rates, arguing that RT SCED reflects the actual amount of Tier 1
 reserves PJM is relying on to maintain reliability, not settlement data.108 PJM explains
 that all resources that increase their output following a Synchronized Reserve Event
 receive Tier 1 reserve credits; thus, the universe of resources receiving Tier 1 reserve
 credits is greater than the resources on which PJM was relying to provide Tier 1
 reserves.109

        PJM reiterates its rationale for why the $850/MWh Reserve Penalty Factor is
 unjust and unreasonable, pointing again to the changed circumstances since 2012.110
 PJM avers that no party has refuted that the Reserve Penalty Factor should be based on
 the opportunity cost of providing reserves instead of energy.111 PJM states that the
 IMM’s argument that the Reserve Penalty Factor should not be capped at a historical
 opportunity cost level but at one that captures expected opportunity costs is what PJM
 has proposed.112

        PJM argues that supply is skewed by rules that deem Tier 1 reserve Market
 Sellers to be providing reserves at zero price even though they have not offered, or been
 committed, to provide reserves. PJM argues that relying on other resources to provide
 the reserves in the event of a shortfall only underscores the difficulty in constructing an
 accurate supply curve when a significant portion of the purported reserve suppliers have
 no obligation to respond. PJM argues that hoping that other suppliers respond is not a




        106
              PJM Answer at 3-5; Exelon Answer 5-6.
        107
              Exelon Answer at 6-7.
        108
              PJM Answer at 33-34.
        109
              Id. at 35.
        110
              Id. at 31.
        111
              Id. at 32.
        112
              Id. at 32-33.
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 reasonable administrative market construct. PJM states that the current reserve market
 rules are not a formula for efficient market prices.113

         PJM argues that the record shows that the current ORDC does not adequately
 reflect the reliability value of procuring reserves above the MRR—it assumes such
 reserves have zero value.114 PJM argues that the current rules for demand are determined
 not by economic fundamentals, but by an overly simplistic demand curve that does not
 reflect the need for reserves based on load and resource uncertainties. PJM states that
 the disconnect between the ORDC and the system’s needs for reserves will only grow
 as the share of intermittent resources climbs in the future.115

        As explained further in the Reply Affidavit of Adam Keech (Keech Reply
 Affidavit), PJM states that in 2018, in 56.8% of hours the Synchronized Reserve market
 clearing price was $0.00/MWh and in 97.5% of the hours the Non-Synchronized Reserve
 market clearing price was $0.00/MWh. PJM states that under market simulations,
 these percentages drop to 8.8% and 9.7%, respectively, when PJM corrects for market
 deficiencies. PJM argues that this shows that $0.00/MWh prices are not an efficient
 market outcome based on supply and demand, but a consequence of the shortcomings of
 the existing market rules.116 PJM also points to the fact that 50% of the current
 Tier 2 reserve market is settled through uplift payments.117

         In response to the Maryland Commission, PJM explains that Step 2A is not
 discretionary, as it was revised in 2017 to be permanent.118 PJM explains that the
 dispatch tools used by operators assume that reserves will be purchased at the Reserve
 Penalty Factor of $300/MWh up to the MRR. PJM explains that operators do not choose
 to bias instead of utilizing Step 2A; rather they continue to bias even considering Step
 2A.119 PJM explains that Step 2A is limited to 190 MW and was designed to address and
 prevent transient shortages that would cause price spikes. PJM explains that the 190 MW

       113
             Id. at 11.
       114
             Id. at 7-19.
       115
             Id. at 11-12.
       116
             Id. at 12.
       117
             Id. at 12-13.
       118
           Id. at 14 (citing of PJM Interconnection, L.L.C. Filing, Docket No. ER17-1590-
 000, at 7-8 (filed May 12, 2017)).
       119
             Id. at 14-15.
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 value was the average Synchronized Reserve deficiency shown in the RT SCED over a
 14-month period prior to Step 2A’s implementation. PJM argues that Step 2A was not
 designed to address the prevalence and magnitude of its current market uncertainties.120

         PJM argues that Step 2B of its current two-step ORDC is not a solution to the
 dispatch schedule biasing or other out-of-market operator actions. PJM argues that Step
 2B was intended to address a variety of out-of-the-ordinary or emergency conditions
 when PJM declares Conservative Operations. These situations, PJM argues, cover events
 that threaten major transmission lines, such as fires, hurricanes, tornados, geo-magnetic
 disturbances, and physical or cyber-attacks. PJM reiterates that Step 2B has not yet been
 invoked because these conditions have not occurred.121 PJM explains that operator
 biasing is meant to create headroom in the face of general uncertainty that is constantly
 present, and because uncertainty is always present, using Step 2B is not practical as a
 long-term solution; thus Step 2B is not the answer for addressing operational concerns
 detailed in its Reserve Market Proposal.122 P3 and Exelon share this view, arguing that
 Step 2B assumes that operational uncertainties do not exist in normal operating
 conditions, which is likely why it has never been used.123

         Exelon argues that load biasing is a primitive tool that impairs the efficiency of the
 market. Exelon explains that load biasing is not based on a formula or historical data, as
 it lacks an objective standard, formula, or data, and is an inaccurate means of accounting
 for operating uncertainties.124

        PJM argues that the Commission should reject the IMM’s view that reserves
 beyond the MRR do not have value, and thus PJM should rely on a vertical demand
 curve. PJM argues that reserves beyond the MRR have value because they help avoid
 the costs of emergency actions taken when reserves fall below the MRR.125



        120
              Id. at 15.
        121
              Id. at 15-17.
        122
              PJM Answer at 16-17.
        123
              P3 Answer at 11; Exelon Answer at 13-14.
        124
              Exelon Answer at 7.
        125
           PJM Answer at 18-19. PJM argues that the IMM’s view that an ORDC should
 not pay any price for reserves beyond the MRR runs contrary to the Commission’s prior
 acceptance of PJM’s current ORDC. Id.
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        PJM argues that the PJM Load Coalition attempts to downplay the significance
 of the market placing little to no value on reserves during extreme weather events in
 January 2019. PJM argues that operator bias caused the excess supply that led to low
 prices. PJM explains that operators performed out-of-market actions to schedule extra
 supply, and therefore prices did not transparently reflect the core supply-and-demand
 fundamentals that would have signaled a need for more reserves.126 Exelon argues that
 neither the IMM nor the PJM Load Coalition, in their protests, address the state of the
 system before out-of-market intervention by the operators. Exelon argues that the
 fundamental point is that PJM’s operators cannot trust the existing market mechanism to
 ensure sufficient reserves are procured.127

         Exelon avers that the IMM’s argument – that PJM engages in negative load
 biasing as well as positive load biasing – somehow suggests that they cancel each other
 out. Exelon argues that the existence of negative load biasing is no reason to ignore
 market flaws that have made positive load biasing necessary, nor does it mitigate the fact
 that in up to 29% of 5-minute intervals PJM operators needed to engage in positive load
 biasing to prevent a reserves shortage.128

         Exelon states that uplift costs are a symptom of price formation inaccuracies that
 result in the market failing to see the correct price signal. Exelon states that when this
 occurs the traditional single-clearing-price market gets converted into a pay-as-bid
 system on the margin. Exelon argues that the deviation from a single-clearing-price
 market is antithetical to a properly functioning competitive market for which the
 Commission strives.129

        PJM states that several protestors have argued that its Reserve Market Proposal is
 not warranted because the amount of uplift in the reserve market is small, particularly
 when compared to the energy market uplift. However, PJM argues that barely a third of
 reserve production costs were compensated through reserve market clearing prices, while
 the remainder was covered only through uplift. PJM states that, in 2018, it paid 46.2%
 of Tier 2 reserves through uplift, covering only 36.1% of production costs, instead of
 through market clearing prices. PJM avers that this is a sign that the reserves market is



        126
              Id. at 26-27 (citing Pilong Reply Aff. ¶¶ 7-8, tbl.1).
        127
              Exelon Answer at 8-9.
        128
              Id. at 9-10.
        129
          Id. at 12-13 (citing PJM Interconnection, LLC, 117 FERC ¶ 61,331 at P 141;
 Midwest Indep. Transmission Sys. Operator, Inc., 102 FERC ¶ 61,196, at P 32 (2003)).
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 not a well-functioning market.130 Exelon adds that relative to the energy market, which
 is 6 times larger than the reserve market, an equivalent uplift figure
 would be $4.2 billion.131

         P3 notes that as the generation fleet changes over time, with higher penetrations
 of intermittent and behind-the-meter resources, the standard reserve product may no
 longer meet the MRR because of fast or unexpected load ramps.132 PJM argues that the
 Commission has long held that an RTO/ISO need not wait for a reliability emergency
 before seeking reforms under FPA section 206.133

         The IMM restates its earlier position that PJM did not show that the existing
 reserve market rules are unjust and unreasonable. The IMM argues that, given the
 co-optimization of energy and reserves, PJM is arguing that LMP is not just and
 reasonable.134 The IMM repeats its assertion that PJM has not provided any analysis to
 link IT SCED biasing to actual commitments in RT SCED and market results,135 noting
 that operators do not act on the majority of commitments recommended by IT SCED
 cases. The IMM states that the IT SCED bias is a form of sensitivity analysis. The IMM
 states that when PJM biased the IT SCED cases the most in January 2019, the IT SCED
 recommended a 2,562 MW commitment, but only 932 MW were committed by PJM:
 793 MW were self-scheduled, and 116 MW had no commitment reason.136




        130
              PJM Answer at 28 (citing Keech Reply Aff. ¶¶ 19-20).
        131
              Exelon Answer at 11.
        132
              P3 Answer at 12 (citing Nicholson Aff. ¶¶ 70-72).
        133
          PJM Answer at 10 (citing PJM Interconnection, L.L.C., 151 FERC ¶ 61,208, at
 P 4 (2015), order on reh’g, 155 FERC ¶ 61,157 (2016)).
        134
              IMM Second Answer at 4.
        135
              Id. at 5.
        136
          Id. at 6-7 (noting that PJM did not raise the IT SCED load biasing issue during
 the Energy Price Formation Senior Task Force stakeholder process).
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        The IMM argues that reserve market uplift does not warrant changes to the
 ORDC. The IMM argues that PJM’s answer shows the uplift paid for the Synchronized
 Reserve market, but states that uplift payments can include incorrect settlement
 calculations and a mismatch between the dispatch interval and the pricing interval.137

                            d.     Commission Determination

         We find that PJM has met its burden under section 206 of the FPA to show that its
 current reserve market is unjust and unreasonable. PJM presents record evidence that its
 reserve market is systematically failing to acquire within-market the reserves necessary
 to operate its system reliably, to yield market prices that reasonably reflect the marginal
 cost of procuring necessary reserves, and to send appropriate price signals for efficient
 resource investment. PJM also demonstrates that the reserve products it procures in the
 day-ahead and real-time markets produce poor incentives for resource performance and
 inhibit efficient procurement of the types of reserves needed to address various
 operational uncertainties.

         As PJM explains, the need for reserves in a system is rooted in uncertainties.138
 As PJM affiant Dr. Patricio Rocha Garrido states, “if no uncertainties are present, then no
 reserves are needed.”139 However, PJM confronts numerous uncertainties when selecting
 supply resources to serve demand, and thus procures reserves to provide operational
 flexibility and ensure reliability in the face of those uncertainties. NERC requires that
 PJM acquire adequate reserves to recover from the largest contingency on the system,
 but, as PJM contends, the sum of numerous individual uncertainties renders the NERC-
 mandated quantity insufficient. For example, in the real-time market PJM procures
 reserves in advance of each operating interval based on a number of forecasts, including
 load, generator availability and performance, and interchange. Knowing that actual
 values for those parameters will deviate—possibly by large quantities—from the
 forecasts, PJM may deem it necessary to procure additional reserves beyond the NERC-
 mandated quantity. We agree with PJM’s contention that its existing reserve market
 design does not reliably accomplish this task; it is evidence of a serious flaw.

         Demand for reserves within PJM’s market is represented by the ORDCs, which
 are tied to the NERC-mandated reserve requirements. We agree with PJM that its
 existing ORDCs, and the various reserve requirements on which they are based, fail to
 reflect the universe and magnitude of the operational uncertainties with which PJM
 operators must contend. As evidence of this shortcoming, PJM describes the biasing and

        137
              Id. at 8-9.
        138
              PJM Answer, Rocha Garrido Reply Aff. ¶¶ 2-8; PJM Transmittal at 2.
        139
              PJM Answer, Rocha Garrido Reply Aff. ¶ 8.
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 out-of-market actions its operators regularly take to procure quantities of reserves in
 excess of those determined by the ORDCs.

         PJM provides data from calendar year 2018 that shows PJM operators frequently
 bias demand in the market software by hundreds or even thousands of MWs.140 In
 operating intervals in which PJM ultimately found itself in a reserve shortage, operators’
 average bias was 1,471 MW, suggesting that at times the bias was even greater.141
 This is consistent with the testimony of PJM affiant Mr. Pilong, who states that, “[f]or
 example, during a morning load pick-up when demand is increasing rapidly, the
 dispatcher may bias the cases by 2,000-3,000 [MW] to account for faster-than-expected
 load, lower-than-expected generation, and generators that are slow to ramp-up.”142
 While the load increase during morning ramp periods may be more pronounced on some
 days than others (e.g., on weekdays versus weekends or in peak seasons versus shoulder
 seasons), morning ramp periods are not anomalous. They are regular operational
 conditions with which operators must contend. Data demonstrating that PJM operators
 are routinely biasing market software inputs by such large quantities because, in their
 judgment and experience, the need for reserves to operate the PJM system reliably will
 far exceed the contingency-based MRRs is strong evidence of a flaw in the existing
 reserve market design.

        PJM also provides data on operator biasing during a two-day January 2019 cold
 snap that is representative of particularly challenging operational conditions. Those data
 show that operators biased demand for reserves by between 1,328 MW and 2,048 MW
 on average across 576 five-minute intervals spanning those two days.143 The data also
 suggest that even during periods when PJM likely anticipates challenging operational
 conditions due to forecasted weather, and therefore when PJM may invoke additional
 pre-emergency steps such as calling on pre-emergency demand response, the need for
 reserves still exceeds the existing MRRs.

        PJM explains why its existing MRRs are proving insufficient. Like other
 RTOs/ISOs, which are also Balancing Authorities, PJM must comply with NERC
 standard BAL-002, which mandates that PJM maintain reserves to respond to the loss of
 the largest single contingency on the PJM system.144 PJM utilizes Primary Reserves—a

        140
              PJM Transmittal, Pilong Aff. ¶¶ 8-17, tbl.1.
        141
              Id.
        142
              Id., Pilong Aff. ¶ 9.
        143
              PJM Answer, Pilong Reply Aff. ¶¶ 7-9.
        144
              PJM Transmittal, Pilong Aff. ¶ 6.
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 minimum subset of which must be Synchronized Reserves—to comply with that
 standard, and sets its Synchronized Reserve and Primary Reserve Requirements at
 levels that reflect that compliance requirement. PJM states that on average on its system
 this translates to a Synchronized Reserve Requirement of roughly 1,600 MW and a
 Primary Reserve Requirement of roughly 2,300 MW, values that are in line with similar
 requirements in other RTOs/ISOs.145 However, PJM notes that these requirements
 are significantly lower as a percentage of system peak load compared to most other
 RTOs/ISOs.146 At the same time, PJM presents evidence that it faces among the highest
 levels of non-contingency operational uncertainties of all RTOs/ISOs. Data showing the
 average aggregated error, in MW, across the common categories—load forecast error,
 forced outages, solar forecast error, and wind forecast error—demonstrates that PJM
 faces among the highest quantity of operational uncertainty among RTOs/ISOs, no
 doubt due in part to the large size of its system.147 PJM notes that among itself, the
 Midcontinent Independent System Operator (MISO), and the California Independent
 System Operator (CAISO), the other two RTOs/ISOs with similarly high levels of error-
 based uncertainty, PJM is the only one that does not procure and employ a ramping
 product, which is one market mechanism to address that uncertainty.148 The result is that
 PJM faces significant operational uncertainty that is not currently reflected within its
 MRRs, and that PJM operators must address through biasing and other out-of-market
 actions.

        We agree with PJM that there is substantial evidence in the record in these
 proceedings that its existing reserve market design fails to recognize and consistently
 procure within-market a sufficient quantity of reserves to both satisfy the requirements
 of NERC Reliability Standard BAL-002 and address significant, non-contingency
 operational uncertainties. This shortcoming does not directly threaten reliability
 because operators have the flexibility to procure reserves outside the market or by
 biasing the inputs to market software. However, the fact that PJM operators regularly
 need to procure thousands of additional MW of reserves—quantities upward of
 50-100% of the MRRs—is evidence of a market design that is unjust and unreasonable.

         We agree with PJM that its existing reserve market fails to produce market prices
 that reflect the marginal cost of providing reliable service—including reserves necessary
 to address legitimate non-contingency operational uncertainties. The evidence shows that
 PJM’s operators will, and do, acquire needed additional reserves at costs in excess of

       145
             Id. at 26-27.
       146
             Id.
       147
             PJM Answer, Rocha Garrido Reply Aff. ¶ 27, tbl.2.
       148
             Id. at Rocha Garrido Reply Aff. ¶ 27.
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 what the current reserve market design allows to be reflected in price.149 We agree with
 PJM that the resulting lack of price transparency is inconsistent with proper market
 design, “which values reserves appropriately and transparently through the market [to]
 not only support reliability but also incentivize investment in new resources that will
 provide additional flexibility and efficiency.”150

         As further evidence of this problem, data from the IMM’s 2018 State of the
 Market Report shows that nearly half (46.2%) of the revenue for the provision of
 Synchronized Reserves in PJM is paid through out-of-market, pay-as-bid uplift payments,
 rather than through market clearing prices.151 This problem will only be exacerbated with
 the recent increase in the energy market offer cap, which increases the probability that
 resources will face opportunity costs of providing reserves in excess of the existing
 Reserve Penalty Factors. When this occurs, PJM operators will be forced to commit
 those resources outside of the market to assign them reserves, further stifling accurate
 reserve price formation.

         We agree with PJM that the existing market design is consistently failing to
 produce prices reflecting the marginal cost of procuring necessary reserves.152 The
 Commission has previously stated the importance of ensuring accurate, transparent
 market prices when possible. For example, in its order on PJM’s Order No. 719
 compliance filing, which approved PJM’s use of an ORDC for the first time, the
 Commission agreed with PJM that “the costs of resources procured to alleviate shortages
 should be reflected in transparent market prices whenever possible,” and that “[p]ayments
 made only to individual resources and recovered in uplift fail to send clear market
 signals.”153 We continue to believe that market clearing prices should reasonably reflect
 the marginal cost of providing necessary reserves, and the record evidence in this
 proceeding indicates that PJM’s existing market design is falling short of that standard.
 While operators must maintain the flexibility to take actions outside the market when
 necessary, and not every such action must be captured within market prices to yield a just
 and reasonable market design, PJM has adequately demonstrated that the shortcomings of
 its reserve market pricing are substantial and warrant revision.



       149
             PJM Transmittal at 34-35.
       150
             Id., Pilong Aff. ¶ 27.
       151
             Id., Keech Aff. ¶ 6; PJM Answer, Keech Reply Aff. ¶ 33.
       152
             PJM Transmittal at 7-8.
       153
             Order No. 719 Compliance Order, 139 FERC ¶ 61,057 at P 63.
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          Finally, the evidence on the record shows that PJM’s current reserve product
 definitions and procurement across the day-ahead and real-time markets is inefficient and
 provides perverse incentives for resource performance. Specifically, we find compelling
 data presented by PJM showing that the Tier 1/Tier 2 reserve product distinction among
 Synchronized Reserves, and particularly the lack of performance obligations and non-
 performance penalties for resources providing Tier 1 reserves, has failed to properly
 incentivize performance from Tier 1 reserves when they are called upon to convert
 reserves into energy.154 We agree with PJM that its procurement of only 30-minute
 Reserves in the day-ahead market and only 10-minute Reserves in the real-time market
 hinders true co-optimization of energy and reserves in the resource commitment
 timeframe and therefore does not minimize total procurement cost.155 As PJM also notes,
 it is the only RTO/ISO without a forward procurement of the reserve type (10-minute
 Reserves) that it relies on in real-time operations.156

         We agree with PJM that these reserve market design elements poorly incentivize
 resource performance and present obstacles to the cost-effective procurement of
 necessary reserves. Synchronized Reserves are the most valuable type of reserves to
 an operator seeking to maintain system balance, because they are already synchronized
 to the transmission system and should be capable of responding quickly when called
 upon. Counting resources toward satisfying the critically important Synchronized
 Reserve Requirement when those resources have no explicit obligation to respond to
 a Synchronized Reserve Event and face no consequences for failing to respond
 unnecessarily increases operational uncertainty and is inconsistent with a general market
 design that seeks to align incentives for resources with the needs of the PJM system.

        Similarly, PJM’s current failure to procure, on a forward basis, the Primary
 Reserves on which it relies to meet its requirement under NERC Reliability Standard
 BAL-002 inhibits the efficient acquisition of those reserves. PJM’s current practice
 potentially excludes from the Primary Reserve supply pool all resources with longer lead
 times that could be called upon if the demand for Primary Reserves was represented in
 the day-ahead market. We also agree with PJM that the value it places on 30-minute
 Reserves should be accurately reflected in the real-time market in order to acquire those
 reserves in a cost-effective manner.




       154
             PJM Transmittal at 17-21.
       155
             Id. at 40.
       156
             Id. at 39.
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       For all of these reasons, we find that PJM has met its FPA section 206 burden to
 demonstrate that its existing reserve market design is unjust and unreasonable. We
 address specific protests in turn below.

        The Maryland Commission, the PJM Load Coalition, and the IMM argue that PJM
 has not met its burden with regard to the Tier 1/Tier 2 reserves structure because PJM has
 either not demonstrated a meaningful difference between the two products’ response rates
 when called to convert reserve capability into energy, or not demonstrated that Tier 1
 reserves are similarly situated given that they incur no opportunity cost to provide
 reserves. We disagree. PJM presents data showing that Tier 1 reserves average response
 rates during the years 2016, 2017, and 2018 are 75.1%, 60.1%, and 63.3%, respectively,
 compared to Tier 2 reserve response rates of 85.5%, 87.6%, and 74.2% across the same
 years.157 This evidence demonstrates a meaningful difference in response rate between
 Tier 1 and Tier 2 reserves, a difference that PJM reasonably attributes to the disparity in
 incentives that Tier 1 and Tier 2 reserves face under the existing reserve market rules.
 The Commission has previously found in other market contexts that good market design
 should provide adequate incentives for resource performance,158 and that to the extent a
 market design fails to do so, it may be unjust and unreasonable.159 In one such example,
 the Commission found that revisions to reserve market pricing were necessary as part of
 the just and reasonable replacement rate because of the performance-incentive benefits
 they would provide.160

        We also disagree with the Maryland Commission and the PJM Load Coalition that
 Tier 1 and Tier 2 reserves should not be compensated equivalently because only Tier 2
 reserves incur opportunity costs for providing Synchronized Reserves. These parties do
 not contend that Tier 1 and Tier 2 reserves are not providing an equivalent service when
 they respond to PJM’s instruction to convert reserves into energy. Rather, the difference

        157
              Id. at 17-19.
        158
            PJM Interconnection, L.L.C., 151 FERC ¶ 61,208 at P 9 (“[I]t is not enough
 simply to ensure that ‘capacity’ . . . is procured to meet reserve targets; rather, that
 capacity must carry with it meaningful performance obligations, and corresponding
 incentives and penalties, to ensure that those resources actually deliver when needed.”);
 see also id. PP 7, 22.
        159
           ISO New England Inc., 147 FERC ¶ 61,172, at P 23 (2014) (“[W]e find that
 ISO-NE’s existing Tariff is unjust and unreasonable, because it fails to provide adequate
 incentives for resource performance, thereby threatening reliable operation of the system
 and forcing consumers to pay for capacity without receiving commensurate reliability
 benefits.”), reh’g denied, 153 FERC ¶ 61,223 (2015).
        160
              See ISO New England Inc., 147 FERC ¶ 61,172 at PP 107-08.
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 they point to is in each resource type’s cost of providing that service. This is equivalent
 to arguing that two resources with different marginal costs of providing energy should
 not be paid the same price for providing energy. But the Commission has long
 recognized the price transparency and efficiency benefits of uniform clearing-price
 auctions,161 and those principles apply to the provision of Synchronized Reserves as well.
 To the extent a resource that would be designated as Tier 1 reserves under the existing
 rules provides Synchronized Reserves to the system, it is providing, as PJM asserts, “the
 exact same product” as a Tier 2 reserves providing Synchronized Reserves.162 We
 therefore agree with PJM that the two resources should be compensated equivalently.

        The IMM and PJM dispute the correct measurement for the Tier 1 reserve
 response rate—either the assigned response rate or the settlement data. However, PJM’s
 overarching argument is that the resources that it assigns Tier 1 reserves do not respond
 in a meaningful way, thereby undermining the certainty PJM has in their ability to
 respond and undermining the purpose of designating resources as reserves in the first
 place. Thus, we find compelling the arguments and data provided by PJM to support its
 argument that the current compensation and penalty structure for Tier 1 reserves is
 inadequate.

         The IMM argues that reserve prices in PJM are not too low and that the current
 reserve market design compensates resources appropriately. The IMM and the PJM Load
 Coalition both point to the evidence of January 2019 provided by PJM to argue that the
 reason prices were low was not the result of a market design flaw as asserted by PJM, but
 rather the result of supply exceeding demand. The IMM further argues that the existing
 reserve market construct follows the market dynamics of supply and demand. These
 arguments miss the point. As PJM notes, the reason that supply produced low prices
 during the January 2019 event is that PJM operators biased the scheduled supply to




        161
             PJM Interconnection, L.L.C., 117 FERC ¶ 61,331 at P 141 (“[A] competitive
 market with a single, market-clearing price creates incentives for sellers to minimize their
 costs, because cost-reductions increase a seller’s profits. And when many sellers work to
 minimize their costs, competition among them keeps prices as low as possible. . . . This
 market result benefits customers, because over time it results in an industry with more
 efficient sellers and lower prices.”), order on reh’g, 119 FERC ¶ 61,318; N.Y. Indep. Sys.
 Operator, 110 FERC ¶ 61,244, at P 65 (2005) (“Efficient pricing requires that suppliers
 receive the highest market value for their resources, independent of their bids. This gives
 all sellers the proper incentive to offer their resources at the marginal cost of their highest
 valued use. . . .”), reh’g denied, 113 FERC ¶ 61,155 (2005).
        162
              PJM Transmittal at 16.
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 ensure additional reserves were on the system.163 This goes to a central tenet of PJM’s
 complaint: PJM operators’ frequent need to intervene in reserve market outcomes
 indicates that the market is not functioning properly, and because those operator actions
 are not fully incorporated into market prices, those prices do not reflect the true marginal
 cost of providing necessary reserves.

        The PJM Load Coalition and the IMM also argue that uplift in the reserves market
 is minimal, and not a significant problem. PJM counters this point by explaining that
 nearly half of the payments to Tier 2 reserves come from uplift.164 We agree with PJM.
 While the dollar value of the uplift stemming from operators’ procurement of needed
 reserves outside the market design may be relatively small in the context of total energy
 and ancillary services markets revenues, the reality that uplift represents such a large
 portion of total reserve compensation is indicative of a flawed market design.

        The IMM also argues that load biasing causes IT SCED to recommend possible
 additional unit commitments, but that operators do not necessarily commit additional
 units based on IT SCED’s modified recommendations. While the IMM is correct, the
 IMM does not argue or present evidence that biasing never results in unit commitments.
 The evidence of uplift, discussed above, suggests that the post-biasing IT SCED
 recommendations are translating into unit commitments, the need for which should be
 reflected in a properly functioning reserve market.

        The PJM Load Coalition argues that PJM ignores the fact that Step 2B on its
 current ORDC could be used to procure additional reserves. PJM responds that Step 2B
 is designed for use in only a subset of conditions, such as during conservative operations,
 a limitation that the PJM Load Coalition acknowledges. We are not persuaded by the
 PJM Load Coalition’s argument. The Step 2B mechanism is a narrow tool that provides
 PJM operators with only limited flexibility to schedule additional reserves outside a
 subset of system conditions. It does not address the suite of reserve market design
 shortcomings we identify above, as evidenced by the fact that its existence has not
 prevented those shortcomings from emerging.

         The IMM argues that the misalignment of the day-ahead and real-time markets
 regarding reserve procurement cannot be solved, and that PJM has not provided evidence
 that failing to align the day-ahead and real-time procurement of reserve products results
 in higher costs. PJM argues that the misalignment can result in uncertainty in whether
 the reserves it assigns in the day-ahead market will be available in real time given a lack
 of a forward obligation. PJM also asserts that the lack of forward procurement prevents
 the commitment of longer-lead-time resources that could provide reserves more cost-

        163
              PJM Answer at 26-27.
        164
              Id., Keech Reply Aff. ¶¶ 19-20.
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 effectively. As discussed in greater detail above, we are persuaded that the existing
 misalignment between day-ahead and real-time reserve products impedes the efficient
 acquisition of needed reserves, particularly by failing to represent the need for Primary
 Reserves in the day-ahead market. This failure unnecessarily restricts the supply pool of
 resources capable of providing Primary Reserves to those visible within the two-hour
 window of the IT SCED engine.

        The PJM Load Coalition argues that the Commission should exercise its discretion
 to delay any action on PJM’s proposal until other market rules are in place and their
 effects understood. We disagree. In finding that PJM has met its burden under FPA
 section 206, the Commission is required to determine a replacement rate. The PJM Load
 Coalition argues that PJM has not met its burden as to why the proposed revisions in the
 instant proceeding are necessary or worth the cost given other pending and recent market
 revisions. However, as the PJM Load Coalition admits, the other market revisions to
 which it refers are not meant to address the concerns PJM has raised in the instant
 proceeding. Therefore, we are not persuaded by PJM Load Coalition’s request for
 delayed action.

                 2.     Replacement Rates

         Pursuant to section 206 of the FPA, once a complainant has met its burden to show
 that a rate is unjust, unreasonable, or unduly discriminatory, the burden then shifts to the
 Commission to determine the new just and reasonable replacement rate.165 In Section
 IV.B.1, above, we found that PJM met its burden to show that its current reserve market
 construct is unjust and unreasonable. We now address the appropriate replacement rate.

         Several parties support adopting PJM’s proposed replacement rate as filed.166
 Only the PJM Load Coalition protests PJM’s proposed consolidation of Tier 1 and Tier 2
 Synchronized Reserves, though several parties advocate for minor revisions to how that
 modification is implemented. No party broadly protests PJM’s proposed alignment of
 reserve products across the day-ahead and real-time markets, but the IMM and CEA
 oppose either the introduction of a 30-minute Reserve product into the real-time market
 or the rules governing that product. Numerous parties, generally support PJM’s proposed
 ORDC changes, though some propose minor modifications or additional reforms.167


        165
              16 U.S.C. § 824e; Emera Maine v. FERC, 854 F.3d 9, 21 (D.C. Cir. 2017).
        166
              See, e.g., Dominion Comments at 5-9; NEI Comments at 9-10; P3 Comments
 at 7-14.
        167
          API, Calpine and LS Power, CEE, Direct Energy, Dominion, Duke, EPSA,
 ETI, Exelon, FirstEnergy, IPI, NEI, P3, PSEG, R Street, and Vistra.
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 However, many parties oppose most or all of PJM’s proposed ORDC modifications, and
 in some cases propose alternatives.168

        As discussed in more detail below, we largely adopt PJM’s proposal as the just
 and reasonable replacement rate, subject to certain modifications. We discuss the major
 components of the replacement rate in turn. Several of PJM’s proposed revisions are
 uncontested, and we adopt them as part of the just and reasonable replacement as filed
 without further discussion.

                           a.     Tier 1/Tier 2 Reserve Consolidation

                                  i.    PJM’s Proposal

         PJM proposes to consolidate the Tier 1 and Tier 2 reserve products into one
 uniform Synchronized Reserve product. PJM explains that the consolidated
 Synchronized Reserve product will “(i) be assigned based on the market solution that
 maximizes social welfare (in part through minimizing production cost); (ii) be obligated
 to respond based on the assigned quantity; (iii) be compensated at the applicable clearing
 price for the assigned [MW] amount; and (iv) face a penalty if the resource does not
 respond during an event.”169 PJM states that the consolidated product will be treated
 comparably regardless of whether the reserves come from unloaded reserve capability or
 re-dispatched reserve capability.170 PJM states that it will calculate a Synchronized
 Reserve resource’s availability and reserve capability MW using the availability and unit
 parameters offered in for energy (with some exceptions), such as economic minimum,
 economic maximum, and energy ramp rate. Further, PJM states that participants will be
 provided with additional ability to update energy ramp rates intra-day and to update the
 Synchronized Reserve maximum MW intra-hour to enable more accurate representation
 of their reserve capability.171

        PJM states that the variable operations and maintenance component will be
 removed from the Synchronized Reserve offer cap (as this component is already included
 in energy offers) and the presently effective $7.50/MWh offer margin will be reduced to



        168
         AEP, CEA, the IMM, the Maryland Commission, ODEC, the Ohio
 Commission, OPSI, the PJM Load Coalition, and Public Citizen.
        169
              PJM Transmittal at 44.
        170
              Id. at 44-45.
        171
              Id. at 45.
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 the expected value of the penalty.172 PJM explains that the existing $7.50/MWh offer
 margin is based on the implicit margins in actual offers made by Tier 2 reserve
 participants prior to the implementation of the market in 2002, and that these offers
 included market power.173 PJM states that $7.50/MWh is well in excess of the near
 $0.00/MWh expected value of the Synchronized Reserve penalty resources may face,
 which takes into account the average penalty rate, as well as the probability that a
 Synchronized Reserve Event will occur and that a resource will underperform in such
 event. PJM proposes to re-calculate the expected value of the penalty on an annual
 basis, rather than setting the cap to a static $0.00/MWh based on current conditions.
 PJM estimates that the reserve offer cap would be $0.02/MWh for 2018.174

         PJM argues that the consolidation of the Tier 1 and Tier 2 reserve products
 into a single, unified product is just and reasonable for the following reasons: (1) the
 Commission has approved a consolidated product for Synchronized (or spinning) Reserve
 in every other jurisdictional RTO/ISO; (2) consolidation will provide more accurate
 reserve calculations that require less operator intervention;175 (3) attaching a penalty
 to all Synchronized Reserve products will improve performance and hold resources
 accountable for providing their assigned reserves; (4) consolidation will provide more
 accurate energy and reserve pricing due to improved Synchronized Reserve
 measurement.176

                                ii.   Comments and Protests

       Exelon, ETI, CEE, P3, NEI, Dominion, AEP, API, Calpine and LS Power, IPI,
 the Ohio Commission, Vistra, EPSA, IMM, and PSEG support PJM’s proposal to create
 a consolidated Synchronized Reserve product. Exelon, ETI, Dominion, IPI, the Ohio
 Commission, Vistra, and EPSA argue that eliminating the existing Tier 1/Tier 2 reserve


        172
              Id.
        173
          Id. at 46 (citing PJM Interconnection, L.L.C. Filing, Docket No. ER02-2519-
 000, Report on Spinning Reserve Market By: Joseph E. Bowring - Manger PJM Market
 Monitoring Unit, ¶¶ 13, 20 (Sept. 4, 2002)).
        174
              Id. at 46-47.
        175
           Id. at 47 (citing Pilong Aff. ¶¶ 15-20) (explaining how the structural
 deficiencies inherent in the Tier 1 reserve product prevent PJM operators from
 developing accurate estimates of the amount of Tier 1 reserve that will reliably
 respond, which leads to biasing and out-of-market actions).
        176
              Id.
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 products and implementing a new consolidated Synchronized Reserve product with clear
 performance requirements and penalties for non-performance will address concerns
 regarding the operational value of Tier 1 reserve resources and mitigate the need for the
 pervasive out-of-market actions demonstrated in PJM’s filings.177 Further, ETI, CEE, P3,
 Dominion, IPI, and PSEG state that a consolidated Synchronized Reserve product with
 consistent compensation of all resources (and appropriate penalties) will provide
 appropriate incentives for resources to perform when called upon by PJM and ensure just
 and reasonable treatment of all Synchronized Reserve resources.178 Dominion states that
 PJM’s proposal will ensure that resources on the margin are indifferent to providing
 reserves or energy.179 EPSA comments that adopting a consolidated Synchronized
 Reserve product is consistent with the approach taken by other RTOs/ISOs, and will
 eliminate the undue discrimination created by the existing Tier 1/Tier 2 reserve
 construct.180

        ETI explains that PJM’s proposal will allow for more accurate reserve
 calculations, giving operators the necessary information they need to more accurately
 schedule the system, which will in turn yield more accurate energy and reserve
 pricing.181 In addition, Dominion states that by requiring all generators seeking to
 obtain a Synchronized Reserve obligation to submit offers with the appropriate
 operating parameters, the marginal costs of suppling reserves will be accurately
 reflected in the clearing price for the Synchronized Reserve product. 182 API, Calpine
 and LS Power, the Ohio Commission, and EPSA argue that consolidation of the




       177
            See, e.g., Exelon Comments at 28; ETI Comments at 3-4; Dominion Comments
 at 5; IPI Comments at 9; Ohio Commission Protest at 6-7; Vistra Comments at 3-4;
 EPSA Comments at 15.
       178
         See, e.g., CEE Comments at 6; ETI Comments at 3-4; P3 Comments at 8;
 Dominion Comments at 5; IPI Comments at 9; see also NEI Comments at 9; AEP
 Comments at 3; PSEG Protest at 3-4.
       179
             Dominion Comments at 6.
       180
             EPSA Comments at 13-14.
       181
          ETI Comments at 4; see also IPI Comments at 10 (“[PJM’s Synchronized
 Reserve proposal] will increase the economic efficiency of the reserve market”).
       182
             Dominion Comments at 5.
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 Tier 1 and Tier 2 reserve products will provide greater transparency to the market
 regarding the need for Synchronized Reserve. 183
         The Ohio Commission agrees with PJM that a must-offer requirement for the
 consolidated Synchronized Reserve product will enhance PJM’s ability to address
 shortage events.184 Similarly, the IMM argues that PJM’s proposal to strengthen the
 must-offer requirement for Synchronized Reserves is important to efficient market design
 and addressing structural market power.185 The IMM explains that the must-offer rule
 will eliminate Market Sellers’ current ability to withhold reserves by offering zero MW
 of Synchronized Reserves.186

        Dominion agrees with PJM’s proposed methodology for calculating Synchronized
 Reserve offers, its proposal to reduce the $7.50/MWh offer margin adder to the
 Synchronized Reserve penalty (updated annually), and its proposal to remove the variable
 operations and maintenance component from Synchronized Reserve offers.187 The IMM
 argues that no offer margin is necessary for Synchronized Reserve offers, and states that
 PJM is right that the existing $7.50/MWh offer margin was based on offers that included
 market power and which exceeded efficient, competitive levels. The IMM does not agree
 with PJM’s proposal to set the offer margin at the expected penalty; rather, the IMM
 argues that the reserve offer margin should be set at zero.188

       Vistra argues that PJM should not reduce the presently effective $7.50/MWh offer
 margin to the expected value of the penalty.189 Vistra argues that such a reduction
 “ignores the significant risk inherent in PJM’s penalty structure” and “is inconsistent with




        183
          API Comments at 3 (“consolidating the bifurcated [S]ynchronized [R]eserve
 market will help with market transparency and proper price formation”); Calpine and LS
 Power Comments at 6; Ohio Commission Protest at 6; EPSA Comments at 14-16.
        184
              Ohio Commission Protest at 6-7.
        185
              IMM Protest at 71-72.
        186
              Id. at 72.
        187
         Dominion Comments at 6 (noting that the variable operations and maintenance
 component is already included in energy offers).
        188
              IMM Protest at 72-73.
        189
              Vistra Comments at 4.
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 PJM’s stated belief that the penalty will encourage performance.”190 Vistra states that
 PJM’s calculation of the average penalty also ignores the fact that the risk of non-
 performance is likely time- and resource-specific.191 Vistra states that during high-load
 or high-ramp periods, the probability of a Synchronized Reserve Event is considerably
 higher than the 0.015% used to develop the $0.02/MWh cap; similarly, during periods of
 significant temperature uncertainty, resources face greater risk of non-performance.192
 Therefore, Vistra argues that the Commission should retain the existing $7.50/MWh offer
 cap, relying on competitive forces during surplus reserve periods to discipline offers and
 allowing resources to reflect risk in the periods when possibility of a penalty are
 highest.193

        Calpine and LS Power argue that PJM’s non-performance penalty calculations,
 which are based on the real-time Synchronized Reserve market clearing price, are too
 onerous in light of expected revenues for Synchronized Reserves, given that the price
 could theoretically rise to $14,000/MWh.194

         The IMM argues that PJM’s current penalty for Synchronized Reserve, which
 PJM does not propose to change, is insufficient, because resources can profitably offer
 reserves without ever performing during a spinning event.195 The IMM explains that
 the penalty for a Synchronized Reserve resource failing to meet its scheduled obligation
 during a spinning event involves two components: (1) the resource foregoes payment
 for the MWs of under-response for all cleared hours of the day of the event, and (2) the
 resource is charged a penalty in the amount of its MWs of under-response during the
 spinning event against all of its Synchronized Reserve revenues during the Immediate
 Past Interval or since the resource last failed to respond to a spinning event, whichever
 is less. The IMM explains that the Immediate Past Interval is calculated yearly on



        190
              Id. at 4-5.
        191
              Id. at 5.
        192
              Id.
        193
              Id.
        194
              Calpine and LS Power Comments at 7-8.
        195
            IMM Protest at 58-59, tbl.44. The IMM provides data showing that under
 PJM’s current penalty structure, a resource that completely failed to respond to spinning
 events would earn 58.2% of what a resource that responded perfectly would earn and
 states that this is not a just and reasonable penalty structure. Id. at 59.
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 December 1 as the average number of days between spinning events over the past 2
 years. The IMM states that market participants can aggregate resources in their
 portfolios with response from over-responders used to offset under-responders during a
 Synchronized Reserve Event. Under the penalty structure, the IMM states that non-
 performance is only defined for spinning events of 10 minutes or longer. For events of
 less than 10 minutes, all resources, regardless of actual performance, are considered to
 have performed perfectly. The IMM states that the Immediate Past Interval is defined as
 the number of days between spinning events, regardless of duration, which the IMM
 argues artificially shortens the period since the last requirement to perform.196

        The IMM argues that the Immediate Past Interval used to identify the penalty
 period should be based on the actual time since the last spinning event of 10 minutes or
 longer during which the resource performed, which would capture the actual failure to
 perform, provide appropriate performance incentives, and serve as a just and reasonable
 penalty.197 The IMM proposes that aggregation not be permitted to offset unit-specific
 penalties for failure to respond to an event, because it weakens the incentive to perform
 and creates an incentive to withhold reserves from other resources and further argues that
 the obligation to respond is unit specific.198

         Further, the IMM proposes similar non-performance penalties for Non-
 Synchronized Reserve and Secondary Reserve.199 Vistra argues that PJM should clarify
 that the penalty for the Non-Synchronized Reserve product is not being changed. 200

         The PJM Load Coalition argues that if the threshold section 206 showing is made,
 rather than adopting PJM’s unjust and unreasonable replacement rate, the Commission
 should consider imposing a non-performance penalty on Tier 1 reserve resources to
 enhance Tier 1 reserve performance, without imposing significant additional costs on
 customers.201 The PJM Load Coalition also argues that the Commission might consider




       196
             Id. at 58-59.
       197
             Id. at 73.
       198
             Id. at 73-74.
       199
             Id. at 74.
       200
             Vistra Comments at 5.
       201
             PJM Load Coalition Protest at 65 (citing Al-Jabir Aff. ¶ 20).
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 increasing the bonus incentive payment made to performing Tier 1 reserve resources
 during actual Synchronized Reserve Events.202

                               iii.     Answers

        PJM explains that it proposes to use a single, unified market clearing price to
 procure Synchronized Reserve, and all resources will receive the market clearing price,
 regardless of their opportunity costs. PJM reiterates that the cost of the marginal unit
 assigned to provide reserves will set the clearing price, just like in its energy market,
 which PJM argues is just and reasonable.203 PJM points out that the IMM supports
 combining the Tier 1 and Tier 2 reserve products.204

         Vistra reiterates that the $7.50/MWh reserve offer margin should be retained.
 Vistra argues that the IMM mischaracterizes what may constitute a legitimate marginal
 cost. Citing the must-offer requirements, Vistra argues that no resource would
 voluntarily participate in a market that exposes them to risk but does not allow them to
 reflect that risk in their offers. Vistra compares this to asking a resource to offer below
 incremental fuel cost.205

                               iv.      Commission Determination

        We adopt as part of the just and reasonable replacement rate PJM’s proposal to
 consolidate the existing Tier 1 and Tier 2 reserve products into a uniform Synchronized
 Reserve product with a single clearing price. Uniform compensation for performing and
 uniform penalties for not performing will incentivize consistent performance across all
 Synchronized Reserve resources and improve price formation in the PJM reserve market.
 Incentivizing more consistent performance in the form of higher response rates will in
 turn help alleviate operational uncertainty by providing more accurate reserve
 calculations with less operator intervention.

        We also find that PJM’s proposed non-performance penalty for the consolidated
 Synchronized Reserve product—to mirror that of the existing Tier 2 reserve penalty
 being “equal to the lesser of the average number of days between Synchronized Reserve
 Events, or the number of days since the resource last failed to provide the amount of

        202
              Id. at 66 (suggesting the current $50/MWh bonus payment be doubled or
 tripled).
        203
              PJM Answer at 55-56 (citations omitted).
        204
              Id. at 33 (citing IMM First Answer at 3).
        205
              Vistra Answer at 15-16.
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 Synchronized Reserve it was assigned or self-scheduled to provide in response to a
 Synchronized Reserve Event”206—is just and reasonable.

         We disagree with Calpine and LS Power’s argument that the proposed penalty
 is too onerous, given the potentially high reserve market clearing price (up to
 $10,000/MWh).207 As we discuss in the following section, we find that the PJM’s
 proposed Reserve Penalty Factor for Synchronized Reserve is appropriate, given the
 maximum potential market clearing price. Under PJM’s proposal, the reserve market
 settlement is designed to mirror that of the energy market settlements already in use. In
 the energy market, resources assigned to provide energy received compensation in the
 day-ahead market. If those resources then fail to provide the scheduled amount, they
 must buy back the amount in the real-time market at the real-time price. The same reason
 aptly applies for reserve markets which utilize Reserve Penalty Factors to set reserve
 market clearing prices. We therefore find it just and reasonable for a resource which fails
 to provide reserves when needed to be penalized at the reserve market clearing price.

         Similarly, we disagree with the IMM’s arguments that PJM’s proposed non-
 performance penalty for the consolidated Synchronized Reserve product is insufficient.208
 The IMM argues that the penalty for a Synchronized Reserve resource’s failure to meet
 its scheduled obligation during a spinning event should be revised to be more strict by
 modifying the existing calculation of what is known as the Immediate Past Interval, on
 which any assessed penalty is based. The IMM asserts that rather than setting the
 Immediate Past Interval equal to the lesser of (1) the average number of days between
 spinning events of any duration over the past two years, or (2) the number of days since
 the resource last failed to respond fully, it should be set only based on the number of
 days since the last spinning event of 10 minutes or longer during which the resource
 performed. The IMM argues that this modification is necessary to properly incentivize
 resource performance. To support its contention, the IMM presents the results of an
 historical analysis of six of the most heavily scheduled resources in the Synchronized
 Reserve market to show that resources that fail to respond to spinning events would earn
 58.2% of what a resource with a perfect response rate would earn. However, it is not
 clear that a penalty structure that would deprive a Market Seller of over 40% of potential
 reserve revenues (over what could be an extended period of time) for poor performance
 fails to provide strong incentives to perform. In the absence of additional evidence that
 the incentive structure resulting from the existing penalty calculation and the enhanced


        206
           PJM Transmittal at 86 n.194 (quoting Operating Agreement, Schedule 1,
 § 3.2.3A(j)).
        207
              Calpine and LS Power Comments at 7-8.
        208
              IMM Protest at 58-59, 73.
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 must-offer requirements discussed below will be inadequate, we decline to incorporate
 the IMM’s proposed alternative as part of the just and reasonable replacement rate.

         The IMM also argues that a Market Seller should not be permitted to aggregate
 the responses of multiple resources to meet a reserve commitment because it creates
 an incentive to withhold reserves from some resources.209 We are not persuaded that
 there is sufficient evidence to justify prohibiting aggregation. As part of the replacement
 rate we adopt herein, PJM is making explicit in its Operating Agreement that Generation
 Capacity Resources have a must-offer requirement for Synchronized and Non-
 Synchronized Reserves and for Secondary Reserves, regardless of whether the resource
 is online or offline.210 To the extent these resources fail to make their full reserve
 capability available to the market, these Operating Agreement provisions make clear that
 the Market Seller will be in violation of the Tariff.211 In light of these updated Operating
 Agreement provisions, we find insufficient evidence that the existing ability for Market
 Sellers to aggregate resource performance to satisfy a reserve commitment will lead to
 withholding from the market.

        We reject the PJM Load Coalition proposal that, as an alternative to a consolidated
 Synchronized Reserve product, the Commission could update the compensation structure
 for Tier 1 reserves, thereby addressing PJM’s concern in a way that may result in lower
 costs to customers. We find that the PJM Load Coalition’s alternative proposal does
 not address the problems PJM has identified regarding Tier 1 reserve performance and
 compensation. Since we find that PJM’s proposal to create a single market for all
 resources providing Synchronized Reserves to be just and reasonable, we decline to adopt
 an alternative proposal to compensate resources providing the same reserve product in a
 different manner.

        We also find that PJM’s proposed removal of the variable operations and
 maintenance component of Synchronized Reserve offers and reduction of the
 Synchronized Reserve offer margin from $7.50/MWh to the expected value of the
 penalty is just and reasonable. Vistra argues that the $7.50/MWh offer margin should not
 be reduced to the expected value of the non-performance penalty. Conversely, the IMM
 argues that the expected value of the penalty should be capped at $0.00/MWh. We

        209
              Id. at 59.
        210
          PJM Transmittal at 80-82; Operating Agreement, Schedule 1, §§ 1.10.1A(j)(i),
 1.10.1A(m)(i).
        211
           See, e.g., Operating Agreement, Schedule 1, § 1.10.1A(j)(i) (“Market Sellers of
 Generation Capacity Resources subject to this must-offer requirement that do not make
 the reserve capability of such resources available when such resource is able to operate
 with a dispatchable range . . . will be in violation of this provision.”).
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 disagree with both Vistra and the IMM. PJM co-optimizes reserves with energy, and
 energy market offers already permit Market Sellers in PJM to include a portion of
 their offers as variable operations and maintenance. Thus, including the additional
 $7.50/MWh adder would be duplicative. As PJM explains, the $7.50/MWh value was
 based on historical market values prior to 2012 and thus largely based on stale data.
 PJM’s proposal to set the value based on the expected value of the Synchronized Reserve
 penalty is reasonable, as it is based on the probability of a Synchronized Reserve Event,
 the probability of underperformance, and the average penalty rate, which will be
 reviewed annually. The annual revision will allow PJM and stakeholders to review
 whether the reserve offer cap is meeting its intended goal. We therefore decline to adopt
 alternatives to either use non-formulaic values in the determination of the cap or set the
 price to $0.00/MWh.

                         b.     ORDC - Penalty Factors

                                i.     PJM’s Proposal

         PJM proposes to increase the Reserve Penalty Factor applicable up to the MRR to
 $2,000/MWh so that market prices can better reflect the cost of actions PJM takes to
 satisfy the NERC standard.212 PJM explains that the Reserve Penalty Factor is intended
 to represent the maximum production cost the market is willing to pay to maintain the
 MRR and avoid a reserve shortage, and therefore the market will not commit a resource
 for reserves if the resource’s cost to provide reserves exceeds the Reserve Penalty
 Factor.213 PJM notes, however, that “the market’s refusal to recognize that resource[]
 does not prevent PJM from relying on that resource.”214 PJM asserts that to maintain the
 MRR, in accordance with the NERC standard, PJM operators will commit all generation,
 even generation costing above the existing $850/MWh Reserve Penalty Factor, and will
 deploy pre-emergency and emergency load management reductions, also costing well
 above $1,000/MWh.215

       PJM states that under its market rules, PJM operators can commit resources, or
 buy energy, at costs in excess of the existing $850/MWh Reserve Penalty Factor when
 needed to maintain reserves.216 PJM states that it maintains several cost caps for energy

        212
              PJM Transmittal at 48.
        213
              Id. (citing Keech Aff. ¶ 16).
        214
              Id.
        215
              Id.
        216
              Id.
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 purchases that exceed $850/MWh, including the $2,000/MWh energy offer cap for
 generation resources, offer caps ranging from $1,100 to $1,849/MWh for emergency and
 pre-emergency demand response resources,217 and the $2,700/MWh price cap on
 emergency energy purchases from neighboring regions.218 PJM explains that because
 PJM’s current rules allow sellers to submit energy market offers that are eligible to set
 the LMP at price levels in excess of $850/MWh, PJM avers that resources providing
 reserves can have opportunity costs at approximately the same level of the energy offers
 of the resources committed to maintain reserves.219 PJM explains that if such resources
 are committed as reserves, the reserve clearing market price will not reflect such
 resources’ offers and opportunity costs, even if such a resource’s total offer, including its
 opportunity cost, would have been the marginal offer needed by PJM to meet its MRR.220

         PJM states that evolving market rules in PJM, including the 2017 rule change
 allowing cost-based energy offers of up to $2,000/MWh, make clear that in order to
 retain the benefits of a uniform clearing price market for reserves, it is reasonable for the
 Reserve Penalty Factor to be increased to $2,000/MWh.221 PJM states that increasing the
 Reserve Penalty Factor to this level would allow reserve resources with costs of up to
 $2,000/MWh to set prices when they are needed at the margin to meet PJM’s MRR.222

         PJM supports this change by asserting that PJM’s primary focus, as it developed a
 replacement for its currently effective Reserve Penalty Factor, was to set it “at the lowest
 level that is consistent with the actions that system operators will take to maintain
 reserves and allow those actions to be reflected in market clearing prices,” which PJM
 affiant Mr. Keech attests is $2,000/MWh.223 PJM states that a Reserve Penalty Factor at


        217
           PJM lists three offer caps for emergency and pre-emergency demand response
 resources, differentiated by lead time. PJM explains that emergency and pre-emergency
 demand response resources can submit offers up to $1,849/MWh to reduce demand with
 a 30-minute lead time, offers up to $1,425/MWh to reduce demand with a 1-hour lead
 time, and offers up to $1,100/MWh to reduce demand with a 2-hour lead time. Id. at 49.
        218
              Id. at 50.
        219
              Id. at 49.
        220
              Id.
        221
              Id., Keech Aff. ¶ 10 (citing Order No. 831, 157 FERC ¶ 61,115).
        222
              Id. at 50.
        223
              Id. at 51 (citing Keech Aff. ¶ 9).
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 this level would reliably signal a shortage caused by running out of reserves, rather than
 simply an economic choice to go short on reserves.224

         PJM argues that $2,000/MWh is a more appropriate cost at which to set its
 Reserve Penalty Factor than is an estimate of the value of lost load in PJM. In support of
 this claim, PJM cites Mr. Keech, who attests that the proposed Reserve Penalty Factor is
 not based on an estimated value of lost load because the existence of PJM’s capacity
 market undermines the usefulness of setting the Reserve Penalty Factor in PJM at an
 estimated value of lost load.225 PJM also cites to the ORDC Report authored by PJM
 affiants Dr. William W. Hogan and Dr. Susan L. Pope, in which the affiants conclude that
 PJM’s selection of a Reserve Penalty Factor at $2,000/MWh is consistent with the theory
 that the value of incremental reserves is anchored around PJM-specific assumptions
 about the actions that will be taken as the level of reserves declines below the MRR.226

         PJM notes that the Reserve Penalty Factor sets a horizontal segment of the ORDC
 at all reserve levels from zero to the MRR and defines the start of a vertical segment at
 the MRR.227 PJM asserts that under the existing approved energy market rules the cost of
 taking those actions can, under multiple circumstances, exceed $850/MWh, and reach as
 high as $2,000/MWh under non-emergency conditions and exceed $2,000/MWh in
 emergency conditions.228

        PJM explains that it proposes establishing the same Reserve Penalty Factor for all
 reserve requirements, including Synchronized Reserve, Primary Reserve, and 30-minute
 Reserve.229 PJM supports this proposal by explaining that the 30-minute Reserve product
 should also have a $2,000/MWh Reserve Penalty Factor, because extreme system
 conditions could result in PJM potentially not deploying all of the economic resources it
 has available to maintain 30-minute Reserves.230


        224
              Id.
        225
              Id. (citing Keech Aff. ¶ 7).
        226
         Id. at 52 (citing PJM Transmittal, Hogan & Pope Aff., Attachment C, Ex. 1,
 Hogan & Pope PJM ORDC Report at 17).
        227
              Id.
        228
              Id.
        229
              Id.
        230
              Id.
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         PJM also proposes to remove the reserve price cap because PJM believes it
 arbitrarily suppresses the price for reserves when the cascading of shortages on the
 system indicate such reserves are most needed. PJM states that while this implies that
 the energy and reserve price could rise as high as $12,000/MWh, that price: (1) can
 occur only from the simultaneous occurrence and confluence of multiple product and
 locational shortages; (2) is necessary to recognize the independent value of avoiding each
 such shortage; (3) implies extreme conditions that demand immediate supplier response;
 (4) likely approximates consensus estimates of the value to load of avoiding curtailment;
 and (5) logically applies the current approved approach to the reserve products and
 Reserve Penalty Factors proposed in these filings.231

        PJM claims a basic tenet of reserve pricing is that the clearing prices are additive
 for reserve products that can substitute for each other. As an example, PJM explains that
 because a MW of Synchronized Reserve can count toward meeting the Synchronized
 Reserve Requirement and the Primary Reserve Requirement, the Synchronized Reserve
 market clearing price reflects the cost of meeting both these requirements.232 PJM
 explains that currently the Synchronized Reserve market clearing price is capped at
 the addition of only two Reserve Penalty Factors, despite the fact that if both the
 Synchronized Reserve and Primary Reserve Requirements could not be met for both
 the RTO-wide Reserve Zone and the Mid-Atlantic/Dominion Reserve Sub-Zone, the
 Synchronized Reserve market clearing price for the Mid-Atlantic/Dominion sub-zone

        231
           Id. at 11-12. In its Answer, PJM clarifies that $12,000/MWh is the sum of the
 energy price cap of $2,000/MWh plus the stacking of five $2,000/MWh Reserve Penalty
 Factors for falling below the Minimum Synchronized Reserve Requirement in the RTO-
 wide Reserve Zone and the Mid-Atlantic/Dominion Reserve Zone; the Minimum Primary
 Reserve Requirement in the RTO-wide Reserve Zone and the Mid-Atlantic/Dominion
 Reserve Zone; and the Minimum 30-minute Reserve Requirement in the RTO-wide
 Reserve Zone. PJM Answer at 53 n.180. PJM notes that the $12,000/MWh figure
 “could rise to $14,000/MWh if PJM models a subzone for the 30-minute requirement, but
 as a default PJM intends to only model the 30-minute reserve requirement for the RTO-
 wide Reserve Zone.” PJM Transmittal at 12 n.12.
        232
            PJM states that for this reason, the Synchronized Reserve market clearing
 price will always be greater than or equal to the Non-Synchronized Reserve market
 clearing price, which represents the price of meeting the balance of the Primary Reserve
 Requirement in excess of the Synchronized Reserve Requirement. Similarly, PJM
 explains, when the system becomes short on reserves, the Synchronized Reserve market
 clearing price includes the Reserve Penalty Factor for each reserve requirement and
 each Reserve Zone or Sub-Zone to which a MW of Synchronized Reserve can
 contribute, leading to additive prices. Id. at 99 (citing Operating Agreement, Schedule 1,
 §§ 3.2.3A(d), 3.2.3A.001(c)).
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 should reflect all four Reserve Penalty Factors in recognition that a MW of Synchronized
 Reserve in the Mid-Atlantic/Dominion sub-zone would satisfy all four reserve
 requirements. PJM proposes to calculate the day-ahead and real-time reserve market
 clearing price as the incremental cost of serving the next increment of demand,
 essentially removing any cap on the number of additive Reserve Penalty Factors.233

                              ii.     Comments and Protests

        ETI, FirstEnergy, P3, Dominion, IPI, EPSA, PSEG, and Vistra support PJM’s
 proposal to increase the Reserve Penalty Factor to $2,000/MWh.234 Several commenters,
 including ETI, EPSA, and FirstEnergy, argue that PJM’s proposed changes to the
 Reserve Penalty Factor are necessary to reflect a reserve shortage accurately.235 ETI
 explains that PJM’s currently effective Reserve Penalty Factor of $850/MWh does not
 represent a resource’s opportunity cost.236 PSEG states that PJM’s proposal explicitly
 addresses the need for a rational Reserve Penalty Factor that is consistent with potential
 operator actions.237 Dominion contends that PJM’s proposal to increase the Reserve
 Penalty Factor from $850/MWh to $2,000/MWh is just and reasonable, because it will
 more accurately be aligned with the energy market offer cap and more accurately reflect
 the cost customers are willing to pay to avoid an interruption of services.238

        P3 states that PJM’s proposal to revise the Reserve Penalty Factor is necessary to
 ensure reliable operations past the MRR.239 Specifically, P3 argues that the proposed
 $2,000/MWh Reserve Penalty Factor will ensure generators receive appropriate price
 signals to supply either energy and/or reserves and follow price signals as market
 conditions change.240




       233
             Id. at 100.
       234
             See, e.g., IPI Comments at 9; PSEG Protest at 24-25; Vistra Comments at 10.
       235
             EPSA Comments at 16-17; ETI Comments at 4; FirstEnergy Comments at 3.
       236
             ETI Comments at 4.
       237
             PSEG Protest at 24-25.
       238
             Dominion Comments at 6.
       239
             P3 Comments at 9.
       240
             Id. at 9-10.
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         CEE asserts that PJM’s proposal to use a $2,000/MWh Reserve Penalty Factor for
 each reserve product and to add the penalty prices together when each product is below
 the applicable MRR is just and reasonable.241 However, CEE expresses concern that
 the additive nature of PJM’s proposal does not result in shortage prices that reflect the
 marginal value of reserves to load because it is not based on the value of lost load.242
 CEE states that the Reserve Penalty Factors for the three reserve products could be
 designed so that the sum of the Reserve Penalty Factors results in a scarcity price that
 reflects the marginal value of the reliability that the reserves cumulatively provide, so
 that the penalty regime more accurately reflects each reserve product’s incremental
 contribution to maintaining reliability (typically measured as the probability the system
 has to shed load).243 CEE also states that a technical conference or hearing could develop
 a more extensive record on the appropriate market design, including appropriate values
 for the Reserve Penalty Factors and whether the penalties should be combined together in
 the event of a shortage of two or more products.244 CEE requests that if the Commission
 does not order a technical conference or hearing, the Commission instead establish a
 cap on the maximum reserve price that is less than PJM’s theoretical maximum of
 $10,000/MWh, on top of the currently effective $2,000/MWh energy offer cap.245

        The IMM, the Maryland Commission, AEP, ODEC, and the PJM Load Coalition
 argue that PJM’s proposed Reserve Penalty Factor of $2,000/MWh is not just and
 reasonable.246 AEP states that PJM’s proposed Reserve Penalty Factor of $2,000/MWh
 is excessive and inconsistent with energy market rules.247 The Maryland Commission
 argues that PJM’s proposed new reserve market construct, which introduces layers of
 complexity to the existing market, including new reserve products, 24 new administrative
 ORDCs, and higher Reserve Penalty Factors, has not been shown to be just and
 reasonable and not unduly discriminatory.248


       241
             CEE Comments at 14-15.
       242
             Id. at 15.
       243
             Id.
       244
             Id. at 15-16.
       245
             Id. at 15.
       246
             ODEC Protest at 2.
       247
             AEP Protest at 5.
       248
             Maryland Commission Protest at 2, 10-16.
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         The IMM asserts that $2,000/MWh exceeds the cost of dispatching reserves
 efficiently. The IMM states that PJM’s arguments do not support its claim that the value
 of the Reserve Penalty Factors must be at least $2,000 per MWh.249 The IMM explains
 that the short-run marginal cost of generation rarely exceeds the current $850/MWh
 Reserve Penalty Factor. The IMM states that only under rare and foreseeable
 circumstances does PJM need to raise the value above $1,000/MWh. The IMM states
 that PJM does not deploy pre-emergency or emergency demand response prior to
 Synchronized or Primary Reserve shortages. The IMM states that PJM has not deployed
 pre-emergency or emergency demand response since April 22, 2015, even though PJM
 has experienced shortages since then. The IMM states that the maximum offer price for
 load management resources, $1,849/MWh, is not a short-run marginal cost. The IMM
 states that requiring the Reserve Penalty Factor to exceed the maximum offer price is not
 necessary for efficient dispatch. The IMM states that the maximum offer price, which is
 designed to be greater than the Reserve Penalty Factor, is an artificial price to permit
 PJM to implement a crude form of scarcity pricing.250 The IMM states that PJM should
 eliminate the maximum offer price and modify the treatment of load management in
 defining a shortage. The IMM states that the proposed $2,000/MWh Reserve Penalty
 Factor is an overstated value for the highest marginal cost resource on the system. The
 IMM states that a $2,000/MWh Reserve Penalty Factor would impose unnecessary costs
 on customers, which is not just and reasonable.251

        ODEC asserts that PJM has not supported its Reserve Penalty Factor as just and
 reasonable. ODEC supports the policy that the Reserve Penalty Factor should permit
 reserve market clearing prices to reflect incremental costs of reserve resources in shortage
 or near-shortage conditions.252 ODEC asserts that PJM has presented no evidence
 regarding the number of times false positives were triggered with the existing Reserve
 Penalty Factor, or any realistic view of the likelihood of a false positive with the
 $2,000/MWh energy offer cap, aside from its admission that it is not likely to occur.253
 ODEC argues that PJM has not provided any analysis to demonstrate the probability of
 an economic shortage to support why PJM should abandon its “compromise position” of
 an $850/MWh Reserve Penalty Factor.254 ODEC states that the significant increase in the

        249
              IMM Protest at 32 (citing PJM Transmittal at 48).
        250
              Id. at 33 (citing Operating Agreement, Schedule 1, § 1.10.1A).
        251
              Id.
        252
              ODEC Protest at 7.
        253
              Id. at 8-9.
        254
              Id. at 9.
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 Reserve Penalty Factor to over two times the current level, if adopted by the
 Commission, could expose customers to paying greatly increased prices for reserves
 in a significant number of hours. ODEC characterizes this outcome as too great of
 an impact to impose upon load on the basis of PJM’s hypothetical, and admittedly
 unlikely, scenarios.255

        ODEC states that if the Commission is inclined to adopt PJM’s ORDC approach,
 then PJM must modify its proposed Reserve Penalty Factor to one which will not result
 in unreasonably high reserve prices and is supported by more than hypothetical scenarios
 which PJM acknowledges are unlikely to occur.256 ODEC urges the Commission not to
 accept PJM’s “race-to-the-top” Reserve Penalty Factor.257 ODEC argues that by PJM’s
 own admission in the Affidavit of Adam Keech (Keech Affidavit), it is an unlikely
 scenario that PJM’s system operators would take actions to maintain reserves that can
 have an incremental offer that reaches the $2,000/MWh offer cap.258 ODEC suggests an
 alternative is for PJM to cap the Reserve Penalty Factor at the highest generation offer
 rate permitted in the day-ahead market, which in most instances will be $1,000/MWh.259
 ODEC adds that if there is an ex ante verified, cost-based offer in excess of $1,000/MWh,
 the Reserve Penalty Factor could be increased for the specific delivery day.260 ODEC
 concludes that a Reserve Penalty Factor capped at the highest generation offer rate
 permitted in the day-ahead market should provide the additional benefits cited in the
 Keech Affidavit: simplicity, transparency, and removal of potential skewing from poor
 estimation of the marginal cost of energy.261




       255
             Id.
       256
             Id. at 7.
       257
             Id. at 8.
       258
             Id. (citing Keech Aff. ¶ 10).
       259
             Id. at 9.
       260
             Id.
       261
             Id. at 9-10 (citing Keech Aff.; PJM Tariff, Attachment D, § 10).
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        ODEC further states that it has conducted a review of PJM’s proposed Reserve
 Penalty Factors and has concluded that the use of a Reserve Penalty Factor in setting the
 demand curve for reserves will overstate the benefits of additional reserves, resulting in
 unjustifiably higher costs to consumers.262

        The PJM Load Coalition claims that a theoretical maximum energy and reserve
 price of $12,000/MWh is well in excess of the theoretical maximums in other FERC-
 jurisdictional RTO/ISO markets.263 The PJM Load Coalition claims that MISO does
 not allow any of its operating reserve products or the market price for energy to
 exceed $3,500/MWh, its estimate of the value of lost load.264 The PJM Load Coalition
 also claims Southwest Power Pool (SPP) limits its cumulative scarcity pricing to
 $1,700/MWh.265 Finally, the PJM Load Coalition claims PJM recently presented
 analysis indicating that CAISO, the NYISO, and ISO-NE limit their cumulative scarcity
 pricing to levels below $3,500/MWh.266

        Several protesters suggest alternative proposals for constructing Reserve Penalty
 Factor levels and the associated additive capping. ODEC asserts that the Reserve Penalty
 Factor should be capped at the highest generation offer rate permitted in PJM’s day-
 ahead market and that PJM should establish a $4,000/MWh cap on the total price for
 energy.267 ODEC asserts that PJM has not demonstrated that its nested approach to
 reserve product modeling is just and reasonable, where the conceptual basis is that the
 reserve market clearing prices are the sum of the marginal prices associated with serving
 the next increment of demand for each reserve product.268 ODEC argues that reserve
 costs reaching $12,000/MWh and energy prices (absent marginal losses and congestion)

        262
              Id. at 5.
        263
              PJM Load Coalition Protest at 53 (citing Al-Jabir Aff. ¶ 16).
        264
              Id.
        265
              Id.
        266
          PJM Load Coalition Protest at 53-54 (citing Al-Jabir Aff. ¶ 16; PJM
 Interconnection, L.L.C., Price Formation Education 4: Shortage Pricing and Operative
 Reserve Demand Curve, at 67 (Jan. 17, 2018), https://www.pjm.com/~/media/
 committees-groups/stakeholdermeetings/price-formation/20180117-pm/20180117-price-
 formation-education-4.ashx).
        267
            ODEC Protest at 2, 12 (noting that a $4,000/MWh cap on energy prices is close
 to the $3,700/MWh maximum energy price under the existing market rules).
        268
              Id. at 11.
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 reaching $14,000/MWh are not just and reasonable in an RTO/ISO with a formal
 capacity construct.269

         The PJM Load Coalition argues that market clearing prices of $2,000/MWh in the
 PJM energy market will rarely (if ever) occur, explaining that LMPs in PJM rarely reach
 price levels in excess of $1,000/MWh.270 To support its claim, the PJM Load Coalition
 presents an analysis of day-ahead and real-time LMPs from 2014 to 2018 at four pricing
 points: PJM-RTO, Western Hub, Eastern Hub, and the Northern Illinois Hub.271 The
 PJM Load Coalition states that these LMPs never reached $2,000/MWh and never
 exceeded $1,850/MWh. According to the PJM Load Coalition, from 2015 to 2018,
 LMPs never exceeded $1,000/MWh, and LMPs over $1,000/MWh in 2014 constituted
 less than 0.1% of the pricing intervals for any given pricing point.272 The PJM Load
 Coalition argues that even if future energy prices were to reach $2,000/MWh, such prices
 would occur only for a very limited time and under extreme system conditions involving
 unusually high fuel costs.273

         The PJM Load Coalition also states that the Commission could consider raising
 the Reserve Penalty Factor to $1,000/MWh and imposing a cap of $3,500/MWh on the
 cumulative application of the Reserve Penalty Factor.274 The PJM Load Coalition argues
 that a $1,000/MWh Reserve Penalty Factor is consistent with the actual PJM energy
 market price cap that applies in most time intervals and in most realistic situations.
 Therefore, the PJM Load Coalition contends, a $1,000/MWh Reserve Penalty Factor
 would reflect the highest opportunity cost that resources providing reserves in the PJM
 market would realistically face.275 The PJM Load Coalition adds that the $3,500/MWh
 cumulative cap would be roughly equivalent to MISO’s practice.276



       269
             Id. at 11-12.
       270
             PJM Load Coalition Protest at 51 (citing Al-Jabir Aff. ¶ 15).
       271
             Id. (citing Al-Jabir Aff. ¶ 15, tbl.1).
       272
             Id. at 52 (citing Al-Jabir Aff. ¶ 15, tbl.1).
       273
             Id.
       274
             Id. at 65.
       275
             Id. (citing Al-Jabir Aff. ¶ 20).
       276
             Id. at 65-66.
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        Similarly, AEP asserts that PJM’s additive approach to reserve pricing results in a
 price signal that is not reasonable or justified based on reliability needs and far exceeds
 the current capacity non-performance assessment of approximately $3,500/MWh that a
 capacity resource in PJM is subject to if it fails to respond to PJM’s dispatch signal
 during a Capacity Performance event.277

                                  iii.   Answers

        PJM notes that many parties opposing the proposed $2,000/MWh Reserve Penalty
 Factor nevertheless support increasing the Reserve Penalty Factor.278 PJM also points
 out that protesters contend that because energy prices do not often exceed $1,000/MWh,
 the Reserve Penalty Factor should not be set at $2,000/MWh.279 PJM asserts that these
 arguments miss the point because, even if unlikely, resources can face an opportunity
 cost up to $2,000/MWh or higher, and operators will take actions in this price range to
 maintain reserve requirements.280

         PJM states that the marginal cost of producing energy is not the only determinant
 of the lost opportunity cost a resource incurs by providing reserves instead of energy.
 PJM explains that opportunity cost is a function of the difference between LMP and a
 resource’s energy market offer. PJM notes that LMP is the sum of the short-run marginal
 cost of the resource that can serve the next load increment, the marginal transmission
 line losses, and the cost of transmission congestion.281 PJM states that although energy
 market offers are almost always below $1,000/MWh, LMPs, and therefore opportunity
 costs, can rise above $1,000/MWh because of congestion (and to a much lesser extent
 transmission losses). Thus, PJM argues that the Reserve Penalty Factor should be based
 not only on the energy market offer cap, but also on opportunity costs that can be
 created when LMPs rise.282 PJM states that a review of all the LMPs and energy and
 Synchronized Reserve offers from January 1, 2014, through April 30, 2019, shows that
 opportunity costs, which constitute the bulk of the offers used in forming the

        277
              AEP Protest at 6.
        278
           PJM Answer at 50 (citing IMM Protest at 65; AEP Protest at 5; ODEC Protest
 at 7-10; PJM Load Coalition Protest at 68).
        279
              Id. (citing Maryland Commission Protest at 8; PJM Load Coalition Protest at
 50-52).
        280
              Id. (citing Keech Initial Aff. ¶ 10).
        281
              Id. at 50-51.
        282
              Id. at 51.
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 Synchronized Reserve supply stack, exceeded $1,000/MWh on 3.6% of the days (70 of
 1947 days).283 PJM adds that such days have become more frequent since PJM began
 allowing transmission constraint penalty factors of up to $2,000/MWh to set the shadow
 price of a constraint and therefore impact congestion prices.284 PJM states that only in a
 small portion of the intervals with opportunity costs in excess of $1,000/MWh was the
 PJM system experiencing a reserve shortage—meaning that only in a handful of intervals
 were the $300/MWh or $850/MWh Reserve Penalty Factors affecting LMPs and
 therefore the opportunity costs. PJM claims opportunity costs exceeded $2,000/MWh in
 eight percent of these intervals, demonstrating that, while infrequent, resources could face
 opportunity costs of $2,000/MWh or greater when providing reserves over energy.285

         In response to the PJM Load Coalition’s contention that an energy price level
 cannot constitute a legitimate opportunity cost if that price level is rarely available to
 that resource, PJM states that the likely infrequency of being in a reserve shortage while
 overall opportunity costs are at or near $2,000/MWh does not make accounting for such
 a possibility unjust and unreasonable. To the contrary, PJM argues that planning for
 such events is appropriate to help ensure that: “(1) PJM’s energy and reserve market
 prices accurately reflect the cost of meeting the system’s energy and reserve needs . . .;
 and (2) PJM’s clearing algorithms select the least-cost solution.”286 PJM reiterates that
 if the Reserve Penalty Factor is set too low, resources available to prevent or resolve a
 shortage may not receive a reserve assignment if their opportunity cost is greater than
 the Reserve Penalty Factor. Moreover, PJM adds, these resources receive out-of-market
 uplift payments, and the clearing price signals a shortage even though resources were
 available.287

        PJM argues that protesters opposing the removal of the reserves price cap do not
 challenge the concept of adding Reserve Penalty Factors and the energy price; instead,
 they contend that a price of $12,000/MWh is per se too high.288 PJM reiterates that
 allowing prices to rise to reflect the independent value of each reserve shortage is just and

        283
              Id.
        284
          Id. at 51-52 (citing PJM Interconnection, L.L.C., 166 FERC ¶ 61,015, at PP 7,
 24 (2019)).
        285
              Id. at 50-52.
        286
              Id. at 52.
        287
              Id. at 52-53 (citing PJM Load Coalition Protest at 50).
        288
        Id. at 53-54 (citing PJM Load Coalition Protest at 53-54; IMM Protest at 31;
 ODEC Protest at 11-12).
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 reasonable.289 Further, PJM contends that its proposal is consistent with the
 Commission’s price formation objective of clearing prices that reflect the cost of
 serving load.290 PJM reiterates that a $12,000/MWh price would signal extreme
 conditions and approximate the value of lost load. PJM argues that such prices
 would incent new or modified generation resources (or demand response resources)
 flexible enough to capture such prices.291

        Vistra asserts that PJM’s revised $2,000/MWh Reserve Penalty Factor
 appropriately takes account of the revenues a seller foregoes by committing to provide
 reserves, rather than sell energy, during shortage or near-shortage conditions.292 Vistra
 agrees with PJM that the $2,000/MWh Reserve Penalty Factor is consistent with the
 actions that system operators will take to maintain reserves and allows those actions
 to be reflected in market clearing prices.293 Vistra acknowledges arguments made
 during stakeholder discussions about setting the maximum price at $1,000/MWh during
 “normal” conditions, but argues that it is better to recognize the potential for offers
 greater than $1,000/MWh during cold weather and the fact that PJM may take out-of-
 market actions that cost more than $1,000/MWh in establishing the maximum price for
 the ORDC.294 Vistra concludes that the revised $2,000/MWh Reserve Penalty Factor
 appropriately accounts for the revenues a seller forgoes by committing to provide
 reserves, rather than to sell energy, during shortage or near-shortage conditions.295

        PSEG contends that the proposed ORDCs are appropriately anchored at the
 proposed $2,000/MWh Reserve Penalty Factor, because the current PJM Tariff allows
 operators to take actions costing up to around $2,000/MWh to avoid load shedding.296

        289
              Id. at 54 (citing Hogan & Pope Reply Aff., Attach. A, Ex. 1 at 8).
        290
           Id. at 54 (citing PJM Interconnection, L.L.C., 167 FERC ¶ 61,058, at P 35
 (2019) (“We continue to find that fast-start pricing in PJM, with the reforms directed
 herein, will result in prices that more accurately reflect the marginal cost of serving
 load.”)).
        291
              PJM Answer at 54-55.
        292
              Vistra Answer at 12 (citing PJM Transmittal at 48-53).
        293
              Id.
        294
              Id. at 13.
        295
              Id.
        296
              PSEG Answer at 7-8.
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 PSEG also responds to the Reserve Penalty Factor component of the IMM’s alternate
 proposal. PSEG claims that applying the lower $300/MWh Reserve Penalty Factor to
 the IMM’s proposal would increase LMPs by approximately $8.50/MWh, an amount
 that is many times greater than the impacts indicated by any of the simulations of PJM’s
 proposal.297 PSEG warns that the cost impacts of the IMM’s proposal would be even
 higher if PJM’s proposed Reserve Penalty Factor of $2,000/MWh were applied to an
 ORDC resembling the IMM’s alternate proposal.298

          P3 disagrees with the IMM and the PJM Load Coalition’s argument that the
 Reserve Penalty Factor should be set at $1,000/MWh instead of PJM’s proposed
 $2,000/MWh.299 P3 argues that a $2,000/MWh Reserve Penalty Factor is appropriate
 because there is a link between the level that prices could reach in the energy market and
 the prices that should be assigned to a reserve shortage.300 P3 contends that, although
 it is rare for PJM prices to rise above $1,000/MWh, they have done so under conditions
 of grid stress, and it is precisely at these moments of grid stress that reserve prices have
 to be allowed to reflect the market price of those services.301

         The IMM asserts that a Reserve Penalty Factor less than $2,000/MWh is
 consistent with reliable grid operations.302 The IMM offers several examples. The
 IMM explains that MISO’s Market-Wide ORDC is a step function with the lowest price
 level at $200/MW for reserves shortages that are less than four percent of the reserve
 requirement, and higher prices as the shortage MW increase.303 The IMM adds that
 MISO does not reach its maximum shortage price until reserves decline to four percent
 of the requirement and notes that SPP employs a similar shortage pricing scheme.304




        297
              Id. at 9.
        298
              Id.
        299
              P3 Answer at 9 (citing IMM Protest at 65; PJM Load Coalition Protest at 65).
        300
              Id.
        301
              Id.
        302
              IMM Second Answer at 14.
        303
              Id. at 15 (citation omitted).
        304
              Id. (citations omitted).
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         The IMM also reiterates the position that the highest Reserve Penalty Factor
 need not exceed the highest generator offer.305 The IMM refutes PJM’s argument that
 congestion costs raise the cost of maintaining reserves, because, the IMM asserts, a
 resource relieving a constraint faces a higher LMP than other resources. The IMM
 asserts that PJM’s logic is flawed because the congestion component of LMP allows
 for the economic dispatch of the market to reliably avoid the violation of transmission
 constraints.306 The IMM adds that the congestion component of LMP works together
 with the jointly optimized reserve market price to allocate reserves to resources that are
 not needed for the relief of transmission constraints.307

                              iv.    Commission Determination

        We adopt as part of the just and reasonable replacement rate PJM’s proposal to
 establish a Reserve Penalty Factor of $2,000/MWh for all reserve products. PJM’s
 markets are designed such that the Reserve Penalty Factor is intended to be the key
 mechanism for setting and signaling shortage pricing in the PJM region. We agree with
 PJM and commenters that because generation resources can submit verified cost-based
 incremental energy offers up to $2,000/MWh, resources capable of providing reserves
 will more frequently face opportunity costs as high as $2,000/MWh. It is therefore
 appropriate that the Reserve Penalty Factor be revised to allow PJM to procure reserves
 from resources with such an opportunity cost, and that this action is captured in the
 market price. We also agree with PJM that setting the Reserve Penalty Factor at
 $2,000/MWh will allow emergency and pre-emergency demand response, which may
 submit offers up to $1,849/MWh to reduce demand with a 30-minute lead time, to set
 the clearing price for any reserve product.

        We disagree with the assertion of CEE that PJM’s proposal to use a $2,000/MWh
 Reserve Penalty Factor for each reserve product is unjust and unreasonable because
 PJM’s ORDCs are not based on the value of lost load.308 PJM presents a rational
 alternative to value-of-lost-load-based ORDCs that conforms to PJM’s objective of
 maintaining its MRRs—which in the case of Primary Reserves is directly linked to
 PJM’s responsibility to meet the NERC standard for recovery from the single largest
 contingency. Given this use of the MRR as, in PJM’s words, the “security minimum,”309

        305
              Id. at 18.
        306
              Id.
        307
              Id.
        308
              CEE Comments at 15.
        309
              PJM Transmittal, Keech Aff. ¶¶ 14-16.
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 it is rational to tie a violation of that minimum to PJM’s willingness to pay to avoid such
 a violation. Having found $2,000/MWh to be a reasonable willingness to pay for the
 reasons stated above, we see no contradiction between the use of ORDCs that are not
 based on the value of lost load and a $2,000/MWh Reserve Penalty Factor. We therefore
 reject CEE’s argument that the Reserve Penalty Factors for the three reserve products
 should be designed such that the sum of the Reserve Penalty Factors results in a shortage
 price that reflects the marginal value of the reliability that each provider of reserves
 contributes to the PJM system.

        We similarly disagree with AEP that PJM’s proposed Reserve Penalty Factor of
 $2,000/MWh is excessive and inconsistent with energy market rules. For the reasons
 discussed above, we instead agree with PJM that it is appropriate to align the Reserve
 Penalty Factor with the currently effective energy offer cap in order to improve the
 likelihood that market prices reflect the marginal cost of providing reserves and thus
 send appropriate price signals to Market Sellers.

         The IMM argues that PJM should eliminate the load management strike price and
 modify its proposed treatment of load management in defining a shortage. The IMM
 contends that PJM does not deploy pre-emergency or emergency demand response prior
 to a Primary or Synchronized Reserve Event.310 We dismiss these arguments as beyond
 the scope of this proceeding as they seek to amend rules associated with the pricing of
 pre-emergency and emergency demand response.

          We find just and reasonable PJM’s proposal to remove the cap on reserve and
 energy prices when the PJM system experiences multiple reserve shortages. We note that
 PJM’s proposal to allow Reserve Penalty Factors to stack could result in reserve prices as
 high as $10,000/MWh.311 Given that this maximum price would result only from the
 simultaneous occurrence of multiple product and locational shortages, we agree with PJM
 that it is reasonable for PJM’s reserve pricing framework to recognize the independent
 value of avoiding each such shortage. We therefore decline to require PJM to modify its
 proposal with respect to reserve market price additivity, as requested by the PJM Load
 Coalition.312 We similarly decline to grant ODEC’s request that the Commission require
 PJM to establish a $4,000/MWh cap on the total price for energy and the PJM Load




        310
              IMM Protest at 32.
        311
          This figure could theoretically reach $12,000/MWh if PJM models a 30-minute
 Reserve Requirement in a Reserve Sub-Zone.
        312
              PJM Load Coalition Protest at 53 (citing Al-Jabir Aff. ¶ 16).
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 Coalition’s request that the Commission impose a $3,500/MWh cap on the cumulative
 application of the Reserve Penalty Factors.313

         Finally, we find that PJM’s proposed Reserve Penalty Factor revisions are the
 best solution to address the identified shortcomings in PJM’s reserve market design.
 Therefore, we decline to adopt alternative proposals, such as those put forth by ODEC
 and the PJM Load Coalition to cap the Reserve Penalty Factor at the highest generation
 offer rate permitted in the day-ahead market,314 and by the Ohio Commission to only
 allow the Reserve Penalty Factor to increase to the proposed $2,000/MWh on days and
 hours when PJM has declared Tariff emergency procedures.315

                          c.     ORDC - Reserves Beyond the MRR

                                 i.    PJM’s Proposal

         In order to address some of the shortcomings of its reserve market design, PJM
 proposes to replace the current Step 2 (both parts 2A and 2B) of its ORDCs with a
 downward-sloping demand curve to cover the uncertainty of meeting the MRR. PJM
 proposes to define the shape of its ORDCs beyond the MRR based on the likelihood
 that real-time conditions could negate or exhaust reserves of that quantity, resulting in
 a shortage below the MRR.316 PJM states that formulating the shape of the ORDCs
 beyond the MRR in this way will address operational uncertainties and shift the burden of
 addressing system balance and reserve uncertainties from the operators to the market.317

         PJM proposes to formulaically define the price at any given point on the ORDCs
 to the right of the MRR as the product of (1) the probability of falling below the MRR in
 real time despite procuring a quantity of reserves corresponding to that point multiplied
 by (2) the $2,000/MWh Reserve Penalty Factor.318 PJM explains that, because the risk of

       313
             Id. at 65.
       314
             ODEC Protest at 9.
       315
             Ohio Commission Protest at 9.
       316
             PJM Transmittal at 53.
       317
             Id. at 53-55.
       318
            For example, if the MRR is 1,400 MW and PJM is currently carrying
 1,700 MW of reserves, then PJM would have 300 MW of reserves in excess of the
 MRR. However, based on forecast uncertainty, there is a non-zero probability that
 the net forecast error exceeds 300 MW between when PJM commits the 1,700 MW
 of reserves and 30 minutes from that time (the time for which those reserves were
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 falling below the MRR diminishes as reserve levels increase beyond the MRR, this
 formulation results in an ORDC that gradually slopes down and to the right.319 PJM
 contends that reformulating the ORDCs as it proposes will resolve the price suppression
 and uplift concerns that make the current ORDCs unjust and unreasonable, and help to
 reduce the need for PJM operators to take actions based on their notions of real-time
 market uncertainties.320

        PJM states that quantifying the uncertainties underlying the probability of falling
 below the MRR presents several questions: (1) what the main sources of the relevant
 uncertainty are; (2) what factors reliably and predictably reduce those uncertainties;
 (3) what the appropriate “look-ahead” period is, i.e., the time between the forecast and
 the actual occurrence of the conditions addressed by the forecast; (4) what span of
 historic data should be considered to measure the observed error; (5) what periods
 within the year should be assessed to recognize patterns of variation in forecast error;
 and (6) how the uncertainty reflected in the overall net error should be incorporated
 into the ORDC.

         PJM explains that the main sources of the uncertainties relevant to the probability
 of falling below the MRR are load forecast error, interchange forecast error, intermittent
 generation forecast error, and generator forced outages.321 PJM proposes to use historical
 data to derive the probabilistic distributions of these errors. PJM explains that it will then
 use those distributions to estimate the probability that these errors are greater than a given
 value of reserves above the MRR.322




 procured). PJM states that this probability, multiplied by the $2,000/MWh Reserve
 Penalty Factor, determines the maximum incremental cost that the system is willing to
 incur to maintain that level of reserves. Id. at 55-56.
        319
              Id. at 55.
        320
              Id.
        321
              Id. at 57-58.
        322
            Id. at 58 (citing Rocha Garrido Aff. ¶¶ 11, 15). PJM proposes to estimate
 uncertainties using historical data from the most recent three full calendar years. PJM
 contends that the choice of three years strikes a balance between reducing the impact that
 a single year may have on the probabilistic distribution and removing old data that may
 not reflect the most up-to-date status of PJM forecasting models. Id. at 60-61.
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         In addition to MRRs, PJM explains that it also has regulation requirements, which
 is a defined MW amount that PJM must procure in ramp hours and non-ramp hours.323
 PJM explains that the regulation requirement can help reliably and predictably reduce the
 probability that the system will fall short of the MRR in real-time.324 PJM explains that
 the current regulation requirement is 800 MW during ramp hours and 525 MW during
 non-ramp hours, and that resources procured to meet the regulation requirement directly
 reduce the likelihood of falling short of the MRR at the end of the look-ahead time
 period.325 Thus, PJM proposes to include the regulation requirement as an uncertainty-
 mitigating factor in its calculation of the probability of falling below the MRR.326

         PJM’s proposal utilizes look-ahead time periods to define how PJM will measure
 the uncertainty for purposes of constructing the ORDCs by comparing the forecast at
 the start of the look-ahead time period to the forecast at the end of the look-ahead time
 period. PJM contends that 30 minutes is a reasonable look-ahead period for the
 Synchronized and Primary Reserve Requirement and that 60 minutes is a reasonable
 look-ahead period for the 30-minute Reserve Requirement.327 PJM explains that, for
 Synchronized Reserve and Primary Reserve, 30 minutes is appropriate to account for the
 total time elapsed between the reserve assignment in the RT SCED case solution and the
 end of the period in which the procured reserves are expected to respond, which is at
 least 20 minutes.328 Similarly, for 30-minute Reserve, PJM explains that 60 minutes is
 appropriate to account for the total time elapsed between the RT SCED case solution and
 the end of the period in which the procured reserves are expected to respond, which is at
 least 40 minutes.329


       323
          Id. at 58. PJM procures these MW amounts for regulation to help maintain
 Area Control Error.
       324
             Id.
       325
             Id.
       326
             Id.
       327
             Id. at 59-60.
       328
             Id. at 59.
       329
            Id. at 59-60. PJM proposes to add an additional 10 minutes to the look-ahead
 period for the Synchronized and Primary Reserve Requirement and 20 minutes to the
 look-ahead period for the 30-minute Reserve Requirement to capture deviations from
 when the RT SCED case is run and to capture the value of reserves in subsequent
 intervals. Id. at 60.
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        In order to account for variation in uncertainties and forecast errors both by season
 and time of day, PJM proposes to measure uncertainty within six four-hour, time-of-day
 blocks across the four seasons of the year, resulting in 24 discrete time periods with
 separate probability distributions.330 PJM states that the choice of 24 probability
 distributions results in 24 different ORDCs.331

        PJM proposes to utilize probabilistic ORDCs for each of its three reserve
 requirements, i.e., Synchronized Reserve, Primary Reserve, and 30-minute Reserve.332
 Furthermore, PJM states that it will use zonal ORDCs to reflect its zonal reserve
 requirements, as it does currently with its stepped ORDCs.333 PJM states that it will
 update the calculations of its ORDCs annually to account for the most recent calendar
 year’s data, and post the revised ORDCs by the first of April each year.334

                                ii.   Comments and Protests

         API, Calpine and LS Power, CEE, Direct Energy, Dominion, Duke, EPSA, ETI,
 Exelon, FirstEnergy, IPI, NEI, P3, PSEG, R Street, and Vistra generally support PJM’s
 proposal to implement downward-sloping ORDCs to procure reserves beyond the
 MRR.335 These parties generally support PJM’s proposed ORDCs because they will
 better reflect operational uncertainty in market prices, reduce the need for out-of-market
 operator actions, provide incentives for flexible resources, and/or reduce the relative




        330
              Id. at 61.
        331
           Id. PJM contends that the choice of 24 probabilistic distributions strikes a
 balance between quantifying uncertainty during specific periods and avoiding a
 large number of ORDCs that cause market outcomes to change too frequently. Id.
        332
              Id. at 66.
        333
              Id. at 66-67.
        334
              Id. at 68.
        335
            API Comments at 3; Calpine and LS Power Comments at 2-8; CEE Comments
 at 1-3; Direct Energy Comments at 1; Dominion Comments at 6-8; Duke Comments
 at 1-4; EPSA Comments at 16; ETI Comments at 5-6; Exelon Comments at 24-26;
 FirstEnergy Comments at 2-3; IPI Comments at 10-13; NEI Comments at 9-10; P3
 Comments at 7-14; PSEG Protest at 22-25; R Street Comments at 2-3; Vistra Comments
 at 6-9.
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 importance of the capacity market for cost recovery.336 However, several of these parties
 raise concerns with specific elements of PJM’s proposal, as summarized below.

         Direct Energy requests that the Commission condition its approval of PJM’s
 proposed replacement rate on a requirement that PJM submit annual reports to the
 Commission evaluating the effect of its proposal.337 Furthermore, Direct Energy requests
 that the Commission condition its approval on PJM demonstrating that its proposed
 ORDCs will not value reserves in excess of the MRR above $0.00/MWh during a
 minimum generation event, when PJM is required to take resources offline.338 Finally,
 Direct Energy requests that the Commission allow at least six months between its
 determination of the replacement rate and the replacement rate’s effective date.339

        Exelon asks that the Commission require PJM to expand its Operator-Initiated
 Commitment Report,340 posted monthly in compliance with Order No. 844, to include
 data on load biasing consistent with the data in the Affidavit of Christopher Pilong
 (Pilong Affidavit).341 To support its request, Exelon notes that the “Commission required
 PJM and other RTOs/ISOs to post the Operator-Initiated Commitment Report to provide

        336
              See, e.g., Exelon Comments at 24-26; IPI Comments at 9-14; CEE Comments
 at 10-13.
        337
              Direct Energy Comments at 4-6.
        338
           Id. at 8-10. A Minimum Generation Emergency is defined as “an Emergency
 declared by the Office of the Interconnection in which the Office of the Interconnection
 anticipates requesting one or more generating resources to operate at or below Normal
 Minimum Generation, in order to manage, alleviate, or end the Emergency.” See PJM
 Tariff, Definitions L – M – N.
        339
              Direct Energy Comments at 6-8.
        340
           Exelon Comments at 32. Exelon explains that the Operator-Initiated
 Commitment Report provides granular information regarding the location, timing,
 causes, and sizes of operator-initiated commitments. Id. at 32 n.63 (citing Uplift Cost
 Allocation and Transparency in Mkts. Operated by Reg’l Transmission Orgs. & Indep.
 Sys. Operators, Order No. 844, 163 FERC ¶ 61,041, at P 99 (2018)). Exelon also notes
 that in Order No. 844, the Commission declined to adopt commenter suggestions to
 include load biasing in the Operator-Initiated Commitment Report, concluding that it
 would be outside the scope of that proceeding. Id. at 32-33.
        341
            Id. at 32. Exelon states that alternatively, the Commission could require PJM
 to disclose load biasing data in a separate report posted commensurate with the Operator-
 Initiated Commitment Report. Id. at 32 n.64.
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 ‘transparency into operator-initiated commitments . . . because such commitments can
 affect energy and ancillary service prices and can result in uplift.’”342 Because PJM
 demonstrates that load biasing is affecting prices and resulting in uplift, Exelon argues,
 the Commission likewise should require PJM to disclose information regarding load
 biasing. Exelon states that PJM also should report all other out-of-market actions that
 increase supply (or decrease load).343 Exelon states that this reporting requirement
 would help ensure that PJM’s Reserve Market Proposal achieves its primary purpose.344

        FirstEnergy critiques several assumptions made in PJM’s simulation of the
 potential impact that its proposal may have on LMP, asserting that PJM modeled certain
 dispatch and operator actions that are not likely to occur in a real-time situation and,
 therefore, overstate the impact of the Reserve Market Proposal. FirstEnergy explains
 that PJM provided a report to stakeholders in November 2017 that suggested potential
 increases of $3.50/MWh in LMP, which greatly exceeds the $0.46/MWh increase in
 LMP projected in PJM’s filing.345 FirstEnergy states that it regrets that the proposal
 “has been so significantly watered down” and will not be sufficient to bolster resources
 currently at risk of retirement.346

        IPI requests the Commission order an interim review of the rules that establish
 the ORDC design parameters if it decides to adopt PJM’s proposal.347 IPI suggests an
 interim review to evaluate whether PJM’s computations of the uncertainties and the
 associated incremental value of reserves based on historical data are correct, or whether
 a forward-oriented approach is needed for determining the shape of the ORDC.348 IPI




        342
              Id. at 32 (quoting Order No. 844, 163 FERC ¶ 61,041 at P 99).
        343
              Id.
        344
              Id. at 33.
        345
           FirstEnergy Comments at 3-4. (citing PJM Interconnection, L.L.C., Proposed
 Enhancements to Energy Price Formation, 50 (Nov. 15, 2017), https://pjm.com/-
 /media/library/reports-notices/special-reports/20171115-proposed-enhancements-to-
 energy-price-formation.ashx?la=en).
        346
              Id. at 4.
        347
              IPI Comments at 11.
        348
              Id.
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 suggests a forward-looking approach might be warranted given the quick changes in the
 composition of generation resource types.349

         PSEG argues that three additional reforms are needed to more fully realize the
 welfare maximization goal of the PJM reserve market.350 First, PSEG contends that the
 Reserve Market Proposal shifts the ORDCs to the left by the amount of system regulation
 online based on a patently unreasonable assumption that cannot be supported.351 PSEG
 recommends that the regulation shift in the ORDCs either be eliminated entirely or
 retained only for the 10-minute Reserve product based on the empirical level of
 regulation up historically available within a 30-minute uncertainty window.352 Second,
 PSEG argues that the Reserve Market Proposal fails to address the need for PJM
 operators to respond to emergent reliability concerns.353 Specifically, PSEG recommends
 that the Commission direct PJM to modify its proposal to increase the reserves
 requirement or shift the ORDCs to reflect all operator actions taken after the execution of
 the day-ahead market, including additional reserves associated with occurrences such as
 Conservative Operation or Hot/Cold Weather Alerts.354 Third, PSEG contends that PJM
 must adopt measures to ensure that the ORDCs are properly updated as data becomes
 available and regularly evaluated to assure they neither overstate nor understate
 uncertainties.355 PSEG argues that greater granularity than PJM’s proposal to use three
 years of historic data is required, and that the Commission should direct PJM to include
 specific timing and criteria associated with periodic reviews of the ORDCs.356

        R Street warns that there is a risk that PJM’s ORDCs will not actually reflect
 operational reality, and therefore requests that the Commission require PJM and the
 IMM to report on whether out-of-market actions by operators diminish as a result of
 the market-based procurement of operating reserves.357 R Street further suggests

        349
              Id.
        350
              PSEG Protest at 25-31.
        351
              Id. at 26-28 (citing Keech Aff. ¶ 12).
        352
              Id. at 28.
        353
              Id.
        354
              Id. at 29 (citing Shanker Aff. ¶ 110).
        355
              Id. at 31.
        356
              Id.
        357
              R Street Comments at 3.
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 that the Commission require periodic re-evaluation of the appropriateness of the slopes
 of the ORDCs.358

         AEP, CEA, the IMM, the Maryland Commission, ODEC, the Ohio Commission,
 OPSI, and the PJM Load Coalition oppose PJM’s proposed downward-sloping
 ORDCs.359 In general, parties opposing PJM’s proposed ORDCs argue that:
 (1) the ORDCs overstate the value of reserves and conflict with reserve levels and
 shortage probabilities observed in PJM;360 (2) the ORDCs fail to incentivize flexible
 resources as PJM claims;361 (3) the formulas and assumptions used to construct the
 ORDCs are incorrect and should be resolved before implementing a replacement
 rate;362 and (4) the ORDCs would significantly increase energy and reserve prices,
 and are unjust and unreasonable absent a mechanism to prevent over-recovery of costs
 in the capacity market.363 However, several opposing parties voice general support for
 efforts to value flexibility,364 the concept of a downward-sloping ORDC,365 and lesser
 reliance on the capacity market for cost recovery.366

        Parties protesting the shape of PJM’s proposed ORDCs argue that they overstate
 the value of reserves beyond the MRR. AEP states that PJM projects it will regularly
 procure between 3,000 MW and 4,000 MW above the MRR for Synchronized Reserves,

       358
             Id.
       359
          AEP Protest at 2-6; CEA Protest at 1-3; IMM Protest at 22-51; Maryland
 Commission Protest at 10-16; ODEC Protest at 3-7; Ohio Commission Protest at 7-10;
 OPSI Protest at 2-9; PJM Load Coalition Protest at 38-43.
       360
           See, e.g., AEP Protest at 5; Ohio Commission Protest at 8-9; PJM Load
 Coalition Protest at 38-40; IMM Protest at 43-47; ODEC Protest at 3-7.
       361
             See, e.g., IMM Protest at 47-49.
       362
            See, e.g., ODEC Protest at 10-11; PJM Load Coalition Protest at 40-43; IMM
 Protest at 33-43.
       363
           See, e.g., CEA Protest at 7-17; Maryland Commission Protest at 12-15; Ohio
 Commission Protest at 3-6; ODEC Protest at 12-13; OPSI Protest at 3-28; PJM Load
 Coalition Protest at 44-48; IMM Protest at 51-55. We address these protests in infra
 section IV.B.3.
       364
             CEA Protest at 2.
       365
             AEP Protest at 4; Ohio Commission Protest at 7.
       366
             CEA Protest at 1-2.
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 regardless of the season, and contends that PJM has failed to demonstrate why this much
 excess reserves is needed to maintain reliability.367 The Ohio Commission maintains that
 PJM’s “best guess” approach to developing the extended “tail” of the ORDCs does not
 meet the standard of review that should apply to a FPA section 206 filing before FERC,
 and that PJM should have allowed the stakeholder process to form a consensus before
 unilaterally filing its proposal with the Commission.368

        The IMM similarly argues that PJM’s proposed ORDCs would procure more
 reserves than operators have historically committed.369 The IMM estimates that the
 ORDCs will increase the amount of Primary Reserves carried by PJM by an average of
 1,354 MW to 1,376 MW per hour, or 56.8% to 57.7%,370 and argues that this discrepancy
 between the ORDCs and observed operator actions results from the fact that PJM
 overestimates the probability of a reserve shortage. 371 The IMM states that PJM’s ORDC
 calculations find a 3.8% to 15.2% probability that a shortage will occur, depending on the
 time of day and year, at the historic average Primary Reserve level of 300 MW above the
 approximate 2,100 MW reserve requirement,372 despite the fact that PJM had zero five-
 minute market intervals of Primary Reserve shortage in 2018.373

        The PJM Load Coalition argues that the proposed ORDCs overstate risks and
 unnecessarily increase costs during periods when PJM believes more reserves are
 needed.374 The PJM Load Coalition contends that the proposed ORDCs would assign a
 positive value to acquiring reserves in excess of the current Step 2A, despite the fact that
 PJM does not regularly need reserves in excess of this level to preserve reliability.375 The

        367
              AEP Protest at 5-6.
        368
              Ohio Commission Protest at 7.
        369
              IMM Protest at 43.
        370
            Id. (referencing Attach. B, Monitoring Analytics, LLC, ORDC Simulation
 Results, at tbl.1 (ver. 2, May 10, 2019)).
        371
              Id. at 43-44.
        372
              Id. at 44 (citations omitted).
        373
          Id. (citing Monitoring Analytics, LLC, 2018 State of the Market Report for
 PJM, Vol. 2, 209 (2019)).
        374
              PJM Load Coalition Protest at 39.
        375
              Id. (citing Al-Jabir Aff. ¶ 17).
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 PJM Load Coalition claims that reserves in excess of this level are only needed during
 limited high-risk periods of operation, when PJM could utilize the current Step 2B on its
 ORDCs.376 The PJM Load Coalition argues that, because PJM has provided no evidence
 that the existing ORDCs have procured insufficient reserves, the proposed ORDCs would
 procure excess reserves and increase costs without any commensurate benefit.377

        The Maryland Commission argues that procuring reserves above the MRR adds to
 an already conservative approach to ensuring system reliability but does not necessarily
 improve reliability. The Maryland Commission states that if the Commission determines
 that a more conservative approach is needed beyond the NERC reliability requirement,
 and that a downward-sloping demand curve is appropriate, then that curve can be
 appended to the second step and the pricing curve should reflect the currently effective
 $300/MWh Reserve Penalty Factor for that step.378 The PJM Load Coalition similarly
 argues that the Commission could direct PJM to utilize Step 2B.379 The PJM Load
 Coalition notes that PJM states that it has not yet used Step 2B, but contends that by
 using it, PJM could procure additional reserves without increasing the Reserve Penalty
 Factor.380 The Ohio Commission recommends that PJM’s Reserve Penalty Factor only
 be allowed to increase to the proposed $2,000/MWh on days and hours when PJM has
 declared Tariff-defined emergency procedures, including, but not limited to, extreme
 weather events.381

        The IMM argues that PJM’s proposed ORDCs provide more benefits to inflexible
 resources than flexible resources, contrary to PJM’s claims.382 The IMM states that any
 incentive to develop flexible resources created by increased reserve revenues is more than
 offset by increases in energy revenues to inflexible resources.383 Thus, the IMM argues,

        376
              Id. at 40 (citing Al-Jabir Aff. ¶ 17).
        377
              Id. (citing Ill. Commerce Comm’n v. FERC, 576 F.3d 470, 477 (7th Cir. 2009)).
        378
              Maryland Commission Protest at 10.
        379
              PJM Load Coalition Protest at 64.
        380
              Id. at 65 (citing Al-Jabir Aff. ¶ 20).
        381
              Ohio Commission Protest at 9.
        382
              IMM Protest at 47 (citing PJM Transmittal at 70).
        383
            Id. The IMM provides simulation results showing that nuclear resources would
 receive the largest increase in energy revenues under PJM’s proposal, despite the fact that
 they are the least flexible resources in the PJM market. Id. at 48.
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 PJM’s proposal to pay higher energy revenues to all units through extended ORDCs
 would create a windfall for inflexible capacity that does not provide reserves.384

         The IMM and ODEC contest PJM’s choice of a 30-minute look-ahead period
 for the 10-minute Reserve products.385 The IMM explains that the time between when
 forecasts are input to the market software to when the forecasted load, generation, and
 reserves are realized is 10 to 14 minutes.386 Thus, the IMM contends, it is appropriate
 to use a 15-minute look-ahead period to calculate forecast uncertainty, and a 30-minute
 look-ahead period is incorrect, unjust, and unreasonable.387 The IMM provides
 simulation results demonstrating that cleared Synchronized Reserves would be 9.5%
 lower and reserve revenues would be 32.8% lower using a 15-minute look-ahead rather
 than a 30-minute look-ahead to calculate the Synchronized and Primary Reserve
 ORDCs.388 ODEC contends that PJM dispatchers are presented with an RT SCED
 solution 10 minutes prior to providing operating instructions to resources that
 then have 10 minutes to supply those Primary Reserves in response to the operating
 instructions.389 Thus, ODEC argues, 20 minutes is the most logical look-ahead period.390
 ODEC states that changing the look-ahead period from 30 minutes to 20 minutes would
 save load approximately $250 million per year without any degradation in the benefits
 of PJM’s proposal.391

         CEA and ODEC argue that PJM’s proposal to base its ORDCs on the probability
 of incurring a reserves shortage and the associated Reserve Penalty Factor deviates from
 PJM affiants Dr. Hogan and Dr. Pope’s ORDC model, which is based on the value of lost
 load and the loss of load probability.392 CEA affiant James F. Wilson (Wilson) argues
 that a conservative application of the methodology proposed by Dr. Hogan and Dr. Pope

       384
             Id. at 49.
       385
             Id. at 33-38; ODEC Protest at 10-11.
       386
             IMM Protest at 33-34.
       387
             Id. at 35-37.
       388
             Id. at 37, Attach. B at tbl.1.
       389
             ODEC Protest at 11.
       390
             Id.
       391
             Id.
       392
             CEA Protest, Wilson Aff. ¶¶ 25-36; ODEC Protest at 3-7.
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 would result in a marginal reliability value of reserves at the MRR at $10/MWh, far less
 than proposed in PJM’s ORDCs.393 ODEC applies Dr. Hogan and Dr. Pope’s model to
 demonstrate that PJM’s ORDC for the “Summer 5” period implies a 4.5% probability
 of unserved load, implying loss of load on a weekly basis, which ODEC contends
 demonstrates that the ORDCs are fundamentally flawed and will lead to unreasonably
 high reserve prices.394

       The Maryland Commission argues that PJM’s proposal to use 24 administrative
 ORDCs falls short, because its reliance on three years of historic net load error data
 would rely on forced outage rates years prior to the full implementation of Capacity
 Performance, which incentivizes resources to be available and capable of providing
 energy and reserves throughout the entire delivery year.395

        The PJM Load Coalition disagrees with PJM’s choice to use historic net load error
 data and expected value to calculate the incremental value of reserves, arguing that the
 use of averages is not an appropriate means to set prices.396 The PJM Load Coalition
 contends that PJM should instead measure actual reserves and changes in actual reserves
 as an input to its ORDCs.397 Further, the PJM Load Coalition argues that PJM’s net
 load error calculations fail to account for instances where errors might be negatively
 correlated, e.g., summer peak conditions where high pressure causes high demand but
 yield a lower wind forecast error because the wind is unlikely to blow, therefore
 overstating net load error and the probability of a reserves shortage.398

       The IMM argues that PJM fails to account for instances where forecast error
 prevents rather than creates reserve shortages, and that the ORDCs should not reflect a
 100% probability of a reserves shortage (and a $2,000/MWh price) for reserve quantities
 between zero and the MRR.399 The IMM explains that there could be instances where
 RT SCED indicates the system is short reserves but due to an over-forecast of load or an
 under-forecast of wind or solar generation there is sufficient online generation and offline

        393
              CEA Protest, Wilson Aff. ¶ 30.
        394
              ODEC Protest at 6-7.
        395
              Maryland Commission Protest at 14.
        396
              PJM Load Coalition Protest at 40-41.
        397
              Id.
        398
              Id. at 42-43.
        399
              IMM Protest at 38.
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 reserves to meet the energy and reserve requirements.400 The IMM provides an
 alternative ORDC that applies PJM’s probability calculations for reserve quantities
 between zero and the MRR, and demonstrates that it would result in significantly
 lower reserve prices at reserve quantities below the MRR.401

         Furthermore, the IMM argues that PJM utilized datasets with missing data,
 incorrect data, or misaligned timestamps in constructing its ORDCs.402 The IMM
 states that PJM must develop a well-defined process for the calculation of its ORDCs,
 and that the process used throughout the stakeholder process was not adequate.403

         The IMM offers an alternative to PJM’s proposed ORDCs that would account
 for operator actions in the market by increasing the reserve requirements to accurately
 reflect system needs when operators take actions, by shifting the ORDCs to the right at a
 marginal value of reserves equal to the defined Reserve Penalty Factor.404 The IMM also
 proposes that PJM define the default reserve requirements in accordance with the NERC
 BAL-002 requirement, and asks that the Commission require PJM to define in its Tariff
 clear rules for when PJM increases the reserve requirements and to publicly post the
 applicable reserve requirements, applicable zones, and explicit start and end times of the
 requirement changes.405 The IMM submits that such a change would allow operators to
 commit the resources they need without suppressing price, which is a just and reasonable
 proposal to address the potentially price-suppressive effects of operator actions.406

       The PJM Load Coalition notes that in its order accepting $300/MWh as the Step
 2B Reserve Penalty Factor, the Commission required PJM to file two annual reports with
 the Commission including, among other things, data on Hot/Cold Weather Alerts and any




       400
             Id.
       401
             Id. at 39-40.
       402
             Id. at 43.
       403
             Id.
       404
             Id. at 63-64.
       405
             Id. at 64-65.
       406
            Id. at 65. The IMM states that a sloped ORDC may be just and reasonable so
 long as it does not extend beyond the established reserve requirements. Id. at 65-66.
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 emergency conditions requiring the scheduling of additional reserves.407 The PJM Load
 Coalition states that PJM submitted an annual report for the 2015/2016 Delivery Year,
 but it appears that PJM did not submit the report on the 2016/2017 Delivery Year.408
 The PJM Load Coalition states that PJM should file that report before the Commission
 considers and implements any reserve market design changes.409

         The IMM contends that PJM has failed to specify its process for calculating zonal
 ORDCs in the Tariff.410 The IMM also states that PJM claims that it will use load, wind
 output, solar output, forced outages, and interchange forecasts to calculate the zonal
 ORDCs, but PJM does not explain the location of such load, generation, and interchange
 relative to the zone. The IMM argues that because resources outside the zone can be
 used to meet the zonal requirement, it does not make sense to calculate the probability
 of falling below the MRR solely based on load and resources inside the zone. The IMM
 notes that PJM will use a zonal estimate of net interchange forecast, but notes that
 interchange applies to the entire RTO, not a subpart of PJM.411

                               iii.   Answers

         PJM disagrees with the IMM’s claim that its proposal will reward inflexible
 resources.412 PJM contends that reserves are inherently a ramping product, which values
 and rewards resources with the ability to quickly change output. 413 PJM acknowledges
 that its proposal will likely result in an increase in LMPs, which will be paid to all
 resources, including inflexible resources, but argues that the Commission has long held




       407
         PJM Load Coalition Protest at 30-31 (citing PJM Interconnection, L.L.C.,
 151 FERC ¶ 61,017 at P 29, order oara. (B)).
       408
             Id. at 31 (referencing Docket No. ER15-643-001).
       409
             Id.
       410
             IMM Protest at 40 (citing PJM Transmittal, Rocha Garrido Aff. ¶ 25).
       411
             Id. at 40-41.
       412
             Id. at 36-40 (citing IMM Protest at 47-49).
       413
             Id. at 36.
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 that it is reasonable to increase LMPs when the supply of reserves is scarce.414 PJM
 states that the IMM either misinterprets simulation results or fails to consider the scale of
 the energy market when compared to the reserves market in claiming that PJM’s proposal
 rewards inflexible resources.415 Furthermore, PJM states that the IMM’s own analysis
 shows that flexible resources will receive between 65.3% and 76.5% of the total revenue
 increase resulting from PJM’s proposal, and PJM provides evidence demonstrating that a
 combined-cycle plant simulated in ERCOT with the PJM ORDCs superimposed would
 be incentivized to increase its flexibility.416

        PJM disagrees with the IMM’s and ODEC’s proposals to use alternative look-
 ahead periods which PJM argues fail to account for the time that can elapse between
 when PJM runs the forecast for the RT SCED case (i.e., the time of the forecast), and
 when the scheduled resource is expected to perform (i.e., the occurrence of the event
 being forecasted).417 PJM contends that assuming away part of the time period between
 the forecast and the event may seem to reduce the probability of error, when in fact it is
 merely a choice to ignore some of the actual probability of error.418 By contrast, PJM
 contends that its 30-minute look-ahead period fully captures the time that can elapse
 between the RT SCED forecast and the actual reserve performance, and is therefore a
 reasonable metric for the uncertainties used to design the ORDC.419

       Exelon supports PJM’s proposed look-ahead periods and disagrees with the
 IMM’s proposed look-ahead periods. Exelon argues that the IMM advocates for a more
 aggressive approach that provides no margin for error.420 Exelon states that the IMM’s

        414
           Id. at 37 (citing Wholesale Competition in Regions with Organized Elec. Mkts.,
 Order No. 719, 125 FERC ¶ 61,071 (2008), as amended, 126 FERC ¶ 61,261, order on
 reh’g, Order No. 719-A, 128 FERC ¶ 61,059, reh’g denied, Order No. 719-B, 129 FERC
 ¶ 61,252 (2009)).
        415
              Id. at 37-38.
        416
          Id. at 38-40 (citing Keech Reply Aff. ¶¶ 15-16); Id. at Attach. E: Mort
 Webster, Rewarding Flexibility: An Analysis of the Impact of PJM’s Proposed Price
 Formation Reform on the Incentives for Increasing Generator Flexibility (2019)
 (Webster Report).
        417
              Id. at 41.
        418
              Id.
        419
              Id.
        420
              Exelon Answer at 31 (citing IMM Protest at 37, fig.9).
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 method fails to account for two fundamental issues in the operation of the forecasts.
 First, Exelon states that the IMM’s method fails to account for the multi-period nature of
 forecast uncertainties. Second, Exelon argues that the IMM’s method fails to consider
 how operators behave.421 According to Exelon, operators who identify a potential
 forecasting error do not wait until PJM’s software triggers a concrete error; they take
 action early enough to remedy the error before it is realized. In responding to potential
 errors, operators first deploy regulation and only call Synchronized Reserves as a last
 resort. Exelon states that this multi-step process accurately reflects the range of actions
 in which operators respond to uncertainty, including a period of 20 to 30 minutes in
 advance for the 10-minute Reserves, and up to 60 minutes in advance for the 30-minute
 Reserves. Therefore, Exelon states that PJM’s method for calculating the ORDC more
 sensibly balances potential costs with the need to accurately represent the actual demand
 for reserves needed for real-world reliable operation of the PJM system.422

        PJM cites to the reply comments of Dr. Hogan and Dr. Pope, attached to the
 Reply Affidavit of Drs. William W. Hogan and Susan L. Pope (Hogan and Pope Reply
 Affidavit) affirming that the MRR is the appropriate reference point for setting the price
 equal to the costs of those emergency actions, in response to CEA’s claim that the PJM
 methodology based on loss of load probability results in a marginal value or $10/MWh
 for reserves at the MRR.423 PJM argues that CEA affiant Mr. Wilson’s claims are not
 supported by quantitative analysis, and that Mr. Wilson incorrectly claims that “system
 operators have generally been comfortable with the MRR.”424

       PJM disputes ODEC’s finding that PJM’s proposed ORDCs are out of bounds
 when compared to Dr. Hogan and Dr. Pope’s ORDC methodology.425 PJM contends
 that ODEC’s analysis ignores Dr. Hogan and Dr. Pope’s acknowledgment that their
 approach can accommodate “an extension to include minimum contingency reserves (i.e.,
 the [MRR]),” and thus ODEC’s formula only applies where there is no MRR.426

       PJM disagrees with the IMM’s argument that the ORDC price should be less than
 the Reserve Penalty Factor at reserve quantities below the MRR because forecast error

        421
              Id. at 32 (citing Rocha Garrido Aff. ¶ 14).
        422
              Id. at 31-32.
        423
              PJM Answer at 43 (citing Hogan & Pope Reply Aff., Attach. A, Ex. 1 at 9-10).
        424
              Id. at 44 (quoting CEA Protest, Wilson Aff. ¶ 30).
        425
              Id. (citing ODEC Protest at 6-7).
        426
              Id.
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 can prevent rather than create shortages.427 PJM concedes that there is a non-zero
 probability that the MRR is met ex post even if there is an ex ante MRR deficiency, but
 contends that using this non-zero probability to develop the ORDC would price reserve
 quantities below the MRR below the Reserve Penalty Factor.428 PJM contends that such
 an ORDC would be inconsistent with operating the grid securely and reliably, and price
 reserves below the Reserve Penalty Factor even when the quantity of reserves is zero
 MW.429

         PJM disputes the PJM Load Coalition’s argument that its probability calculations
 fail to consider negatively correlated forecast errors.430 PJM contends that the PJM Load
 Coalition either misunderstands or mischaracterizes PJM’s proposal, and states that a
 careful review of the formula in its initial filing shows that all correlations between the
 uncertainties, whether negative, positive, or no correlation, are captured by the net load
 error empirical distribution that is ultimately used to construct the ORDCs.431

         Similarly, PJM contends that the PJM Load Coalition either misunderstands or
 mischaracterizes its proposed use of expected value to construct the ORDCs.432 PJM
 argues that the use of expected value is appropriate because there is both a probability
 that reserves beyond the MRR will be enough to avoid a shortage and that those reserves
 will not be enough to avoid a shortage.433 PJM states that expected value provides a way
 to consider both of these probabilities and derive the downward-sloping section of the
 ORDCs.434 PJM contends that the PJM Load Coalition incorrectly alleges in the
 Affidavit of Charles S. Griffey (Griffey Affidavit) that PJM is using three-year average
 forecast errors as proxies for actual changes in reserves.435 PJM clarifies that it is


        427
              Id. at 45 (citing IMM Protest at 38-40).
        428
              Id.
        429
              Id. at 45-46.
        430
              Id. at 46 (citing PJM Load Coalition Protest at 41-43).
        431
              Id. (citing Rocha Garrido Reply Aff. ¶ 16).
        432
              Id. (citing PJM Load Coalition Protest at 46).
        433
              Id. at 47.
        434
              Id.
        435
              Id. (citing PJM Load Coalition Protest at 40-41, Griffey Aff. ¶ 7).
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 proposing to combine error data and regulation requirement data point-by-point to
 derive a net load error probabilistic distribution.436

         PJM disagrees with protestors’ arguments that its ORDCs will over-procure
 reserves.437 PJM states that the Commission has found that the amount of reserves
 needed is not limited by the MRR, and thus procurement of reserves in excess of the
 MRR does not necessarily result in procurement of “excess” reserves.438 PJM contends
 that it has established an objective demand for reserves in excess of the MRR using
 the probabilistic analysis underlying its ORDCs, and that the extent of the ORDCs is
 anchored in actual data and operational realities that operators need to take into
 account.439

        Exelon argues that the IMM’s alternative ORDC proposal would effectively
 codify reliance on operator actions as an ongoing solution. Exelon argues that the IMM’s
 proposed mechanism will greatly increase reserve and energy price volatility, reducing
 the transparency and predictability of the market pricing. Exelon points out that the
 IMM’s approach would lean on real-time interventions, whereas PJM’s proposal relies
 primarily on the day-ahead market. Exelon claims that procuring reserves in advance is
 inevitably more efficient.440

        P3 disputes the IMM and the PJM Load Coalition’s argument that a vertical
 demand curve that stops at or minimally past the MRR is a just and reasonable means to
 value reserves.441 P3 contends that this argument is essentially an argument for the status
 quo that systematically under-procures and misprices reserves and forces out-of-market
 actions to maintain reliability.442 P3 argues that PJM’s proposed sloped ORDC properly
 recognizes the value of reserves in excess of the MRR using quantitative methods, and




        436
              Id. at 47-48.
        437
              Id. at 48 (citing AEP Protest at 5-6, PJM Load Coalition Protest at 22-25).
        438
              Id.
        439
              Id. at 48-49.
        440
              Exelon Answer at 29-30.
        441
              P3 Answer at 10 (citing IMM Protest at 22).
        442
              Id.
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 that the IMM and the PJM Load Coalition’s alternative proposals have not been vetted
 with PJM or any other stakeholders and do not solve the problem at hand.443

        The PJM Load Coalition argues that PJM’s proposed downward-sloping ORDC
 would result in the procurement of reserves in excess of the level needed for reliability,
 and thus would produce a price that is not reflective of the actual marginal cost of serving
 load.444

         PSEG contends that the IMM wrongly asserts that the Reserve Market Proposal
 would implement “scarcity pricing all the time, all hours of the day, all days of the year,
 regardless of actual shortage conditions.”445 Rather, PSEG explains that PJM’s proposed
 downward-sloping ORDC would assign a value to reserves deemed to be necessary for
 reliable operations above the minimums necessary to be compliant with NERC reliability
 criteria, but scarcity pricing would only occur when the MRR is not met.446 PSEG argues
 that employing the ORDCs will optimize the dispatch of resources to avoid scarcity.447
 PSEG contends that the fact that reserves procured above the MRR provide value to
 consumers is beyond dispute, and that PJM operators routinely take actions to increase
 the level of reserves above the MRR.448 PSEG states that the problem is not that
 operators commit additional reserves but that these operator actions are not reflected in
 prices, and argues that the downward-sloping ORDCs will set reasonable prices for the
 value of additional reserves.449

        PSEG disagrees with the IMM’s assertion that consumer welfare benefits
 indicated by the area under the proposed ORDCs cannot be assumed or reasonably
 asserted because PJM does not propose using demand bids or any other metric of
 consumers’ valuing lost load to construct the ORDCs.450 PSEG states that no party
 contends that PJM proposes to include demand bidding as an element of the ORDC, and

        443
              Id. at 11-12.
        444
              PJM Load Coalition Answer at 12 (citing PJM Load Coalition Protest at 39).
        445
              PSEG Answer at 4-5 (quoting IMM Protest at 7).
        446
              Id. at 5.
        447
              Id.
        448
              Id. at 5-6.
        449
              Id. at 6.
        450
              Id. at 6-7 (citing IMM Protest at 17).
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 argues that the proposed ORDCs are designed to replicate market impacts that would be
 present if significant levels of demand bidding were present.451 PSEG contends that the
 proposed ORDCs are appropriately anchored at the proposed $2,000/MWh Reserve
 Penalty Factor, because the current PJM Tariff allows operators to take actions resulting
 in costs up to around $2,000/MWh in order to avoid load shedding.452

        PSEG contends that the IMM’s alternate proposal to increase the MRR to reflect
 the amount of additional reserves committed by PJM operators would result in even
 higher costs to consumers and would not enhance social welfare.453 PSEG argues that the
 IMM’s alternative proposal would set up a scarcity pricing cliff in which any small drop
 below the higher MRR level would automatically result in scarcity pricing at the Reserve
 Penalty Factor.454 PSEG claims that applying the current $300/MWh Reserve Penalty
 Factor to the IMM’s alternative proposal would increase LMPs by approximately
 $8.50/MWh, which is greater than any of the simulations in PJM’s proposal.455 PSEG
 warns that the cost impacts of the IMM’s alternative proposal would be much higher if
 PJM’s proposed Reserve Penalty Factor of $2,000/MWh were applied.456 PSEG also
 argues that PJM’s proposed downward-sloping ORDC is far superior to the IMM’s
 alternative proposal because it matches the supply of reserves with the implied demand
 for reserves at all times rather than only during scarcity conditions, and thereby optimizes
 social welfare.457

        PSEG disputes the IMM’s argument that the combination of the MRR
 representing the need for reserves to meet an N-1 set of operating constraints with the
 downward-sloping ORDC, creates a type of double counting or confounding of
 operational uncertainties.458 PSEG contends that the ORDC fulfills a completely

        451
              Id. at 7.
        452
              Id. at 7-8.
        453
              Id. at 8.
        454
              Id. at 9.
        455
              Id.
        456
              Id.
        457
              Id. at 9-10.
        458
           Id. at 17 (citing IMM Protest at 29); see also N. Am. Elec. Reliability Corp.,
 Standard TPL-001-4—Transmission System Planning Performance Requirements,
 https://www.nerc.com/files/TPL-001-4.pdf.
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 different function than the reserves required to meet N-1 contingencies.459 Specifically,
 PSEG explains that the MRR represents a compromise regarding the level of system
 contingencies to recognize in the dispatch and that the ORDC represents a measurement
 of the uncertainty associated with having sufficient reserves to meet that standard.460
 Moreover, PSEG argues that the IMM’s contention clashes with the reality of how
 electric systems are operated, where operators consistently account for perceived risks
 beyond N-1 contingences.461

        CEA argues that PJM’s proposal is too incomplete to be approved as a
 replacement rate. CEA contends that, over a month after PJM initiated the instant
 proceedings, PJM acknowledged that it had not yet settled on a process for how forced
 outage uncertainty will be represented in the ORDCs.462

         The IMM contends that commenters rely on PJM’s misleading analysis of IT
 SCED biasing to present PJM’s proposed ORDCs as a panacea for all energy market
 price formation imperfections.463 First, the IMM contends that PJM’s arguments
 surrounding IT SCED bias fail to acknowledge that positive bias occurs only about a
 third of the time, negative bias occurs almost half the time, and no bias occurs the
 remainder of the time.464 The IMM argues that PJM fails to acknowledge the fact that it
 could require more accurate energy market offer parameters from generators to reduce
 the need for operator bias.465 While PJM argues that its proposed reforms are needed to
 reduce operator biasing, the IMM argues that the use of negative operator bias would
 likely increase to counteract the proposed ORDCs’ overstated need for reserves.466 The
 IMM argues that IT SCED load bias does not translate directly into increased reserve
 MW, as the IT SCED is an advisory tool which PJM operators do not necessarily follow.




       459
             Id. at 18.
       460
             Id. at 18-19.
       461
             Id. at 19.
       462
             CEA Answer at 11 (citations omitted).
       463
             IMM First Answer at 6-13.
       464
             Id. at 7.
       465
             Id. at 7-8.
       466
             Id. at 8.
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 Thus, the IMM argues, PJM’s arguments that it would have been in shortage conditions
 29.1% of the time in 2018 absent IT SCED bias is unrealistic and misleading.467

         The IMM explains that even with perfect load forecasts and no need for reserves,
 operators would use IT SCED to recommend the commitment and decommitment of
 resources to follow the trajectory of load because PJM commits combustion turbines in
 the real-time market and not in the day-ahead market.468 The IMM argues that, because
 IT SCED operates on a one- to two-hour time frame, IT SCED is not relevant to the near-
 term uncertainty addressed by PJM’s proposed ORDCs, and thus IT SCED is not relevant
 to the issues raised in PJM’s filing.469

        The IMM cites the Affidavit of Rao Konidena (Konidena Affidavit) on behalf of
 the PJM Load Coalition to argue that some amount of operator intervention, including
 biasing, is inevitable, and that market transparency solutions implemented in MISO
 demonstrate a superior solution compared to PJM’s proposed ORDCs.470

        The IMM argues that commenters misrepresent the extent to which the penetration
 of renewable resources will increase in the future, and that commenters have not drawn
 any logical link between the increase in renewables and PJM’s proposed ORDCs and fail
 to define what problem PJM’s ORDCs will solve with regard to renewable resources.471

       The IMM argues that commenters have provided no theoretical justification for
 PJM’s proposed extended sloping ORDC.472 The IMM argues that PSEG, P3, and
 Exelon incorrectly assert that the proposed ORDC has a theoretical basis rooted in
 welfare maximization, and incorrectly assume that the proposed ORDCs are derived from
 consumers’ willingness to pay for reserves.473 The IMM states that PJM’s proposal




       467
             Id. at 9-10.
       468
             Id. at 10-11.
       469
             Id. at 11.
       470
             Id. at 12.
       471
             Id. at 13.
       472
             Id. at 16-24.
       473
            Id. at 16-19 (citing PSEG Protest, Shanker Aff. ¶ 19; P3 Comments, Cavicchi
 Aff. ¶ 16; Exelon Comments at 25).
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 makes no such assumption and is not based on any measure of consumers’ willingness to
 pay for reserves.474

         The IMM argues that P3 does not provide a theoretical or empirical basis for
 claiming PJM’s proposal will result in “[g]reater efficiency in day-ahead and real-time
 energy and ancillary services prices.”475 The IMM argues that any changes in buyer or
 seller behavior prompted by PJM’s proposed higher demand curve do not indicate greater
 efficiency because the increase in the demand curve is arbitrary and administratively
 determined.476

        The IMM argues that the PJM Load Coalition’s protest demonstrates that PJM’s
 proposed ORDCs do not follow the model proposed by PJM affiants Dr. Hogan and
 Dr. Pope and employed by ERCOT.477 Citing the PJM Load Coalition’s comments, the
 IMM explains that: (1) ERCOT’s ORDC is based on a probability distribution of actual
 changes in operating reserves, while PJM does not propose a reserve change distribution;
 (2) ERCOT’s proposed ORDC limits the LMP plus ORDC to less than the value of lost
 load, while PJM’s proposal has no such limits and could exceed the value of lost load;
 and (3) ERCOT relies on its ORDC and scarcity pricing as a replacement for the capacity
 market, while PJM does not propose any transition mechanism or offset to capacity
 market revenues.478

        The IMM states that Direct Energy’s comments demonstrate that the proposed
 ORDCs could threaten reliability.479 The IMM argues that PJM’s proposed extended
 reserve requirement could increase the likelihood of PJM having excess online capacity
 such that it dispatches all resources down to their physical operating limits.480 The IMM
 contends that even during such a minimum generation event, the ORDC might indicate a
 positive reserve price and signal that resources should come online when reliability




       474
             Id. at 16-19.
       475
             Id. at 19 (quoting P3 Comments, Cavicchi Aff. ¶¶ 42-47).
       476
             Id.
       477
             Id. at 20-21.
       478
             Id. at 19-21 (citing PJM Load Coalition Protest, Griffey Aff.).
       479
             Id. at 21-22 (citing Direct Energy Comments at 8-10).
       480
             Id. at 21.
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 actually requires the opposite.481 The IMM argues that the extended ORDC could mute
 the congestion component of LMP by failing to signal when the energy indicates that the
 resource should decrease its output.482

         In addition, the IMM argues that the pending fast-start pricing reforms and PJM’s
 proposed extended ORDCs have a compounding effect to raise energy prices above the
 efficient level and that without explicit recognition of the overlap and interactive effects
 between fast-start pricing and the extended sloped ORDCs PJM’s filing is not just and
 reasonable.483 The IMM states that the instant filing proposes to increase the number
 of energy and ancillary service prices from six to nine, and that the pending fast-start
 reforms would create a dispatch run with dispatch pricing signals and a pricing run
 with the final settled prices, increasing the number of prices to eighteen.484 The IMM
 states that PJM has not addressed the settlement implications of different uplift
 calculations, such as how lost opportunity cost credit calculations will be affected by
 the implementation of the fast-start reforms.485 Furthermore, the IMM cites Exelon’s
 argument that the extended sloping ORDCs are meant to address instances where PJM
 operators commit block-loaded units to maintain sufficient energy and reserves, forcing
 steam units to reduce their output and provide reserves.486 The IMM argues that this
 situation is the same situation the pending fast-start pricing reforms are meant to address,
 and therefore the proposed extended sloping ORDC is a redundant price formation tool
 that unnecessarily increases costs to consumers.487

         The IMM disagrees with PJM’s claim that the extended ORDCs effectively
 function as a ramping product.488 The IMM explains that a ramping product considers
 the upcoming net load forecasts for consecutive upcoming market intervals, as opposed
 to the single upcoming interval, and holds back ramping capability to meet changes in


        481
              Id.
        482
              Id. at 21-22.
        483
              Id. at 22.
        484
              Id. at 22-23.
        485
              Id. at 23.
        486
              Id. (citing Exelon Comments at 11-12).
        487
              Id.
        488
              IMM Second Answer at 10 (citing PJM Answer at 36).
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 load in multiple upcoming consecutive market intervals, not for a contingency.489 The
 IMM explains that ramping capacity is needed in addition to the minimum Synchronized
 and Primary Reserve Requirements, and that the method for constructing the proposed
 extended sloping ORDCs is not based on predicting upcoming energy needs for multiple
 future intervals.490 The IMM states that, while it is not clear that PJM needs a ramping
 product, a discussion focused on the actual details of ramping product options would be a
 constructive alternative to PJM’s unsupported and vague assertions in its filing.491

         The IMM presents several arguments that PJM’s proposed ORDCs will not
 incentivize more flexible generation resources.492 The IMM contends that PJM
 incorrectly describes the impact of its proposal based on percent changes in revenues
 rather than the magnitude of changes in dollars, and explains that a small percentage
 increase in LMP has a much more significant effect on a generator’s total revenue than a
 large percentage increase in reserve prices because the energy market is the largest share
 of those revenues.493 The IMM contends that the affidavit of Mort Webster, provided in
 PJM’s Answer, fails to provide relevant results for PJM because it considers the potential
 increase in revenues to an ERCOT combined cycle unit that increases its flexibility.494
 The IMM contends that PJM incorrectly claims that the IMM misinterprets the simulation
 results and that PJM should have examined the results of its own simulation results rather
 than sponsoring a study based on ERCOT data to understand the impact of its proposal
 on inflexible units.495 The IMM states that PJM fails to discuss more targeted and cost-
 effective ways to increase incentives for flexibility, such as increasing its capability to
 model combined cycle units, especially with the introduction of five-minute pricing and
 settlements.496

       The IMM argues that PJM’s proposed ORDC probability calculation is flawed.
 The IMM states that PJM uses historic net load forecast error rather than direct

        489
              Id. (citing Cal. Indep. Sys. Operator Corp., 156 FERC ¶ 61,226 (2016)).
        490
              Id.
        491
              Id.
        492
              Id. at 10-14.
        493
              Id. at 11-12.
        494
              Id. at 12-13.
        495
              Id. at 13-14.
        496
              Id. at 14.
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 measurements of the change in reserves to estimate the probability of a reserve shortage.
 The IMM contends that a superior approach would be to measure the change in reserves
 directly, because it would avoid the additional measurement error introduced by PJM’s
 use of separate load, wind, and solar forecast error and unforced outage MW as a proxy
 for the change in reserves.497 Further, the IMM contends that PJM’s current operational
 practices are inadequate to accurately measure available reserves at any given point in
 time.498 The IMM disputes PJM’s choice of a 30-minute look-ahead period, and argues
 that the uncertainty in the 10 minutes following a RT SCED target interval is the reason
 for procuring reserves to meet the MRR in the first place, and thus this 10 minutes should
 not be added to the look-ahead period used to procure additional reserves beyond the
 MRR.499

        The IMM contends that PJM’s proposed downward-sloping ORDCs are not
 derived from a theoretical foundation, such as the one described by Dr. Hogan and Dr.
 Pope, because PJM’s ORDCs are not derived from the first principles of loss of load
 probability and the value of lost load.500 The IMM states that PJM does not attempt to
 measure the actual economic cost of a reserves shortage to consumers, and instead uses
 the administratively imposed Reserve Penalty Factor based on worst-case scenario
 emergency actions.501 The IMM argues that the ultimate goal of procuring reserves is to
 reduce the chance of involuntary load curtailment, yet PJM fails to tie its valuation of
 reserves to this goal.502 The IMM also disputes Exelon affiant Michael Schnitzer’s
 argument that PJM’s methodology is comparable to Dr. Hogan and Dr. Pope’s because
 the maximum reserve price in the PJM RTO region is $8,000/MWh, in the neighborhood
 of the $9,000/MWh used to represent the value of lost load in ERCOT’s ORDC.503 The
 IMM explains that within the Mid-Atlantic/Dominion reserve region, which Mr.
 Schnitzer omits for his comparison, the highest prices could exceed $14,000/MWh.504


       497
             Id.
       498
             Id. at 16.
       499
             Id. at 16-18.
       500
             Id. at 19.
       501
             Id. at 19-20.
       502
             Id. at 20.
       503
             Id.
       504
             Id. at 20-21.
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 Thus, the IMM argues, Exelon’s conclusions are based on a selective comparison of price
 outcomes under extreme reserve shortage conditions in both markets.505

                             iv.     Commission Determination

        We adopt as part of the just and reasonable replacement rate PJM’s proposal to
 modify its ORDCs to establish a downward-sloping portion to the right of the applicable
 MRR, and to construct that portion as a function of the Reserve Penalty Factor and the
 probability of experiencing a reserve shortage in real-time at varying reserve procurement
 quantities. We agree with PJM that it is just and reasonable for ORDCs to value reserves
 in excess of MRRs, and to determine the value of those reserves using the empirical
 probability formulas proposed.

        In supra Section IV.B.1.d, we find that PJM’s existing reserve market design is
 unjust and unreasonable for several reasons. One is that it fails to procure the reserves
 necessary for PJM to operate its system reliably in the face of numerous operational
 uncertainties. PJM’s existing ORDCs do not represent the actual need for reserves after
 accounting for non-contingency operational uncertainties, leading PJM operators to take
 out-of-market actions to obtain required reserves. PJM’s proposed ORDCs remedy this
 shortcoming by connecting the actual uncertainties that PJM’s operators face to the
 construction of the ORDCs. For any given quantity of reserves procured in advance,
 PJM calculates the probability that it will ultimately go short of reserves in the real-time
 operating period. Those probabilities are then used to create the downward-sloping
 ORDC by calculating a set of price-quantity points (at quantities above the applicable
 MRR). By thus connecting the demonstrated operational uncertainties to the in-market
 representation of demand for reserves, PJM’s proposed ORDCs will directly address the
 cited shortcoming that is leading to extensive operator biasing and other out-of-market
 actions.
        Another reason for which we find the existing reserve market design unjust and
 unreasonable is that it does not yield market prices that reasonably reflect the marginal
 cost of procuring necessary reserves, and thus does not send appropriate price signals for
 efficient resource investment. For quantities of reserves at or below the MRRs, we find,
 in Section IV.B.2.b above, that PJM’s proposal to utilize Reserve Penalty Factors equal
 to $2,000/MWh for all reserve products addresses this shortcoming. Here we discuss
 reserve pricing at quantities in excess of the MRRs.




        505
              Id. at 21.
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        PJM proposes to calculate the incremental value of reserves in excess of the MRR
 using an expected value formula. PJM affiant Dr. Rocha Garrido explains this
 application as follows:
                 Expected value refers to the weighted average outcome of a
                 given decision when all possible outcomes are considered
                 weighted by the probability of each outcome. In the context of
                 the ORDC, the decision is procuring reserves in excess of the
                 MRR while the outcomes are either meeting the MRR or
                 failing to meet the MRR.506

        Using this approach, PJM proposes to set the price of X MW of reserves equal to
 the product of the new $2,000/MWh Reserve Penalty Factors times the aforementioned
 probability of falling below the MRR despite procuring X MW of reserves to deal with
 uncertainties. The resulting product serves to quantify the incremental reliability benefit,
 in dollars per megawatt-hour terms, of each unit of reserves in excess of the MRRs.
         We agree with PJM that this is a rational approach to valuing and pricing reserves
 in excess of the MRRs. Having found that $2,000/MWh is a reasonable willingness to
 pay for reserves up to the MRRs, it is also reasonable to value reserves in excess of the
 MRRs as a percentage of $2,000/MWh based on the incremental reliability benefit
 provided by any specific unit of reserves in that range. This approach also addresses the
 pricing flaw we identify in determining that PJM’s existing reserve market design is
 unjust and unreasonable. By setting reserve market prices as a function of the probability
 of falling short of reserves, and thus incorporating into those prices the same operational
 uncertainties that currently drive PJM’s operators to procure reserves outside the market,
 reserve market prices will better align with the true marginal cost of acquiring needed
 reserves. And by aligning reserve market prices with the true marginal cost of reserves,
 those prices will send accurate price signals for retention of, and investment in, resources
 that can provide reserves most efficiently within the broader context of PJM’s markets.
        For these reasons, we find that PJM’s proposal to modify its ORDCs to establish a
 downward-sloping portion to the right of the applicable MRRs is a component of the just
 and reasonable replacement rate. We address specific comments and protests below.
         We decline FirstEnergy’s request that the Commission require PJM to conduct a
 holistic review of all of its wholesale markets to ensure generation resources that provide
 key attributes, such as fuel security, fuel diversity, and resilience, receive compensation
 for the attributes they provide to the electric grid. We agree with PJM that its proposed
 replacement rate renders its reserve market design just and reasonable. To the extent

        506
              PJM Transmittal, Rocha Garrido Aff. ¶ 17.
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 FirstEnergy is concerned with other aspects of PJM’s markets, we find those concerns
 beyond the scope of this proceeding.

         We decline to adopt PSEG’s proposal that PJM adjust its ORDC calculations to
 remove the regulation requirement as an uncertainty-mitigating factor and shift the
 ORDCs to reflect any operator actions after the execution of the day-ahead market.
 We agree with PJM that it is appropriate to consider the regulation requirement as an
 uncertainty-mitigating factor, because operators can reasonably assume, at the beginning
 of the look-ahead period, that regulation service will be procured in the prescribed
 quantity and directly reduce the likelihood of falling short of the MRR at the end of the
 look-ahead period. Furthermore, we believe PJM’s proposed probabilistic ORDCs
 reasonably account for operator actions after the execution of the day-ahead market, and
 that PSEG has not demonstrated why it would be just and reasonable to adjust the
 ORDCs further in response to operator actions. Finally, while we agree with PSEG that
 it is worthwhile to periodically review the ORDCs, at this time we find it is reasonable to
 derive the shape of the ORDCs using three years of historic data.

         We decline to adopt Direct Energy’s request to require that PJM demonstrate that
 its ORDCs will not value reserves in excess of the MRR above $0.00/MWh during a
 minimum generation event. We believe that PJM has adequately demonstrated that its
 proposed ORDCs will result in just and reasonable reserve pricing based on the real-time
 state of the PJM system, including during minimum generation conditions. We agree
 with PJM affiants Dr. Hogan and Dr. Pope that minimum generation conditions do not
 alter the facts and principles for formulation of the ORDC, so to the extent Direct
 Energy’s concerns materialize they should be addressed through future PJM market
 reforms.507

        We disagree with AEP’s, the Ohio Commission’s, the PJM Load Coalition’s, and
 the IMM’s arguments that PJM’s proposed ORDCs overstate the value of reserves
 beyond the MRR and would procure more reserves than operators have historically
 committed. PJM’s filing thoroughly demonstrates that the value its ORDCs assign to
 reserves is grounded in the historic net load error observed in the PJM system, and the
 corresponding probability of a reserve shortage. We therefore reiterate our finding above
 that PJM’s proposed ORDCs appropriately tie demonstrated operational uncertainties to
 the in-market representation of demand for reserves.

        We disagree with the IMM’s argument that PJM’s proposed ORDCs will fail to
 incentivize flexible resources. As PJM explains in its answer, it is reasonable for the
 LMP to increase in a predictable way as the system approaches a reserve shortage.
 While inflexible resources might benefit from increasing LMPs, flexible resources


        507
              PJM Answer, Hogan & Pope Reply Aff., Attach. A, Ex. 1 at 12.
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 would benefit from both the increase in LMPs and the increase in reserve prices. Thus,
 as PJM demonstrates in its answer, the majority of revenue increases resulting from
 PJM’s proposal will likely go to flexible resources.508

         We find unpersuasive the various contentions made by the IMM that PJM’s
 proposal contains significant overlap with the fast-start pricing proceeding currently
 pending before the Commission. The fast-start pricing proceeding and the instant filing
 address separate price formation concerns in PJM that require separate solutions. In the
 instant filing, we adopt downward-sloping ORDCs to address the problem that the
 existing reserve market design is not procuring and accurately pricing reserves needed for
 PJM to reliably operate its system. This problem is distinct from that identified in the
 fast-start pricing proceeding and thus warrants a targeted remedy, which is the
 replacement rate we adopt in this order.

         We disagree with the IMM’s and ODEC’s arguments that PJM’s proposed look-
 ahead periods are too long. We agree with PJM’s explanation that the look-ahead period
 should include both the time between RT SCED forecast execution and the start of the
 real-time interval and the performance period for the reserve product. Furthermore, we
 agree with PJM that it is reasonable to round up the look-ahead periods to 30 minutes for
 the 10-minute Reserves product and 60 minutes for the 30-minute Reserves product to
 account for deviations in when the RT SCED case is run and capture the value of reserves
 in subsequent RT SCED intervals.509

        We disagree with CEA’s and ODEC’s arguments that PJM’s proposed ORDCs are
 unjust and unreasonable because they deviate too much from the methodology proposed
 by Dr. Hogan and Dr. Pope, which is based on the value of lost load and the loss of load
 probability. As discussed above, we agree with Dr. Hogan and Dr. Pope that the MRR is
 the appropriate reference point for setting the reserve price equal to the cost of emergency
 actions (i.e., the Reserve Penalty Factor) and that PJM’s proposal is a logical extension of
 their methodology.510

        We disagree with the Maryland Commission’s arguments that PJM’s proposed
 ORDCs fall short because they are derived from three years of historic data when the
 Capacity Performance reforms were not in full effect. PJM’s proposed ORDCs rely on
 historic net load error data to derive the probability of a reserve shortage, and the first
 delivery year where all resources meet the Capacity Performance requirements will not
 begin until June 1, 2020. Thus, there is insufficient data for PJM to measure the full

        508
              Id., Keech Reply Aff. ¶ 16.
        509
              PJM Transmittal, Rocha Garrido Aff. ¶¶ 13-14.
        510
              PJM Answer, Hogan & Pope Reply Aff., Attach. A, Ex. 1 at 9-10.
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 impact of Capacity Performance on generator forced outage rates at this time. As
 discussed below, we require PJM to conduct a review of its ORDCs so that changes such
 as improved generator performance can be incorporated.

         In response to the PJM Load Coalition’s argument that PJM’s expected value
 methodology is flawed, that PJM should measure actual reserves instead of forecast
 errors, and that PJM fails to account for negative correlations between errors, we find that
 the PJM Load Coalition provides insufficient detail to demonstrate that PJM’s proposal is
 unjust and unreasonable, and similarly fails to suggest a just and reasonable method to
 account for the factors the PJM Load Coalition describes. Thus, we decline to require
 any changes to PJM’s proposed ORDCs in response to the PJM Load Coalition’s claims.

        We disagree with the IMM’s argument that PJM should apply its probabilistic
 methodology to calculate the value reflected in the ORDCs for reserve quantities below
 the MRR. We agree with PJM that it is reasonable to value all reserve quantities below
 the MRR at the respective Reserve Penalty Factor to send a strong price signal when
 reserves are short. We agree with PJM’s explanation in its Answer that an ORDC like
 the IMM proposes would be inconsistent with operating the grid securely and reliably.511

        We decline to adopt the IMM’s proposed alternative ORDC, which would increase
 the PJM reserve requirement at the discretion of PJM operators. We agree with Exelon’s
 and PSEG’s arguments that the IMM’s alternative would effectively codify reliance on
 operator actions as an ongoing solution, increase reserve and energy price volatility, and
 reduce the transparency and predictability of market pricing.512

         We dismiss the PJM Load Coalition’s concern that PJM failed to submit the
 second required informational report in Docket No. ER15-643,513 and its request that the
 Commission require that PJM submit the report before acting on the instant filing. PJM
 filed the report the PJM Load Coalition references on September 26, 2019.514

        The IMM argues that PJM fails to specify the process for calculating zonal
 ORDCs in its Tariff. The IMM asserts that PJM does not explain the location of load,
 generation, and interchange that it will use to calculate zonal ORDCs. As an initial
 matter, PJM’s proposed Tariff revisions do specify the method for establishing both

        511
              Id. at 45-46.
        512
              Exelon Answer at 29-30; PSEG Answer at 9.
        513
              PJM Load Coalition Protest at 31.
        514
           See PJM Interconnection, L.L.C., Report on Pricing and Cost Allocation of
 Reserves for 2016-2017 Delivery Year, Docket No. ER15-643-001 (filed Sept. 26, 2019).
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 RTO-wide and zonal ORDCs.515 With regard to the forecast details the IMM raises,
 which are details related to how the inputs for that method are determined, we do not find
 at this time that such details must be codified in the Tariff in order to be just and
 reasonable. To the extent that there are concerns over specific calculation details that
 reside in PJM’s manuals, we encourage the IMM and other interested parties to work
 with PJM through its stakeholder process to address such concerns.

         Direct Energy, IPI, PSEG, and R Street argue that PJM should periodically review
 its ORDCs to ensure the ORDCs are meeting PJM’s stated goals of achieving improved
 price formation, increasing transparency, and improving system reliability. While PJM
 proposes to update its ORDCs each year to reflect the latest historical data used as inputs
 to construct the ORDCs, we agree that providing regular reports on whether the ORDCs
 are achieving the stated purpose and to provide a level of transparency as to the input data
 would be beneficial to stakeholders and the Commission. Thus, we require that PJM post
 on its website, annually, the following data for each reserve product (i.e., Synchronized
 Reserve, Primary Reserve, and Secondary Reserve): (1) the forecast error data and other
 factors used to estimate the probability of a reserve shortage that are inputs to the
 ORDCs, in a format similar to what PJM provided to stakeholders previously,516 and
 (2) interval data for the previous year indicating the instantaneous reserve quantity, the
 shortage probability indicated by the ORDC for that reserve quantity, and whether the
 PJM system was in shortage. We direct PJM to post these data to its website coincident
 with its posting of the revised ORDCs by April 1 of each year for at least eight years.

        Exelon also requests that PJM be required to expand its Operator-Initiated
 Commitment Report to include data on load forecast biasing. PJM has demonstrated that
 biasing the load forecasts input to the IT SCED engine can affect which resources are
 committed, affect prices, and increase uplift. We disagree with Exelon that PJM should
 be required to expand the Operator-Initiated Commitment Report. However, we find
 persuasive Exelon’s argument that PJM’s proposal indicates that load biasing and uplift
 have an intertwined role and that PJM should be required to report all load biasing after
 implementation of the downward-sloping ORDCs. Thus, we require that PJM post on its
 website monthly summary statistics demonstrating the average positive operator bias and
 average negative operator bias applied at different levels of Synchronized Reserve




        515
           See PJM Tariff, Attach. K-Appendix, Section 3.2 - Market Buyers, 46.0.0,
 § 3.2.3A.02(b).
        516
          See PJM, Energy Price Formation Senior Task Force Uncertainty Data for
 ORDC, https://www.pjm.com/-/media/committees-groups/task-forces/epfstf/postings/30-
 minute-uncertainty-data.ashx?la=en.
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 surplus, similar to the analysis PJM presents in the instant filing.517 We direct PJM to
 post these data to its website within a reasonable timeframe after the conclusion of each
 calendar month, beginning with the month in which the modified ORDCs are
 implemented, and to continue this practice for at least eight years.

                           d.     Day-Ahead and Real-Time Market Alignment

                                  i.    PJM’s Proposal

        PJM proposes to align its day-ahead and real-time reserve markets—i.e., to
 procure the same reserve products to meet the same reserve requirements in both
 markets.518 PJM proposes to amend its market rules to procure, in both markets, one
 30-minute Reserve product (Secondary Reserve) and two 10-minute Reserve products
 (Synchronized and Non-Synchronized Reserve). PJM explains that it will procure all
 reserve products using ORDCs based on the principles discussed in the ORDC sections
 above, using its joint co-optimization algorithm to achieve the least-cost solution.
 PJM states that to minimize modeling differences between the day-ahead and real-time
 markets, for each reserve product, PJM will use the same ORDCs (that is, they will be
 modeled on the same uncertainties and uncertainty time horizons) in both markets. PJM
 adds that there may be small deviations in the MRRs between the day-ahead and the real-
 time markets because the size of the largest system contingency (the driver behind the
 MRR) will potentially be different and possibly change throughout the operating day.
 PJM states that notwithstanding that minor difference, it will calculate the curves
 identically.519

         PJM argues that alignment will (1) ensure that PJM has a forward procurement
 process for all reserve products needed in real time, putting PJM on par with other
 RTOs/ISOs; (2) ensure that PJM is minimizing the procurement costs by considering all
 product-specific requirements during the commitment of units for the next operating day;
 (3) eliminate modeling discrepancies between the day-ahead and real-time markets,
 which provide opportunities for profitable virtual transactions that do not benefit the
 market through price convergence; and (4) establish incentives for resources to perform
 in real time because resources with scheduled reserves in the day-ahead market will be
 required to “buy out” of their position in real time, as done today in the energy market. 520


        517
              PJM Transmittal, Pilong Aff. ¶ 5, tbl.1; PJM Answer, Pilong Reply Aff. ¶ 3.
        518
              PJM Transmittal at 72.
        519
              Id. at 74.
        520
              Id. at 72-73.
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        PJM further states that adding the 10-minute Reserve products to the day-ahead
 market will foster more efficient prices, moving day-ahead prices closer to what can be
 expected in real time. PJM also claims that the addition will provide for a more optimal
 commitment for 10-minute Reserves because PJM will assign the reserves as part of a
 least-cost co-optimization. In addition, PJM states the more comprehensive and optimal
 commitment process will help ensure, to a greater extent, that real-time reserves are
 consistently adequate.521

         PJM states that adding a 30-minute Reserve product to the real-time market will
 ensure that PJM system operators can systematically (1) respond to various forecast
 errors (e.g., load, wind, solar, and net interchange); (2) backfill the 10-minute Reserve
 Requirement in the event such reserves are called upon; and (3) recover from larger
 losses of resources that could result from a contingency on the interstate natural gas
 pipeline system.522

        To add the 30-minute Reserve Requirement to the real-time market, PJM proposes
 to rename the current Day-Ahead Scheduling Reserve product as Secondary Reserve.
 PJM states that because Secondary Reserve will now have a performance obligation and
 will be procured in the same general manner as Synchronized Reserve and Non-
 Synchronized Reserve, PJM is adding new market rules describing Secondary Reserve
 and providing for the clearing of Secondary Reserve based on those for Synchronized
 Reserve and Non-Synchronized Reserve.523 PJM states that the proposed revisions
 (1) describe the types of resources eligible to provide Secondary Reserve; (2) require
 PJM to obtain and maintain sufficient Secondary Reserves (plus Synchronized and
 Non-Synchronized Reserves) to meet the 30-minute Reserve objectives for each
 applicable Reserve Zone and Reserve Sub-Zone; and (3) provide that a resource’s
 Secondary Reserve capability is its ability to increase energy or reduce demand within
 30 minutes, minus its ability to increase energy or reduce demand within 10 minutes.524
 That is, Secondary Reserve is the remainder of the capability a resource can provide




        521
              Id. at 74-75.
        522
              Id. at 75.
        523
              Id. at 76-77.
        524
           See Operating Agreement, Schedule 1, § 1.7.19A.02 (20.0.0). PJM states that
 this new section generally mirrors sections 1.7.19A(a)-(c) and sections 1.7.19A.01(a)-(c),
 which set forth the same requirements applicable to Synchronized Reserve and Non-
 Synchronized Reserve, respectively. PJM Transmittal at 77.
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 within 30 minutes, after accounting for its capability to provide Synchronized Reserve or
 Non-Synchronized Reserve.525

        PJM also is adding rules to schedule and dispatch Secondary Reserve, based on
 the existing provisions for Synchronized Reserve.526 Similarly, PJM proposes to
 overhaul the rules for Day-Ahead Scheduling Reserve governing offers, charges, credits,
 and market clearing prices to align the rules with the provisions for Synchronized
 Reserve.527 However, PJM states that the provisions for Secondary Reserve diverge from
 those for Synchronized Reserve in two substantive respects. First, offline resources can
 provide Secondary Reserve. Second, PJM is proposing that the non-performance penalty
 for Secondary Reserve apply only when PJM dispatches an offline generation resource
 for energy and it fails to come online within 30 minutes, or when PJM reduces a demand
 response resource for energy and it fails to reduce load.528 PJM also proposes not to
 allow resources to submit a stated offer price for Secondary Reserve, as they currently do
 for Day-Ahead Scheduling Reserve; instead, such supply offers will be at $0.00/MWh.529

         Finally, PJM proposes to make its must-offer requirement for Capacity Resources
 and online generation resources more explicit and extend it to cover Secondary Reserve
 and not only Synchronized and Non-Synchronized Reserves.530 PJM proposes to clarify
 that all Generation Capacity Resources must offer all available reserve capability at all
 times, regardless of whether the resource is online or offline.531




       525
             Id.
       526
             Id. at 77-78 (citing Operating Agreement, Schedule 1, § 1.11.4(C).
       527
             Id. at 78 (citing Operating Agreement, Schedule 1, §§ 1.10.1A(j), 3.2.3A.01).
       528
            Id. (citing Operating Agreement, Schedule 1, § 3.2.3A.01(h)). PJM sets out
 the rules for penalizing the resources in sections 3.2.3A.01(h)(i)-(ii).
       529
             Id. at 83 (citing Operating Agreement, Schedule 1, § 1.10.1A(m)(i)(3)).
       530
          Id. at 80 (citing Operating Agreement, Schedule 1, §§ 1.10.1A(j)(i)(1),
 1.10.1A(m)(i)(1)).
       531
             Id. at 80-81.
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                               ii.   Comments and Protests

       In addition to parties that support the Reserve Market Proposal in its entirety,
 Dominion, EPSA, ETI, and FirstEnergy express support specifically for the proposed
 day-ahead and real-time market alignment.532

         Noting that there is no NERC requirement to maintain 30-minute Reserves, the
 IMM argues that PJM provides no operational justification for its proposed Secondary
 Reserve product.533 The IMM also argues that PJM’s proposal for Secondary Reserves
 does not treat all resources equally. The IMM explains that the proposed Secondary
 Reserve product fails to include any of the 5,044 MW of pre-emergency and emergency
 demand response available to the market in 30 minutes.534 On the other hand, the IMM
 states, PJM allows any generator submitting start and notification times less than 30
 minutes to participate, even though some of these generating units do not maintain staff
 at the unit that would allow them to start within 30 minutes.

         CEA similarly argues that PJM’s proposal for Secondary Reserves is not just and
 reasonable and is unduly discriminatory because it fails to recognize the capability
 of demand response resources and unduly blocks this technology from serving as
 reserves.535 CEA states that PJM’s proposal fails to satisfy Order No. 719’s criteria
 that shortage pricing be designed to facilitate robust demand response and to ensure
 comparability in treatment of all resources.536 CEA argues that PJM’s proposal
 discriminatorily ignores the reserve capability that capacity demand response resources—
 the majority of demand response resources within PJM—are already obligated to provide
 within 30 minutes during pre-emergency and emergency conditions, which CEA argues
 is the functional equivalent of the proposed Secondary Reserve product.537 CEA argues
 that by ignoring the capability of capacity demand response resources, PJM’s proposal



       532
           Dominion Comments at 8 (citing PJM Transmittal at 73-74); EPSA Comments
 at 22-23; ETI Comments at 6-7; FirstEnergy Comments at 3.
       533
             IMM Protest at 55 (citing PJM Transmittal at 14, 76).
       534
         Id. (citing Monitoring Analytics, LLC, 2019 State of the Market Report for
 PJM: January through March, Vol. II, Section 6: Demand Response at tbl.6-20 (2020)).
       535
             CEA Protest at 17.
       536
             Id. at 17-20.
       537
             Id. at 20-21.
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 will lead to false scarcity events, which are costly to customers.538 CEA states that PJM
 could have readily accounted for the capability of capacity demand response resources by
 factoring them into the ORDC for Secondary Reserves, or by treating them as supply.

        The IMM argues that PJM’s proposed penalty for when a resource fails to provide
 Secondary Reserves is insufficient. The IMM states that the proposed penalty only
 applies when PJM dispatches an offline unit during a period for which it has cleared
 Secondary Reserves.539 The IMM contends that the situation that would invoke the
 penalty is not likely to occur because PJM dispatchers call the resource before issuing a
 dispatch instruction. The IMM claims that if the resource is not able to start, the
 dispatchers’ usual practice is to dispatch a different resource. Therefore, the IMM states,
 the resource that cannot start receives no dispatch instruction and may continue to clear
 reserves. In sum, the IMM states that PJM’s proposal for Secondary Reserves does not
 include adequate performance incentives.540

                                iii.   Answers

         PJM responds to CEA’s protest by arguing that capacity-only demand response
 resources registered in PJM’s emergency load and pre-emergency programs should not
 be allowed to provide Secondary Reserves.541 PJM notes that under the Tariff and the
 Reliability Assurance Agreement, such demand response resources are only “available
 for dispatch during PJM-declared pre-emergency events and emergency events.”542
 PJM explains that pre-emergency and emergency events may only be called in specific
 circumstances, and PJM does not intend to alter those triggers in this proceeding. PJM
 states that such resources are therefore treated comparably to maximum emergency
 generation, which also is not eligible to provide reserves under the current or proposed




        538
            Id. at 24-25 (noting that capacity demand response resources could easily make
 the difference between Secondary Reserves clearing near zero and clearing at the Penalty
 Factor).
        539
              IMM Protest at 55 (citing PJM Transmittal at 78).
        540
              Id. at 55-56.
        541
              PJM Answer at 67-68 (citing CEA Protest at 20-25).
        542
            Id. at 68 (citing Reliability Assurance Agreement Among Load-Serving
 Entities in the PJM Region, Schedule 6, § A.6; PJM Tariff, Attach. DD-1, § A.6).
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 rules.543 PJM states that given the limitation on when all the resources listed above are
 required to respond, it would not be good utility practice to rely on them to maintain
 reserves. PJM notes that load response resource sellers that desire to participate in the
 energy and ancillary services markets may register their resources as economic load
 response participants, under both the current and proposed market rules.544

                               iv.    Commission Determination

         We adopt as part of the just and reasonable replacement rate PJM’s proposal to
 align its day-ahead and real-time reserve markets. We agree with PJM that the alignment
 should lead to lower procurement costs while providing incentives for resources to
 perform in real time. We also agree with PJM that the new 30-minute Secondary Reserve
 product will better allow PJM system operators to respond to forecast errors, backfill the
 10-minute Reserve Requirement, and recover from pipeline contingencies. We thus
 disagree with the IMM that PJM provides no operational justification for it proposed
 Secondary Reserve product.

         We also disagree with the IMM’s and CEA’s arguments regarding pre-emergency
 and emergency demand resources. As PJM notes in its answer, these demand resources
 are available for dispatch only during PJM-declared pre-emergency events and
 emergency events. PJM therefore cannot rely on these resources to maintain reserves
 outside of these events. We therefore decline CEA’s request that we require that PJM
 treat pre-emergency and emergency demand response as uncertainty-mitigating factors
 in constructing its ORDCs. As PJM notes, sellers of demand resources that wish to
 participate in reserves markets can do so through PJM’s economic program.

        The IMM claims that some generating units offering 30-minute Reserves do not
 maintain enough staff to allow the units to start within 30 minutes. The IMM also claims
 that PJM dispatchers typically ask resources whether they can perform before dispatching
 them, allowing resources that cannot perform to continue to clear reserves. The IMM
 provides no evidentiary support for these assertions. These concerns are also beyond the
 scope of this proceeding. PJM’s existing rules include a 30-minute Reserve product in

        543
           Id. (citing Operating Agreement, Schedule 1, § 1.7.19A(a) (“Synchronized
 Reserve can be supplied from non-emergency generation resources and/or Demand
 Resources located within the metered boundaries of the PJM Region.”); Operating
 Agreement, Schedule 1, § 1.7.19A.01(a) (“Non-Synchronized Reserve shall be supplied
 from generation resources located within the metered boundaries of the PJM Region.
 Resources, the entire output of which has been designated as emergency energy, and
 resources that aren’t available to provide energy, are not eligible to provide Non-
 Synchronized Reserve.”)).
        544
              Id. (citing Operating Agreement, Schedule 1, § 1.5A.3).
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 the day-ahead market, so any claims of lack of preparation or accountability for resource
 performance do not arise from the alignment of day-ahead and real-time reserve products
 that we adopt here. We are therefore not persuaded that the IMM’s concerns render the
 market alignment change unjust and unreasonable.

                           e.     Resource Eligibility and Reserve Capability

                                  i.    PJM’s Proposal

         PJM proposes a must-offer requirement for reserves to avoid potential withholding
 concerns; however, it notes that not all resource types are capable of providing reserves
 and are therefore exempt from the must-offer requirement. PJM states that these resource
 types, including nuclear, wind, and solar, are currently automatically not considered for
 reserves, but may notify PJM if the resource is capable of reliably providing reserves.545

         PJM proposes to utilize its current practice of determining each resource’s
 available capability to provide Tier 1 reserves based on the resource’s energy offer
 parameters and extend the practice to all reserve products in both the day-ahead and real-
 time markets, for both Generation Capacity Resources and non-capacity resources.546
 PJM argues that using separate data for energy and reserve offers is superfluous. For
 Synchronized Reserve, PJM proposes that the reserve capability be determined based
 on the resource’s current performance and initial energy output, its ramp rate, and the
 lesser of the Economic Maximum and Synchronized Reserve maximum.547 Because
 some resources, such as those with duct burners, have operating configurations that may
 prevent them from reliably providing additional Synchronized Reserve, PJM proposes to
 allow Market Sellers to justify and set a maximum Synchronized Reserve offer parameter
 that is lower than their Economic Maximum.548 For Non-Synchronized Reserves, PJM
 proposes to base the reserve capability on the start-up and notification time, in addition to
 the ramp rate and Economic Maximum.549 For Secondary Reserves, PJM proposes to
 follow a similar approach to that of Synchronized Reserve for online resources and Non-
 Synchronized Reserves for offline resources. However, PJM will consider condense-to-



        545
              Id. at 80-82.
        546
              Id. at 88.
        547
              Id. at 88-89.
        548
              Id. at 89.
        549
              Id.
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 generation time constraints and will use the lesser of the Economic Maximum and the
 Secondary Reserve maximum MW values in its determination.550

         PJM proposes to strengthen its market rules to require Market Sellers to specify,
 in their offer data, ramping rates that accurately represent the resource’s capabilities
 and accommodate the limitations of PJM’s software, which does not allow the ramping
 capability of combined-cycle units and units with duct firing ranges, among other
 configurations, to be perfectly modeled. PJM states that its proposal allows resources
 to make modifications to ensure that they offer all their available ramping capability
 and prevents withholding through the submission of inaccurate ramp rates.551

         PJM states that its current market rules provide each load-serving entity with
 an obligation for Synchronized Reserve and Non-Synchronized Reserve for each hour
 based on its total real-time load in each Reserve Zone or Reserve Sub-Zone. PJM
 explains that these entities are allocated a share of the cost of reserves based on their
 obligation.552 PJM proposes to apply the same practice to Secondary Reserve and
 establish an obligation for each load-serving entity based on each load-serving entity’s
 total load in each Reserve Zone or Reserve Sub-Zone.553

        Finally, PJM proposes to increase from 33% to 50% the limit on the amount of
 demand resources that can be counted towards the Synchronized Reserve Requirement
 and the 30-minute Reserve Requirement.554




        550
              Id. at 89-90.
        551
            Id. at 90-91. PJM will also allow Market Sellers to make updates to reserve
 offers, including ramping rates, each hour up to 65 minutes before the applicable
 clock hour and allow Market Sellers to submit offers that vary by hour. Id. at 91.
        552
          Id. at 106. PJM explains that this obligation is further offset by any self-
 scheduled Synchronized Reserve MW.
        553
           Id. at 106-07. PJM also explains that the obligation can be adjusted
 through bilateral contracts.
        554
            Id. at 95-96. PJM notes that the current demand response limit for
 Synchronized Reserve is not stated in the tariff, but rather in PJM Manual 11,
 Section 4.2.8. PJM proposes to include it in the tariff as part of its proposal.
 Id. at n.228.
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                               ii.    Comments and Protests

        IPI argues that the Commission should require PJM to implement a process for
 establishing eligibility to participate in the reserve market.555 IPI states that PJM’s
 Reserve Market Proposal does not clearly permit a number of resource types that are
 technically capable of providing reserves to do so.556 IPI explains that neither PJM’s
 current Operating Agreement nor the Reserve Market Proposal specifies the types of
 resources that are eligible to participate as reserves; rather, Synchronized, Non-
 Synchronized, and Secondary Reserve are defined to include those resources that are
 “capab[le] . . . of be[ing] converted fully into energy” within the required timeframe
 specific to that reserve type.557 IPI argues that these definitions depend on a judgment
 about what resources are deemed capable of providing energy when called upon, yet PJM
 does not identify any particular criteria by which it will make such an evaluation.558 IPI
 goes on to explain that PJM’s filing states that wind, solar, and nuclear units would not
 automatically be deemed eligible, but that these resources can request an exception from
 PJM.559 However, IPI explains, neither PJM’s business practice manuals nor the form
 instructing resources to request an exception by email specifies any criteria by which
 PJM will evaluate a resource’s request.560 IPI argues that the lack of clarity surrounding
 which resources qualify for reserves serves as a barrier to reserve market participation
 and leaves too much discretion to PJM.561 To ameliorate this issue, IPI requests that the
 Commission require PJM to include in any replacement rate a transparent process by
 which all resources—including wind, solar, and nuclear resources—may demonstrate that
 they are technically capable of providing reserves, and the criteria by which PJM will
 evaluate such requests.562




       555
             IPI Comments at 14-17.
       556
             Id. at 14.
       557
             Id. (citing PJM Transmittal, Attach. A).
       558
             Id. at 14.
       559
             Id. at 15-16 (citing PJM Transmittal at 81-82).
       560
             Id. at 16.
       561
             Id. at 16-17.
       562
             Id. at 17.
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         Vistra seeks clarification on how reserve capability and performance will be
 measured. Vistra argues that accurate ramp rates can be challenging for certain
 resources, such as combined cycles and resources with duct burning capabilities. Vistra
 requests that PJM’s proposed rules provide additional flexibility with respect to ramping
 rates.563 Vistra explains that Market Sellers are permitted to provide only a single daily
 ramp rate curve. Because ramp rates are dependent on ambient air temperature and
 humidity, Vistra argues that a resource may need to update its ramp rate during the
 day when weather forecasts differ. Vistra also explains that a resource’s ramp rate can
 change when it is moving between dispatch set points, since the output-segment ramp
 rates may not match with the output segments for a resource’s offer curve.564 Vistra
 requests that the Commission clarify that the requirement to submit accurate ramp
 rates should not be read outside the context of PJM’s concern related to intentional
 withholding of reserve capability. Vistra notes that frequent ramp rate updates increase
 the likelihood of unintentional error, especially in light of PJM’s market software
 limitation.565

        The IMM argues that PJM’s current process of deselecting resources for
 Synchronized Reserve and lowering resource ramp rates using the Degree of Generator
 Performance (i.e., operator interventions to alter resource offers in the IT SCED engine)
 are not just and reasonable and should be disallowed.566

        UCS advocates that PJM should develop accurate data on reserves, even when
 generators omit reserve capability in their offer parameters.567 UCS argues that under-
 reporting of reserve capability by PJM generators is widespread and that it reduces
 reserves available in cold weather.568 Specifically, UCS points to the fact that thermal
 generation in PJM has a higher power rating for the same equipment when operated in
 lower ambient temperatures. UCS argues that a fully accurate inventory of winter and
 summer generating reserve capability would reflect generators’ performance across the
 range of ambient temperatures. UCS asserts that PJM should not be denied access to

        563
              Vistra Comments at 5-6.
        564
              Id. at 12-13.
        565
              Id. at 13-14.
        566
              Id.
        567
              UCS Protest at 4.
        568
              Id. at 5.
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 available reserves as a result of generator under-reporting, given the critical importance
 of maintaining adequate reserves.569 UCS states that there is a lack of incentive in PJM’s
 markets for resources to offer increased output in colder weather, but that this capability
 ought to be visible to PJM. Finally, UCS explains that PJM’s practices should properly
 reflect the level of reserves in a way that is transparent and consistent with the market;
 for example, generator capability (specifically the Economic Maximum), as a market
 parameter, could be raised when PJM issues a Cold Weather Alert.570

        Calpine and LS Power argue that PJM’s proposal to allocate the cost of reserves
 only to load is potentially unjust, unreasonable, and unduly preferential and
 discriminatory because it allows some generation resources, like a nuclear plant
 incapable of providing reserves, to benefit from higher energy and ancillary services
 prices while excusing those same resources from any performance obligations and
 from having to bear a share of the cost of procuring reserves.571

        CEA and the IMM argue that PJM should eliminate the cap on demand resources’
 participation in the reserves market.572 CEA argues that the proposed limits on demand
 resource participation in reserve markets (no more than 50 of MRRs) have no reliability
 basis and are thus unduly discriminatory.573 CEA explains that the proposed caps derive
 from existing caps on demand resources in reserve markets, which the Commission
 should not rely on to determine whether the new proposed caps are reasonable or
 discriminatory, particularly when Synchronized Reserve performance data over the past
 four years shows almost identical response rates from demand resources and generation
 resources.574 CEA states that demand resources are a powerful tool to mitigate the




        569
              Id. at 7.
        570
              Id. at 8.
        571
              Calpine and LS Power Comments at 7-8.
        572
              CEA Protest at 25-26; IMM Protest at 74.
        573
              CEA Protest at 25.
        574
              Id. at 26.
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 projected cost impact of PJM’s proposed market reforms.575 Similarly, the IMM argues
 that there should be no cap on demand resource participation in the reserve markets.576

                                iii.   Answers

        PSEG agrees with certain commenters’ proposed modifications to the Reserve
 Market Proposal and states these modifications would provide confidence to consumers
 that outcomes will be fair without sacrificing appropriate market design.577 Specifically,
 PSEG states it would support greater participation by demand resources, provided these
 resources were also subject to a must-offer requirement in the energy market.578

         PJM states that, upon review of the comments raised, it acknowledges that it
 would be just and reasonable for the Commission, in the context of a comprehensive
 order addressing the reserve pricing issues raised by PJM in this proceeding, to lift the
 cap on demand resource participation and allow demand resources to compete to provide
 reserves without limit.579 PJM states that, because demand resources historically have
 never come close to approaching even the existing reserve participation limits, PJM does
 not at this time see a present reliability reason to maintain the caps.580

        PJM notes that the Degree of Generator Performance adjustment is applied to a
 resource’s ramp rate that provides Tier 1 reserves because it is only an estimate of what
 the resource is capable of doing. Conversely, PJM states that Tier 2 reserves is not an
 estimate, but an assignment based on submitted offer data. PJM explains that the Degree
 of Generator Performance adjustment is employed to ensure that the PJM dispatcher has
 the best reasonable estimate of the response it can expect from resources, should reserves
 need to be deployed. PJM notes that the consolidation of the Tier 1 and Tier 2 reserve
 products into a single product eliminates the need to adjust market data.581


        575
              Id.
        576
              IMM Protest at 74.
        577
              PSEG Answer at 27.
        578
              Id.
        579
              PJM Answer at 67.
        580
              Id.
        581
              Id., Pilong Reply Aff. ¶¶ 3-6.
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                               iv.   Commission Determination

         We largely adopt as part of the just and reasonable replacement rate PJM’s
 proposal to impose on some resource types a must-offer requirement for reserves, and
 to determine resources’ eligibility for providing reserves in a manner similar to PJM’s
 current practice with regard to Tier 1 reserves. We also adopt PJM’s requirement for
 Market Seller’s to submit offer data to PJM that is an accurate representation of the
 resource’s capabilities given the confines of the PJM software.582 However, we find
 that certain protestors’ arguments have merit and that additional clarity on how PJM’s
 eligibility determinations will be made is necessary. We therefore direct modifications
 to PJM’s proposal, as discussed below.

         IPI raises concerns over the lack of a transparent process or outline of criteria
 in how PJM determines eligibility for resources providing reserves. We agree
 with IPI that PJM’s tariff should contain clear provisions on: (1) resource classes
 that PJM has designated as incapable of providing reserves, for each reserve product;
 (2) the exemption process PJM will use to determine reserve eligibility if a resource is
 automatically deselected from providing reserves; and (3) the process by which PJM
 will communicate this information and determination to the Market Seller. Accordingly,
 we direct PJM to include in its compliance filing within 45 days of the date of this
 order revisions to its Tariff and Operating Agreement to clarify the process through
 which PJM will determine resource eligibility to provide reserves.

        Vistra raises concerns over how reserve capability and performance will be
 measured, given the difficulties associated with predicting capability for certain resource
 types, based on configurations or whether they contain duct burners. PJM agrees with the
 inherent difficulty of this task and has provided an option for Market Sellers to submit a
 Synchronized Reserve maximum figure, which is submitted in the day-ahead market and
 updated in real time, and against which PJM will measure performance. We note that the
 PJM Tariff already provides guidance on ramp-limited MW values and whether they fall
 within permissible bandwidths by determining differences between the UDS Basepoint
 and the actual amount MW produced.583 However, we agree that Market Sellers should
 work with PJM to determine how these values should be submitted, given current
 software limitations. We find that PJM should provide a mechanism, within the Tariff,
 to help guide the determination of reserve capability that PJM will use as an input when
 determining the Synchronized Reserve maximum. Accordingly, we direct PJM to


        582
           See proposed Operating Agreement, Schedule 1, § 1.7.19. We note that
 subsequent to the instant filing PJM has proposed additional amendments regarding
 ramp rate flexibility in Docket No. ER20-1414-000.
        583
              See Operating Agreement, Schedule 1, § 3.2.3(o).
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 include in its compliance filing within 45 days of the date of this order revisions to its
 Tariff and Operating Agreement to provide for a process whereby Market Sellers can
 work with PJM to establish reserve capability for resources of this type.

         Vistra requests clarification that the ramp-rate values submitted to PJM should not
 be interpreted as withholding, given the limitations with PJM’s modeling. As explained
 above, Market Sellers can submit the Synchronized Reserve maximum to denote any
 limitations on output. PJM will then use this figure in conjunction with the ramp rates to
 determine reserve capabilities. Because the Tariff revisions we adopt herein require that
 the ramp-rate information that Market Sellers submit be an accurate representation of a
 resource’s capabilities, we do not view this as creating a withholding concern.584 We
 encourage Market Sellers to work with PJM to discuss any concerns over submitted offer
 parameters.

         The IMM argues that PJM should not be allowed discretion to adjust resource
 ramp rates in the IT SCED engine using the Degree of Generator Performance
 adjustment. PJM notes that the consolidation of the Tier 1 and Tier 2 reserve products
 into a single product eliminates the need to adjust market data. Based on the record, and
 our acceptance of PJM’s proposed replacement rate noted above, we reject the IMM’s
 concern as moot.

        Similarly, UCS argues that a fully accurate inventory of winter and summer
 generating reserve capability would reflect generators’ performance across the range
 of ambient temperatures, but that generators’ greater thermal efficiency in colder
 temperatures, and thus higher potential output of energy or provision of reserves, is not
 reflected in PJM’s assessments of energy and reserves that could be available to PJM
 operators in the winter period. While there may be merit in UCS’s contention regarding
 generators’ varying output potential depending on ambient temperature, we do not
 find that it is necessary for PJM’s assessment of reserve capability to account for that
 variability in order to be just and reasonable. We therefore decline to direct such changes
 to PJM’s existing practice at this time.

        Calpine and LS Power argue that PJM’s decision to allocate the cost of reserves
 only to load is potentially unjust and unreasonable because it allows some resources to
 benefit from higher prices while not having to provide reserves or pay for reserves.
 We disagree. This concern appears to stem from PJM’s eligibility rules for providing
 reserves. However, what PJM proposes here is merely an extension of its current practice
 in assessing Tier 1 reserve capability, a practice that reflects PJM’s assessment of the
 operational capabilities of various technology types. To the extent certain technology
 types are incapable of meeting the eligibility standard for providing reserves due to


        584
              See proposed Operating Agreement, Schedule 1, § 1.7.19.
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 operating limitations, it is reasonable for PJM to prohibit those technology types from
 providing reserves. In addition, while we acknowledge reserve prices will often be
 reflected in energy prices that resources of the cited technology types will receive if
 they are in merit for providing energy, these resources will not receive reserve revenue
 due to their ineligibility to provide reserves. We therefore disagree with Calpine and
 LS Power’s characterization that these resources will benefit from higher prices despite
 not providing reserves. On the contrary, they will simply receive energy revenue for
 their provision of energy—a logical and appropriate result.

        We agree with PJM, CEA, and the IMM that it is reasonable to remove the
 existing cap on demand resource participation in the reserve markets as part of the
 replacement rate we adopt here. With both protestors and PJM agreeing that removal
 of the cap presents no reliability concerns, and CEA pointing to nearly identical
 Synchronized Reserve response rates from demand resources and generation resources
 during Synchronized Reserve events over the past four years, we see no justification for
 continuing to restrict the degree to which demand resources can contribute to meeting
 the MRRs. Thus, we require PJM to submit as part of its compliance filing within
 45 days of the date of this order Tariff and Operating Agreement revisions removing
 the cap on the percentage of MRRs that can be met by demand resources.

                        f.     Other Concerns

                               i.    PJM’s Proposal

         PJM proposes to discontinue its current practice of including opportunity costs for
 offline resources and synchronous condensers in reserve market pricing and settlements.
 PJM argues that these resources do not have opportunity costs because they would not
 have been dispatched in economic merit order to provide energy regardless of whether
 they were needed for reserves. PJM adds that these resources cannot start quickly
 enough to capture profit within the five-minute LMP, which is the basis for opportunity
 costs.585

                               ii.   Comments and Protests

        Dominion argues that the Commission should reject PJM’s proposal to set the
 energy opportunity costs for offline resources to zero for settlement purposes.586
 Dominion disagrees with PJM’s argument that offline resources are often offline and
 available for reserves rather than online and providing energy because it is not economic
 for them to provide energy once the resource’s fixed costs (e.g. start-up and no-load

        585
              PJM Transmittal at 84-85.
        586
              Dominion Comments at 8-9.
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 costs) are taken into account along with the effect on energy prices when the resource
 is committed.587 Dominion argues that a resource that receives a Non-Synchronized
 Reserve commitment is agreeing to provide offline reserves and is foregoing revenues
 that it could otherwise receive in the energy market.588 Specifically, Dominion explains
 that a quick-start offline resource that is providing Non-Synchronized Reserve may
 decide it is more economic to go online when energy prices spike if it is already
 scheduled to start later in the day, and thus will not incur additional start-up costs or
 has very low start-up costs.589 Dominion contends that taking the assurance of energy
 margins away from a resource providing Non-Synchronized Reserve removes the
 incentive to follow PJM dispatch, treats offline resources differently from other
 resources, and is not sound market design.590

                             iii.   Commission Determination

         Dominion does not provide sufficient information for us to conclude that the
 replacement rate we adopt here is not just and reasonable in the absence of its requested
 change. PJM asserts that a resource that is offline and available for reserves is often in
 that state because the resource is not in economic merit order to provide energy once its
 startup and no-load costs and the effect of the its commitment on production cost and
 prices are considered. Put more simply, starting the resource to provide energy is not the
 economic decision at the time. Dominion states that there are situations where an offline
 resource in that situation may see a high energy price and wish to come online to provide
 energy to capture that price despite not having been committed by PJM. Dominion states
 that this may occur particularly if the resource anticipates the high prices to continue for
 a sustained period, such as an hour or longer. But in such a situation, the resource is
 making a self-commitment decision based on its own speculation about energy prices
 during future intervals. It is not clear based on the record before us whether PJM’s
 settlement methodology can or should account for such subjective decision-making on
 the part of the resource in determining an appropriate opportunity cost. In the absence of
 additional information on which to evaluate the legitimacy of Dominion’s claim, we are
 not persuaded that PJM’s proposal to set the opportunity cost of offline resources to zero
 is inappropriate.




        587
              Id. at 9.
        588
              Id.
        589
              Id.
        590
              Id.
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                  3.     E&AS Offset

                         a.     PJM’s Proposal

        PJM recognizes the interaction between the energy and ancillary services markets
 and the capacity market and states that these markets were designed to work together to
 ensure that competitive resources have the opportunity to earn revenues sufficient at least
 to cover their total costs.591 PJM explains that pursuant to its existing Tariff provisions,
 any additional energy and ancillary services revenues resulting from its Reserve Market
 Proposal will impact future capacity market prices via the E&AS Offset and its impact on
 Net CONE, which is used to set the capacity market demand curve, the VRR curve.592

        PJM states that the E&AS Offset was designed with a historical estimating
 approach to ensure that actual revenues received in the energy and ancillary services
 markets offset capacity revenues in future years, such that over the long term, the
 combination of all revenues from all markets is recognized, and not to “predict with
 certainty” the actual revenues received by a given resource in the energy and ancillary
 services markets in a specific delivery year.593 PJM explains that this approach was
 consciously chosen “with the knowledge that any predictions of actual future year energy
 and ancillary services revenues will be inherently wrong,” but as the best solution, “even
 given the timing mismatch between the years when the actual energy and ancillary
 services revenues are received and the future capacity revenues are realized.”594 PJM
 explains that any changes to energy and ancillary services revenues from the Reserve
 Market Proposal will be reflected in the historic data as those changes actually occur in
 the energy and ancillary services markets, and argues that this is precisely the manner in
 which the E&AS Offset was designed to work. 595 Therefore, PJM does not propose any



        591
            PJM Transmittal at 68 (“The PJM markets are designed to work in tandem to
 ensure that competitive resources have the opportunity to earn revenues sufficient to
 cover at least their total costs through the combination of revenue streams available given
 the various products.”).
        592
            Id. at 68-69 (noting that whether and to what extent a lower Net CONE will
 actually reduce capacity auction clearing prices depends on a variety of factors).
        593
              Id. at 69 (noting that Capacity Resources are typically long-term assets).
        594
              Id. at 69-70.
        595
            PJM estimates that its Reserve Market Proposal will increase energy and
 ancillary services billing by approximately $556 million. Id. at 69-70, 114.
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 changes to the E&AS Offset, or any other aspects of the capacity market, as part of its
 Reserve Market Proposal.

                      b.     Comments and Protests

        The Maryland Commission, IPI, the Ohio Commission, ODEC, OPSI, the PJM
 Load Coalition, CEA, and the IMM all argue that without an adjustment to the E&AS
 Offset, PJM’s Reserve Market Proposal should be rejected as unjust and unreasonable.596

         The Maryland Commission, IPI, the Ohio Commission, ODEC, OPSI, the PJM
 Load Coalition, CEA and the IMM argue that without changes to the E&AS Offset,
 PJM’s Reserve Market Proposal will lead to unjust and unreasonable capacity market
 outcomes, because without a transition mechanism, billions of dollars of capacity over-
 payments will result immediately.597 The Maryland Commission, IPI, OPSI, the PJM
 Load Coalition, CEA, and the IMM argue that failing to adjust the E&AS Offset will
 distort capacity prices and market entry and exit signals, because a failure to reflect the
 changes resulting from PJM’s proposal in the E&AS Offset will lead to an overestimate
 of Net CONE, which in turn affects the VRR curve, minimum capacity offer prices, and
 capacity market offer caps.598 IPI argues that an overestimate of Net CONE will cause
 inefficient capacity market outcomes, including an inappropriate over-procurement of




        596
           Maryland Commission Protest at 12-15, IPI Comments at 17-23, Ohio
 Commission Protest at 3-6, ODEC Protest at 12-13, OPSI Protest at 5-17, the PJM Load
 Coalition Protest at 44-48, 55-60; CEA Protest at 7-17, and the IMM Protest at 28, 51-55.
        597
            Maryland Commission Protest at 12; IPI Comments at 17; Ohio Commission
 Protest at 3-4; ODEC Protest at 12; OPSI Protest at 5, 8, 13-15; PJM Load Coalition
 Protest at 45-48, 57-58 (estimating $10 billion in over-recovery); CEA Protest at 3, 7, 10
 (noting that without a transition mechanism, the E&AS Offset will not fully reflect PJM’s
 proposed changes to the reserve market for seven years); IMM Protest at 51-53 (arguing
 that scarcity pricing in the energy and ancillary services market is equivalent to—i.e., a
 substitute for—capacity market revenue; thus, an increase in revenues from one of these
 should lead to a decrease in the other).
        598
           Maryland Commission Protest at 13; IPI Comments at 17-19; OPSI Protest at
 8-10; PJM Load Coalition Protest at 45, 57 (stating that PJM’s proposal will result in
 material reductions to Net CONE of 15-30%); CEA Protest at 10, 14-15 (“artificially
 high capacity market prices during the seven-year lag will continue to send signals that
 additional build is needed, while also ensuring at least some capacity resources that might
 otherwise retire stay online”); IMM Protest at 54.
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 capacity;599 high, uncompetitive prices;600 and potential market power concerns.601
 Further, IPI and CEA argue that inefficiencies in the capacity market will in turn yield
 unjust and unreasonable energy and ancillary services rates, as capacity market outcomes
 produce the resource mix that is available to supply energy and reserve demand, and
 that underestimating Net CONE and over-procuring capacity will dampen energy and
 ancillary services price signals needed to encourage the entry and operation of flexible
 resources.602

        IPI, OPSI, the PJM Load Coalition, CEA, and the IMM also argue that without
 an update to the E&AS Offset, PJM’s Reserve Market Proposal will result in double-
 recovery, and therefore customers being overcharged, due to the overlap between the
 capacity market and shortage pricing revenues in the energy and reserve markets.603
 CEA argues that it is not reasonable to rely on potentially lower capacity seller offers in
 the next three BRAs to mitigate the double-recovery.604




        599
           IPI Comments at 18 (citing PJM Interconnection, L.L.C., 167 FERC ¶ 61,029,
 at P 1 (2019) (Glick, Comm’r dissenting); PJM Interconnection, L.L.C., 147 FERC
 ¶ 61,108, at P 68 (2014)).
        600
              Id. at 18-19 (citations omitted)
        601
              Id. at 19 (citations omitted).
        602
              Id. at 20; CEA Protest at 10, 14-15.
        603
            IPI Comments at 20-21; OPSI Protest at 15 (noting that FERC has previously
 ordered PJM to modify proposals based on concerns about double-recovery) (citing PJM
 Interconnection, L.L.C., 167 FERC ¶ 61,030 at P 21); PJM Load Coalition Protest at 46-
 47 (“Under PJM’s proposal, consumers will unnecessarily be subjected to double charges
 that will produce false price signals and artificially inflate the costs to load of ensuring
 reliable power.”); CEA Protest at 10-12 (stating that the Commission has long recognized
 that failing to adjust for rising energy and ancillary services revenues in the capacity
 market threatens excessive costs to customers); IMM Protest at 28, 51-52, 54-55
 (“proposal to include scarcity rents in the energy market under normal operating
 conditions without an offset for the collection of the same scarcity rents through the
 capacity market is not just and reasonable”).
        604
           CEA Protest at 8-13 (arguing that failing to address overpayments is
 inconsistent with the Commission’s duty to protect customers from excessive rates).
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         IPI, ODEC, OPSI, the PJM Load Coalition, CEA, and the IMM reject PJM’s
 argument that no change to the E&AS Offset is needed because it is based on historical
 data and thus will eventually incorporate the additional energy and ancillary services
 revenues expected from the PJM proposal.605 IPI and OPSI explain that when FERC
 accepted use of a historical average approach, it did so based on reasoning that it was
 appropriate because “cyclical changes in net revenue are likely to average out;” but, the
 reserve market changes PJM proposes represent a systematic change explicitly designed
 to result in higher energy and ancillary services revenues, rather than a cyclical change
 that will average out.606 IPI argues that since approving PJM’s historical method, FERC
 has expressed reservations about the accuracy of an E&AS Offset based on historic
 prices, and that previous acceptance of the historical approach in a FPA section 205
 proceeding does not serve as precedent here, where the Commission has responsibility to
 fix a just and reasonable rate.607 ODEC argues that an update to the E&AS Offset is
 necessary, even if it cannot be determined to what extent the Reserve Market Proposal
 will increase energy and ancillary services revenues.608 Similarly, OPSI argues that the
 purpose of the E&AS Offset was never to create certainty, but rather to estimate energy
 and ancillary services revenues, and here PJM has provided a simulation comparison that
 provides its best estimate of revenue impacts of the proposal.609




       605
            IPI Comments at 21 (citing PJM Interconnection, L.L.C., 135 FERC ¶ 61,022,
 at P 48 (2011)); ODEC Protest at 13 (stating that a “phased-in impact of market redesign
 may be reasonable for other initiatives, but not here”); OPSI Protest at 8-10; PJM Load
 Coalition Protest at 47 (“[t]he current approach of relying on a historical three-year
 average E&AS [O]ffset calculation is only reasonable when historical performance
 reflects future outcomes.”); CEA Protest at 9-12 (arguing that because the ORDCs will
 be updated over time, the E&AS Offset will never catch-up with increasing revenues);
 IMM Protest at 54.
       606
            IPI Comments at 21 (citing PJM Interconnection, L.L.C., 135 FERC ¶ 61,022
 at P 48); OPSI Protest at 9-10; see also CEA Protest at 13 (stating that is a “massive
 overhaul of the energy and ancillary services market,” as compared to a “routine
 fluctuation in energy and ancillary services costs”).
       607
           IPI Comments at 22 (citing PJM Interconnection, L.L.C., 137 FERC ¶ 61,145
 (2011); PJM Interconnection, L.L.C., 143 FERC ¶ 61,090, at P 181 (2013)).
       608
             ODEC Protest at 13.
       609
             OPSI Protest at 12-13.
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        OPSI, CEA, and the IMM argue that the E&AS Offset is not outside the scope of
 this proceeding, because the over-recovery in the capacity market is a direct product of
 PJM’s administratively determined, ministerial proposal, and a proposal that leads to a
 double-payment for services cannot be just and reasonable.610

         IPI and OPSI state that the Commission should require PJM to adopt a forward-
 looking E&AS Offset as the just and reasonable replacement rate, or some other
 transition mechanism.611 OPSI argues that a forward-looking E&AS Offset “would
 recognize . . . market design change and be more responsive to changes in energy price
 inputs and other relevant factors.”612 The Ohio Commission argues that a transition
 mechanism that reflects changes to the E&AS Offset for all capacity auctions held after
 Commission approval of PJM’s proposal would be appropriate.613 ODEC and the PJM
 Load Coalition argue that the Commission should delay implementation of PJM’s
 proposed Tariff revisions until the next BRA where the E&AS Offset can reflect the
 increased energy and ancillary services revenues and include an estimate of the energy
 and ancillary services revenues rather than phasing in the increased revenues over
 three years.614 CEA and the IMM argue that multiple just and reasonable transition




       610
            Id. at 16; CEA Protest at 13-14; IMM Protest at 52 (“[PJM’s proposal] is about
 the entire PJM market design, including the reserve markets, the energy market and the
 capacity market and the interactions among them.”).
       611
           IPI Comments at 22-23 (noting that the Commission has approved the use of a
 forward-looking E&AS Offset in other RTO capacity markets); OPSI Protest at 10-11,
 18-23 (arguing that moving to a forward-looking E&AS Offset is appropriate because
 PJM’s proposed reserve market changes “represent an administrative change in the
 underlying price-setting algorithm”).
       612
             OPSI Protest at 23.
       613
           Ohio Commission Protest at 4-5 (explaining that PJM introduced an
 appropriate transition mechanism during stakeholder discussions).
       614
            ODEC Protest at 13; PJM Load Coalition Protest at 58-59 (arguing that no
 changes should be made to reserve market until PJM has accurate reserve market data
 that it can align with the capacity construct; then a transition mechanism should be
 implemented). Alternatively, the PJM Load Coalition argues that the Commission could
 truncate the ORDC during the transition years to minimize the over-recovery and double
 payments. PJM Load Coalition Protest at 60.
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 mechanisms exist, including adopting a forward-looking E&AS Offset.615 If a forward-
 looking E&AS Offset is adopted, the IMM states that it should “use energy prices from
 West Hub forward curves with basis differentials to CONE locations based on history;
 use fuel costs from forward markets with basis differentials to locations based on history;
 correctly account for the dispatch costs and dispatch parameters of the reference unit.”616

        OPSI and the IMM argue that PJM should also make adjustments for BRAs that
 have already been held, through some sort of true-up mechanism or delay/phase-in of
 implementation of PJM’s proposal.617 The IMM also argues that PJM should change its
 capacity market rules so that the maximum price in the capacity market is simply 1.5
 times Net CONE, and not the higher of Gross CONE or 1.5 times Net CONE, to allow
 capacity market prices to fall in response to additional scarcity revenues in the other
 markets.618

        Dominion and EPSA argue that the Commission should reject the requests to
 modify the E&AS Offset calculation to include forecasted revenues that could potentially
 accrue from the proposal.619 Dominion and EPSA argue that a proactive adjustment to
 the E&AS Offset is not necessary, because the offset was not intended to match actual
 revenues received by a resource in the energy and ancillary services markets in the
 specific delivery year, and any changes in revenues will naturally be accounted for in
 future E&AS Offsets.620 Further, EPSA states that the Commission recently found PJM’s
 backward-looking E&AS Offset methodology to be just and reasonable.621


        615
           CEA Protest at 16-17 (stating that other RTOs use a forward-looking E&AS
 Offset and that doing so has the benefit of ensuring all future market changes are
 reflected more rapidly in RPM outcomes; but, a forward-looking offset only addresses
 excess payments in delivery years beginning in 2024); IMM Protest at 68.
        616
              IMM Protest at 68.
        617
              OPSI Protest at 11, 23-28; IMM Protest at 53-54, 67.
        618
              IMM Protest at 68-71.
        619
              Dominion Comments at 7-8; EPSA Comments at 20-21.
        620
           Dominion Comments at 8 (arguing that an adjustment to the E&AS Offset
 using forecasted revenues would exchange a correction to price signals in the reserve
 market for poor prices signals in the capacity market); EPSA Comments at 20-21.
        621
           EPSA Comments at 21 (citing PJM Interconnection, L.L.C., 167 FERC
 ¶ 61,029 at P 119).
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        EPSA states that the Commission has previously rejected requests for out-of-cycle
 adjustments to the capacity market demand curves, finding that such adjustments cannot
 be made without considering all the cost and revenue components of the curves and that
 such adjustments promote uncertainty in the market.622 EPSA also argues that any
 proposed change to the E&AS Offset is beyond the scope of this proceeding, because
 PJM proposed no changes to its capacity market rules.623 EPSA asserts that requiring a
 forward-looking, out-of-cycle adjustment to the E&AS Offset in this proceeding would
 establish “dangerous precedent” and “invite requests for similar adjustments in the future
 based on market rule changes and other unforeseen developments.”624

                           c.     Answers

        PJM reasserts that its Reserve Market Proposal warrants no changes to the
 capacity market, noting that there have been numerous energy and reserve market
 reforms which did not prompt a wholesale review of the capacity market, a restructuring
 of the VRR curve, or a change to the E&AS Offset.625 PJM argues that the impact of
 the proposal on energy and reserve market revenues will be de minimis, and will have
 no material effect on the capacity market.626 PJM also explains that Capacity Resources
 are typically long-term assets, and that the E&AS Offset was never intended to precisely
 match the actual revenues received by a given resource in the E&AS markets in the
 relevant delivery year.627 Further, PJM argues that because it did not propose any

        622
          Id. at 20 (citing Indep. Power Producers of N.Y., Inc. v. N.Y. Indep. Sys.
 Operator, Inc., 125 FERC ¶ 61,311, at PP 33, 35 (2008)).
        623
              Id. at 21.
        624
              Id.
        625
           PJM Answer at 60-61 (citing Order No. 719 Compliance Order, 139 FERC
 ¶ 61,057 at P 226 (rejecting requests to change the E&AS Offset to reflect possibly
 higher energy prices resulting from shortage pricing reform)). PJM acknowledges that
 the proposed reforms may, over time, reduce reliance on the capacity market. Id. at 60.
        626
           Id. at 61-62 (noting that the energy and reserve markets settle for over
 $25 billion per year; compared to the potential $556 million per year increase in
 energy and reserve revenues resulting from its proposal).
        627
            Id. at 64 (“this approach was ‘consciously chosen’ with the knowledge
 that any prediction of actual future year energy and ancillary services revenues
 will likely be incorrect, and therefore using actual historic revenues received is a
 more rational solution, given the fundamental timing mismatch between the years
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 changes to the E&AS Offset in the FPA section 205 portion of its initial filing, any
 arguments related to the E&AS Offset are beyond the scope of this proceeding.628

         PJM rejects the IMM’s argument that point A on the VRR curve should be
 changed to equal 1.5 times Net CONE only (rather than the “higher of” 1.5 Net CONE or
 Gross CONE). PJM states that the IMM’s contention is based on the “belief that if
 [energy and ancillary services] revenues are sufficiently high such that the Net CONE is
 less than or equal to zero, that the VRR curve should be flat, which fails to recognize that
 energy and ancillary services revenues could be very high at times when PJM is not
 meeting its Installed Reserve Margin, and in these instances the markets should send a
 signal to attract new capacity despite the high energy and ancillary services revenues.”629

         PJM argues that commenters overlook numerous factors in arguing for E&AS
 Offset changes, including that: (1) simulating energy market revenues based on forecasts
 will result in Capacity Market Sellers trading known future capacity revenues for
 speculative, possible future energy and ancillary services revenues; (2) Net CONE is
 one of many assumptions embedded in the VRR curve, and that most capacity market
 clearing price changes will be due to Capacity Market Sellers changing offer behavior;
 (3) the magnitude of the energy and ancillary services revenue changes is likely to be
 well within the margin of error for the E&AS Offset, but forecasts of future energy prices
 are inherently uncertain and could be off by a substantial margin; (4) a short-term change
 to the E&AS Offset based on the perceived impacts of a market rule change would set
 bad precedent and increase inconsistency in E&AS Offset estimates over time, causing
 volatility in the capacity market; (5) even if PJM did propose a transition mechanism,
 LMP changes will be small and will make no difference in the VRR curve.630

        PJM asserts that if the Commission does find a transition mechanism is
 necessary—which it should not—it should not reopen already run BRAs or attempt to
 take back revenues, as business decisions have been made with respect to those auctions
 and changes would result in inequities.631 Further, PJM asserts that any transition

 when actual energy and ancillary services revenues are received and when future
 capacity revenues are realized”).
        628
              Id. at 63.
        629
            Id. at 62. Additionally, PJM argues that no set of simulations indicated that
 PJM’s proposal will cause energy and ancillary services revenues to reach such high
 levels that Net CONE could possibly reach zero. Id.
        630
              Id. at 65-66.
        631
              Id. at 66.
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 mechanism should be limited in scope and narrowly tailored. PJM states that that one
 measured approach to changing the E&AS Offset would be to weight the most recent
 year of energy and ancillary services revenues more heavily, on a prospective basis, to
 update the offset more quickly.632

         The IMM, CEA, OPSI, and the PJM Load Coalition argue that PJM’s market
 design requires tight coordination of the energy and capacity markets, and that not
 addressing the impact of the Reserve Market Proposal on the capacity market and the
 E&AS Offset leads to over-recovery and double-recovery, as well as distorted capacity
 market prices, and is not just and reasonable.633 CEA and the PJM Load Coalition argue
 that Commission precedent establishes that a transition mechanism is necessary to avoid
 double-recovery and ensure just and reasonable rates.634 CEA argues that PJM’s proposal
 is a significant market design change that alters the fundamental premise of the
 Commission’s prior determinations that a historic method for calculating the E&AS
 Offset yields “a reasonably accurate forecast.”635 Further, CEA states that the
 Commission has previously required system operators to institute measures to protect
 against over-recovery of revenues when making significant market design changes.636

        CEA and OPSI argue that unlike weather or fuel price uncertainties that could
 drive energy and ancillary services revenues higher or lower from one year to the next,
 which market participants can account for in the regular course of business, the Reserve
 Market Proposal is a systematic increase of revenues that is foreseen and quantifiable.637

        632
              Id.
        633
           IMM First Answer at 14-16; CEA Answer at 2-5 (noting broad support in the
 record for an E&AS Offset transition mechanism); OPSI Answer at 3, 5-6; PJM Load
 Coalition Answer at 4-7.
        634
           CEA Answer at 5-7; PJM Load Coalition Protest at 6 (arguing that it would be
 reversible error for the Commission to accept a proposal that causes customers to pay
 twice for a service) (citing NorAm Gas Transmission Co. v. FERC, 148 F.3d 1158, 1165
 (D.C. Cir. 1998) (citations omitted)).
        635
              CEA Answer at 5-6 (citing PJM Interconnection, L.L.C., 137 FERC ¶ 61,145
 at P 28).
        636
           Id. at 6 (citing ISO New England Inc., 118 FERC ¶ 61,163 (2007); ISO New
 England Inc., 133 FERC ¶ 61,013, at P 18 (2010); ISO New England Inc., 130 FERC
 ¶ 61,005, at P 8 (2010); PJM Interconnection, L.L.C., 167 FERC ¶ 61,030 at P 44).
        637
         Id. at 16-18; OPSI Answer at 8-10 (citing P3 Answer at 6-8); see also PJM
 Load Coalition Answer at 3-7.
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 Further, OPSI and the IMM disagree with the contentions of PJM and Calpine and LS
 Power that a $556 million over-recovery is de minimis, especially from the ratepayer’s
 perspective.638

         OPSI, the IMM, and the PJM Load Coalition reject PJM and EPSA’s arguments
 regarding the capacity market being beyond the scope of this proceeding, stating that the
 AEMA639 case PJM cites actually upholds the proposition that the Commission can act
 under section 206 of the FPA to make changes to a market after finding that changes in
 another market render its rules unjust and unreasonable.640 The PJM Load Coalition
 states that under a section 206 complaint, the Commission has the broad authority and
 obligation to fashion a just and reasonable replacement rate, which includes fixing the
 E&AS Offset, and argues that EPSA’s reliance on NRG Power Marketing, L.L.C. v.
 FERC, 862 F.3d 108 (D.C. Cir. 2017) (NRG), which addresses filings pursuant to
 section 205 of the FPA, is misplaced.641

         CEA and OPSI argue that proposals to delay implementation of the reforms and/or
 to weight historical years unequally are only partial solutions to the E&AS Offset
 concern.642 Further, OPSI states that maintaining the historical E&AS Offset calculation
 without reflecting the known increase in revenue that will result from PJM’s proposal
 would be inappropriate, as the E&AS Offset should reflect the “best estimate possible of
 the energy and ancillary services expected to be earned during the delivery year relevant
 for the auction, and, at a minimum, must be just and reasonable.”643 OPSI disagrees
 with Vistra and Calpine and LS Power that changes to the capacity market supply curve,
 through suppliers adjusting their capacity auction offers to reflect the anticipated reserve
 market design changes, is sufficient, arguing that it is equally important to have a just and


        638
           OPSI Answer at 7-8; IMM Second Answer at 24 (“If PJM believes that the
 change to the energy and reserve market revenues is de minimis, it is not clear why they
 made this filing.”).
        639
              Advanced Energy Mgmt. All. v. FERC, 860 F.3d 656 (D.C. Cir. 2017) (AEMA).
        640
           OPSI Answer at 4-5 (citing AEMA, 860 F.3d at 663-64; Pub. Serv. Comm’n of
 N.Y. v. FERC, 866 F.2d 487, 491 (D.C. Cir. 1986)); IMM Second Answer at 26-27.
        641
              PJM Load Coalition Answer at 3-6; see also OPSI Answer at 5-7.
        642
              CEA Answer at 12; OPSI Answer at 10-11, 15-16.
        643
            OPSI Answer at 9-10 (responding to P3’s argument that PJM should retain the
 historical E&AS Offset calculation); see also id. at 11-12 (arguing that ignoring seven
 years of over-recovery would not be just and reasonable).
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 reasonable capacity demand curve.644 Further, CEA states that PJM plans to review and
 update the ORDCs annually, which without a change to the methodology of the E&AS
 Offset, means systematic bias towards excessive capacity prices.645

          CEA states that commenters proposed numerous workable transition methods for
 both the BRAs that have already been run and those that have not yet been run, including
 true-ups, offsets, or feedback mechanisms; however, these proposals are all “solution
 concepts” that would require further development by stakeholders, which could occur
 at the direction of the Commission.646 CEA argues that the simplest approach to the
 E&AS Offset issue is to shift to a forward-looking methodology, and that such an option
 is not precluded by the Commission’s prior approval of the backward-looking offset
 methodology.647 The IMM also supports a forward-looking offset, pointing out that
 PJM has consistently argued for a forward-looking E&AS Offset in the past and that
 it is illogical for PJM to argue against a forward-looking calculation because it may not
 be 100% accurate, when it admits that the backward-looking calculation was consciously
 chosen with the knowledge that the estimates would likely be incorrect.648 CEA argues
 that commenters incorrectly state that adjusting the VRR curve will set dangerous
 precedent and will invite requests for similar adjustments in the future; rather, CEA states
 that moving to a forward-looking offset methodology will actually improve the accuracy
 of the VRR curve in light of future market rule changes or declining energy costs.649




        644
              Id. at 12-13.
        645
              CEA Answer at 13.
        646
              Id. at 7-16.
        647
          Id. at 14-16 (arguing that to develop a forward-looking E&AS Offset, the
 Commission should order PJM to conduct a stakeholder process, or initiate settlement
 proceedings to determine the price indices and other elements of the calculation
 methodology).
        648
              IMM Second Answer at 24-25 (citations omitted).
        649
          CEA Answer at 19; see also OPSI Answer at 13-15 (rejecting arguments that
 changing the E&AS Offset in response to PJM’s proposal would be dangerous precedent,
 because unlike routine market events, PJM’s proposal represents a scope change in
 energy and reserve market design).
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        Calpine and LS Power and EPSA state that PJM proposed no capacity market rule
 changes, and therefore the Commission does not have the authority under the FPA to
 require modifications to any capacity market rules, including the E&AS Offset.650

         Exelon and P3 argue that numerous changes occur in the energy market during the
 three-year period between a capacity auction and a delivery year, sometimes increasing
 revenue and sometimes decreasing revenue, and the Commission has generally rejected
 requests to require PJM to make corresponding adjustments to capacity prices after the
 fact.651 Exelon and P3 argue that these changes are an inherent part of PJM’s three-year
 forward auction structure and do not justify departing from the Commission’s well-
 established policy of not disrupting capacity market results after an auction has run.652
 P3 states that the backward-looking E&AS Offset calculation was developed after
 significant PJM stakeholder deliberations and multiple FERC proceedings, and should
 be left unaltered as it yields sound results over time.653

        Exelon argues that an adjustment to the E&AS Offset is also unnecessary
 because the offset has little impact on capacity prices given that capacity auctions have
 historically cleared well below the default offer cap.654 Similarly, Vistra states that
 arguments for a forward-looking E&AS Offset or other changes are based on “the faulty
 premise that a simulated increase in E&AS revenues will translate one-to-one into a
 reduction in capacity payments.”655 Further, Calpine and LS Power and EPSA state that

       650
           Calpine and LS Power Answer at 3-5 (citing NRG, 862 F.3d at 114-15);
 EPSA Answer at 5-6 (citing NRG, 862 F.3d at 110). Calpine and LS Power argue that
 challenges to the E&AS Offset need to be made in separate complaints pursuant to
 section 206 of the FPA, rather than as comments or protests in this proceeding. Calpine
 and LS Power Answer at 4 (citations omitted).
       651
           Exelon Answer at 3, 22, 26 (citing recent price formation proceedings; market
 fundamental changes, including changes in natural gas prices; and weather pattern
 changes); P3 Answer at 7-8; see also EPSA Answer at 6-7.
       652
             Exelon Answer at 22; P3 Answer at 7-8.
       653
          P3 Answer at 6-8; see also Calpine and LS Power Answer at 10 (citing PJM
 Interconnection, L.L.C., 167 FERC ¶ 61,029 at PP 114-17).
       654
             Exelon Answer at 27.
       655
            Vistra Answer at 9-10 (arguing that in the first auction following
 implementation, capacity prices will naturally adjust based on market participants’
 business judgments regarding the effect of PJM’s proposal); see also PSEG Answer at 28
 (stating that there is no way to reflect how individual bidding and operating behavior
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 the actual impact of PJM’s proposal is far from clear, particularly depending on the
 type of resource.656

         Exelon states that if the Commission were to consider updating the E&AS
 Offset, it would be arbitrary to consider only potential upward adjustments; rather, the
 Commission would have to consider recent downward pressure on energy prices such
 that the historical averages are well above current prices.657 Vistra states that the IMM
 and others’ suggestion of a true-up mechanism raises the question of whether a true-up
 would provide additional money to generators if other factors result in lower than
 expected energy and ancillary services revenues.658 Calpine and LS Power argue that
 changing the E&AS Offset methodology would establish precedent for adjustments
 whenever future changes are anticipated in the energy or ancillary services markets,
 which would be highly burdensome and make it difficult for suppliers to make
 investment decisions.659 EPSA argues that selective, out-of-cycle adjustments to
 demand curves are manifestly unjust and unreasonable and have been rejected by the
 Commission.660

         Exelon, Vistra, P3, and Calpine and LS Power argue that the Commission should
 reject a forward-looking offset, noting that forecasts are inherently assumption driven and
 prone to miss important fundamental changes.661 Calpine and LS Power state that The
 Brattle Group (Brattle) has found that a forward-looking approach does not work well




 will change in response to new price signals); see also P3 Answer at 8 (arguing that
 simulating the market response to rule changes is difficult).
        656
              Calpine and LS Power Answer at 11-13; EPSA Answer at 8-9.
        657
              Exelon Answer at 23-26.
        658
              Vistra Answer at 11-12.
        659
              Calpine and LS Power Answer at 13.
        660
              EPSA Answer at 8-10 (citations omitted).
        661
            Exelon Answer at 28 (stating that the fact that ISO-NE uses future prices to
 calculate its offset is not sufficient evidence to require PJM to do so); Vistra Answer
 at 10-11 (“simulations . . . cannot be relied upon to settle markets”); P3 Answer at 7-8;
 Calpine and LS Power Answer at 10-11; see also EPSA Answer at 8 (arguing that parties
 that are interested in a forward-looking E&AS Offset are free to pursue those issues in
 the PJM stakeholder process) (citing PJM Interconnection, L.L.C., 167 FERC ¶ 61,029).
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 when a combustion turbine is the reference resource, as it is in PJM.662 PSEG supports a
 quicker phase-in of the energy and ancillary service revenue changes by weighting recent
 years in the E&AS Offset calculation, but emphasizes that any adjustment should be
 based on actual observed market data, not simulations or estimates.663

         PSEG and EPSA argue that any adjustment to the E&AS Offset for already
 cleared auctions would be inappropriate, because the Commission has repeatedly refused
 to disturb the outcomes of past auctions, and those cleared auctions are final rates
 protected by the filed-rate doctrine.664 Exelon also argues that it would be inappropriate
 to do a retroactive adjustment for already run BRAs, because this would conflict with the
 actual behavior of market participants, who generally hedge their future energy revenues
 (and therefore will not benefit from increased energy prices).665

                      d.     Commission Determination

        We find, pursuant to section 206 of the FPA, that the reserve market changes
 implemented herein have rendered PJM’s methodology for calculating the E&AS
 Offset used in its capacity market unjust and unreasonable.666 We find that the just and
 reasonable replacement rate is adoption of a forward-looking E&AS Offset, as discussed

       662
            Calpine and LS Power Answer at 11 (citing The Brattle Grp., Periodic Review
 of Variable Resource Requirement Curve Shape & Key Parameters, Attachment G,
 Ex. 2, at 25 (2018) (filed in Docket No. ER19-105-000 on Oct. 12, 2018)).
       663
         PSEG Answer at 28 (“simulations or estimates for this purpose as some
 commentators have suggested could not be legally justified nor would they yield valid
 outcomes”).
       664
           PSEG Answer at 27-28 (citing Ark. La. Gas Co. v. Hall, 453 U.S. 571, 578
 (1981); Towns of Concord, Norwood & Wellesley v. FERC, 955 F.2d 67, 71-72, 74 (D.C.
 Cir. 1992)); EPSA Answer at 10-11 (noting that no party has alleged that PJM failed to
 conduct past RPM auctions in accordance with the applicable market rules) (citations
 omitted).
       665
             Exelon Answer at 26-27.
       666
            16 U.S.C. § 824e(a) (authorizing the Commission to investigate
 existing rates on a complaint or its own initiative); see also PJM Interconnection,
 L.L.C., 151 FERC ¶ 61,208 at P 400 (recognizing that changes in one market can
 render aspects of another market unjust and unreasonable); AEMA, 860 F.3d at 663-64
 (affirming the Commission’s authority to act pursuant to section 206 to modify market
 provisions rendered unjust and unreasonable by the implementation of changes in other
 markets).
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 below. We therefore order PJM to submit a compliance filing to revise its Tariff667 to
 implement a forward-looking E&AS Offset within 45 days of the date of this order,
 consistent with the discussion herein.

         The energy and capacity markets are designed to work together to ensure that
 PJM can meet its reserve targets in each delivery year and that competitive resources
 have an opportunity to earn sufficient revenues to cover their costs.668 Recognizing
 the interactions between the two markets, the E&AS Offset estimates the energy and
 ancillary services revenues that a reference resource will receive in a given delivery year
 in those markets. This E&AS Offset estimate is then used to calculate Net CONE, which
 impacts the capacity market demand curve, offer caps, and minimum offer price floors.669

        We find that the significant reserve market reforms adopted herein, and in
 particular the changes to the shape of the ORDCs and the increase to the Reserve Penalty
 Factors that anchor those ORDCs, have fundamentally changed the design of the PJM
 reserve market in a way that will impact the amount of reserves procured, the price paid
 for those reserves, related energy prices, and energy and ancillary services revenues
 received by resources participating in those markets. These changes will be particularly
 pronounced during times of shortage. The impact of these changes must be recognized in
 the E&AS Offset estimate—a variable that is fundamental in determining the amount of
 capacity procured by the PJM capacity market and the prices paid to resources that
 supply capacity.

        In general, a backward-looking E&AS Offset can be viewed as an assumption that,
 by and large, market conditions in the relevant delivery year will be about the same as the
 average of the delivery years before the auction. When the Commission approved PJM’s
 backward-looking E&AS Offset, it was on the basis that it provided a reasonable means
 of estimating the net energy and ancillary services revenues a resource could expect to
 earn in the future delivery year, taking into consideration that “energy and fuel prices can
 change significantly—both upward and downward—from year to year.”670 The
 Commission concluded at the time that although the offset was an attempt to estimate

        667
              PJM Tariff, Attach. DD, §§ 5.10(a)(v)-(vi), 6.
        668
              PJM Transmittal at 68.
        669
            PJM Tariff, Attach. DD, § 5.10; Calpine Corp. v. PJM Interconnection, L.L.C.,
 169 FERC ¶ 61,239 at P 138 (“We adopt PJM’s proposal to set the default offer price
 floor for certain resources . . . at Net CONE . . . .”), reh’g and clarification, 171 FERC
 ¶ 61,035 (2020).
        670
          PJM Interconnection, L.L.C., 117 FERC ¶ 61,331 at P 118, reh’g on other
 grounds, 119 FERC ¶ 61,318.
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 future revenues, the historical approach was reasonable because “cyclical changes in net
 revenues” were “likely to average out.”671 PJM’s Reserve Market Proposal, on the other
 hand, is not the type of proposal for which a historic average reasonably will reflect
 future prices. Rather, these reforms represent a major, systematic change in market
 design that significantly alters expectations about future energy and ancillary services
 revenues and involves adjustments to various parameters over time. Therefore, it is
 appropriate in establishing the just and reasonable replacement rate in this proceeding to
 find that this change warrants a re-evaluation of the E&AS Offset methodology.

        Pursuant to its current E&AS Offset methodology, which uses three years of
 historical data to estimate revenues for the delivery year three years in the future, the
 impact of PJM’s Reserve Market Proposal would not be realized in the E&AS Offset for
 three years or more.672 During this period of time, calculations of Net CONE would be
 based on an inherently inaccurate, and likely significantly under-estimated, E&AS Offset,
 which may lead to unjust and unreasonable capacity market prices. We agree with the
 IMM and others that such a potentially inaccurate estimate of Net CONE can distort
 capacity market prices, which in turn could distort the price signals sent to generation
 contemplating entry into the market, as well as generation contemplating market exit.673
 Sending incorrect price signals could result in over-procurement of capacity with higher
 prices passed through to load.674

         In addition, PJM has also committed to reviewing and updating the ORDCs
 periodically going forward, which means that a historic-looking E&AS Offset may never
 fully incorporate the impacts of these reserve market reforms. Further, an E&AS Offset
 based on three years of historical data is easily distorted by anomalous market conditions
 in one year that are not representative of what market participants can expect in future
 delivery years. Specifically, the replacement rate adopted herein increases the Reserve
 Penalty Factors more than two-fold and removes the cap on the additivity of Reserve
 Penalty Factors, while simultaneously adding a new reserve product (with its own
 Reserve Penalty Factor). While these changes are just and reasonable, as discussed

        671
              PJM Interconnection, L.L.C., 126 FERC ¶ 61,275, P 44 (2009).
        672
              ODEC Protest at 13.
        673
             IMM Protest at 54; Maryland Commission Protest at 13; IPI Comments at 17-
 19; OPSI Protest at 8-10; PJM Load Coalition Protest at 45, 57; CEA Protest at 10, 14-15
 (“artificially high capacity market prices during the seven-year lag will continue to send
 signals that additional build is needed, while also ensuring at least some capacity
 resources that might otherwise retire stay online”).
        674
            The PJM Load Coalition estimates over $10 billion in over-recovery during
 this time. PJM Load Coalition Protest at 45-48, 57-58. See also IPI Comments at 18.
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 above, by design they increase the potential for very high prices during extreme shortage
 conditions. If such conditions were to occur, the energy and ancillary services revenues
 received during that shortage period would not necessarily be representative of the
 revenues a generation developer could expect to earn in the future, and thus a backward-
 looking offset could be inappropriately distorted. It is for this very reason that Brattle has
 long urged PJM to move away from a backward-looking E&AS Offset methodology.675
 Brattle argues that a backward-looking E&AS Offset creates uneconomic and inaccurate
 price signals and leads to substantial price volatility that can undermine investment
 incentives, amongst other concerns.676 Similarly, the IMM has consistently argued that
 PJM should move away from a backward-looking E&AS Offset.677 As the IMM
 observes, historic revenue is always wrong. This is particularly true during the current
 period, where the industry is undergoing a significant change to its resource mix and
 market design.

        We recognize, as commenters point out,678 that the Commission has previously
 accepted PJM’s existing backward-looking E&AS Offset methodology. However, such
 prior decisions do not preclude us from finding herein, based on the record before us, that
 this methodology is no longer just and reasonable as a result of the significant revisions
 directed in this order. While other energy market changes may have been made over the
 years without a reevaluation of the E&AS Offset methodology, the nature of the changes
 herein and the magnitude of the expected impact they will have on reserve procurement
 and energy and ancillary services revenues sets this case apart and leads to our finding


          675
            See, e.g., The Brattle Grp., Fourth Review of PJM’s Variable Resource
 Requirement Curve (2018), https://www.pjm.com/-/media/library/reports-notices/special-
 reports/2018/20180420-pjm-2018-variable-resource-requirement-curve-study.ashx?la=en
 (Brattle Fourth VRR Curve Review); The Brattle Grp., Third Triennial Review of PJM’s
 Variable Resource Requirement Curve (2014), https://www.pjm.com/-
 /media/library/reports-notices/reliability-pricing-model/20140515-brattle-2014-pjm-vrr-
 curve-report.ashx?la=en; The Brattle Grp., Second Performance Assessment of PJM’s
 Reliability Pricing Model (2011),
 https://brattlefiles.blob.core.windows.net/files/7932_second_performance_assessment_of
 _pjm's_reliability_pricing_model_pfeifenberger_et_al_aug_26_2011.pdf.
          676
                PJM Interconnection, L.L.C., 124 FERC ¶ 61,272, at P 14 (2008); see note 675
 supra.
          677
         PJM Interconnection, L.L.C., 167 FERC ¶ 61,029 at P 116, reh’g denied,
 171 FERC ¶ 61,040 (2020).
          678
         See, e.g., EPSA Comments at 21 (citing PJM Interconnection, L.L.C.,
 167 FERC ¶ 61,029 at P 119).
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 that the E&AS Offset is no longer just and reasonable. We reject the contentions of PJM
 that the changes effected herein are de minimis.679 First, it is inconsistent for PJM to
 argue on one hand that its reserve market is producing manifestly unjust and
 unreasonable rates and procuring insufficient reserve quantities that endanger reliability,
 and that this major reform package is necessary to address the issue, while at the same
 time arguing that this reform package has a de minimis effect on its markets. Second, we
 note that the energy and ancillary service markets make up a disproportionately large
 amount of total wholesale market revenues in PJM, so what may look small in the context
 of the energy and ancillary services markets can still have a large impact in the context of
 the PJM capacity market.680 Furthermore, one of the projected effects of PJM’s proposal
 is to provide additional revenues to flexible resources, such as the theoretical combustion
 turbine used to anchor the capacity market VRR curve.681 This may mean that the
 additional revenues resulting from these reforms will have an even larger effect in the
 capacity market than other energy and ancillary service market changes.

         Some parties argue that the major changes effected by these filings reflect only a
 temporary change, because the changes will over time be included in the historic-looking
 E&AS Offset. They maintain that as a result, the Commission should make no changes
 to the capacity market. We disagree. Even if the impact of the market rule changes
 directed herein were only temporary, the Commission would be responsible for setting
 the just and reasonable rate during the up to five-year interim period. However, we do
 not agree these changes are only temporary. In supporting the instant proposal, PJM has
 taken the position that wind, solar, and battery resources will make up a greater part of
 PJM’s resource mix going forward, and that these resources will fundamentally change
 how PJM expects to operate its system.682 Given these developments and the major


        679
              PJM Answer at 61-62
        680
         The PJM Load Coalition estimates that PJM’s proposal, when reflected in the
 E&AS Offset, will result in material reductions to Net CONE of 15 to 30 percent. PJM
 Load Coalition Protest at 45, 57.
        681
            PJM Transmittal at 71-72 (“[T]he unified Synchronized Reserve product [will]
 . . . enhance[e] the price signal for developers to invest in resources that are flexible to
 compete in the new combined reserve market.”); PJM Answer at 5, 36-37 (“As a
 threshold matter, reserve is inherently a ramping product, which values and rewards
 resources with the ability to quickly change output. On this basis alone, PJM’s proposal
 incentivizes the development of flexible resources by ensuring that the PJM reserve
 market correctly values the ability to quickly change output, which it currently does
 not.”).
        682
              See PJM Transmittal at 3, 7-8, Keech Aff. ¶ 47-48.
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 market rule changes directed herein, use of a historic-looking E&AS Offset in PJM is not
 reasonable as it will not reflect projected changes in the resource mix and these market
 rule changes. Combined with arguments by both the IMM and Brattle to move to a
 prospective E&AS Offset in this and other proceedings,683 we find that this is not just a
 temporary problem, but a sustained issue going forward.

         PJM and other commenters argue that because PJM did not propose any changes
 to the E&AS Offset (or the capacity market generally) in its filings, any arguments
 related to the E&AS Offset are beyond the scope of this proceeding.684 We disagree.
 PJM made its primary filing to implement its Reserve Market Proposal pursuant to
 section 206 of the FPA.685 Pursuant to section 206, “once the Commission finds that a
 rate is unjust and unreasonable, the Commission bears the burden of determining a new
 just and reasonable rate.”686 Thus, having found PJM met its burden to show that its
 current reserve market construct is unjust and unreasonable, it is our statutory duty to
 determine the new just and reasonable rate. We agree with OPSI, CEA, and the IMM
 that this reserve market reform directly implicates PJM’s E&AS Offset calculation.687
 Therefore, we find that the E&AS Offset is within the scope of this proceeding, and a just
 and reasonable replacement rate must address it.




       683
            In its report on resetting PJM’s VRR curve, Brattle points to the outsized
 effects of anomalous years such as the Polar Vortex in driving up the E&AS Offset.
 Brattle Fourth VRR Curve Review at 33 (“However, forward-looking E&AS offsets for
 CCs avoid the volatility seen in historically-based E&AS offsets for CTs when anomalies
 such as the Polar Vortex occur.”) Under the replacement rate adopted herein, the highest
 market prices during such periods of system stress can be three to four times higher than
 prices during prior shortage periods, only deepening this problem.
       684
             PJM Answer at 63; EPSA Comments at 21.
       685
           PJM Transmittal at 1. PJM’s section 205 filing was merely to update identical
 provisions in its Tariff consistent with the changes it proposed to its Operating
 Agreement pursuant to section 206. Id. at 1 n.1.
       686
           New England Power Generators Ass’n, Inc. v. FERC, 879 F.3d 1192, 1200
 (D.C. Cir. 2018); see also TranSource, LLC v. PJM Interconnection, L.L.C., 168 FERC
 ¶ 61,119, at P 44 (2019).
       687
           OPSI Protest at 16; CEA Protest at 13-14; IMM Protest at 52 (“[PJM’s
 proposal] is about the entire PJM market design, including the reserve markets, the
 energy market and the capacity market and the interactions among them.”).
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         Further, even assuming arguendo the E&AS Offset is beyond the scope of the
 replacement rate in this case, the Commission can always act pursuant to section 206
 to find that changes in one market have rendered aspects of another, related market
 unjust and unreasonable, as recently confirmed by the D.C. Circuit.688 The court in
 AEMA noted examples of where the Commission has done just this, including PJM
 Interconnection, L.LC.,689 in which the Commission found certain pre-existing energy
 market price adders had been rendered unjust and unreasonable by developments in the
 capacity market.690 Similarly, in a different PJM matter,691 the Commission found that
 acceptance of certain proposed changes to PJM’s capacity market provisions rendered its
 existing energy market rules with respect to operating parameters, force majeure, and
 generator outages unjust and unreasonable.692 Finally, we note that EPSA’s reliance on
 NRG, which addresses filings pursuant to section 205 of the FPA, is misplaced.693 NRG
 does not limit the Commission’s broad authorities and duties pursuant to section 206.

         Certain commenters argue that it is sufficient to rely on capacity resources
 responding to the reserve market reforms by submitting lower capacity offers to mitigate
 potential over-procurement and over-recovery in the capacity market. We disagree.
 First, without changes to the E&AS Offset methodology, the determination of the VRR
 curve would still be based on a Net CONE based on the historic three-year average, such
 that any increase in energy and ancillary services revenues will not be reflected in Net
 CONE. This would result in a demand curve that reflects higher prices for the same
 quantity of capacity and therefore could lead, all other things being equal, to procurement
 of more capacity than is needed, at higher prices. Second, if the default offer cap is also
 not adjusted in response to an increase in energy and ancillary services revenues, then
 resources may be able to exercise market power.




           688
                 AEMA, 860 F.3d at 663-64; Pub. Serv. Comm’n of N.Y. v. FERC, 866 F.2d
 at 491.
           689
                 149 FERC ¶ 61,091 (2014).
           690
           AEMA, 860 F.3d at 664 (citing PJM Interconnection, L.L.C., 149 FERC
 ¶ 61,091 at P 30).
           691
                 PJM Interconnection, L.L.C., 151 FERC ¶ 61,208.
           692
                 Id. P 400.
           693
                 EPSA Answer at 5-6 (citing NRG, 862 F.3d 108).
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        Finally, we disagree with arguments that finding the E&AS Offset unjust and
 unreasonable and requiring changes creates a slippery slope (“dangerous” precedent694),
 such that every time PJM makes a change to the energy or ancillary services markets,
 the E&AS Offset will need to be changed, causing uncertainty in the capacity market.
 Moving to a forward-looking offset, as we direct herein as the just and reasonable
 replacement rate, will better reflect changing market conditions and rules, and thus will
 reduce the need to modify the E&AS Offset going forward. As noted earlier, previous
 energy market changes that the Commission accepted without requiring concomitant
 capacity market changes did not involve such a fundamental, extensive change to the
 energy and ancillary services markets. The Commission makes these decisions on a case-
 by-case basis, taking into account the magnitude of the particular market reform and the
 impact it will have on the capacity market.

        Having found pursuant to a section 206 that PJM’s methodology for calculating
 the E&AS Offset is unjust and unreasonable, the burden falls on the Commission to
 determine the just and reasonable replacement rate.695 We find that a forward-looking
 methodology for determining the E&AS Offset will allow changes to energy and
 ancillary services revenues stemming from energy market design modifications to be
 more readily incorporated into capacity market parameters and prices. Further, a
 forward-looking methodology is consistent with project valuation methods used by
 market participants. Therefore, we order PJM to make a compliance filing within 45
 days of the date of this order proposing modifications to its Tariff to implement a
 forward-looking E&AS Offset that reasonably estimates expected future energy and
 ancillary services revenues for all Tariff provisions that rely on a determination of the
 E&AS Offset (e.g., Net CONE).

        We reject certain parties’ concerns that a forward-looking E&AS Offset is
 infeasible. Brattle, the IMM, and others have long supported implementation of a
 forward-looking E&AS Offset and have proposed viable means for implementing one.696


        694
              EPSA Comments at 21.
        695
              16 U.S.C. § 824e(a).
        696
            IMM Second Answer at 23 (“Calculating a forward looking [E&AS] offset is
 not difficult. Actual developers and generation owners use forward looking calculations
 of energy market revenues. Actual generation offers are based on forward looking
 calculations.”); PJM Interconnection, L.L.C., 167 FERC ¶ 61,029 at P 114 (“Brattle . . .
 states that [changing to a forward-looking offset] would ‘provide a better representation
 of a developers’ expectations for net energy revenues’ and has recommended in all four
 of its Triennial/Quadrennial Review reports that PJM explore the use of a forward-
 looking [E&AS] Offset.”) (citations omitted).
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 Further, other RTOs/ISOs have successfully implemented forward-looking offsets in their
 capacity markets.697

         We reject requests to change the E&AS Offset retroactively to address the BRAs
 that have already occurred based on the historic-looking methodology for calculating
 energy and ancillary services revenues. Nothing in this record indicates that the
 previously cleared capacity auctions were not conducted in accordance with the then-
 effective Tariff. We agree with Exelon, P3, PSEG, and EPSA698 that intervening changes
 to the market are an inherent part of PJM’s three-year forward auction structure and do
 not justify departing from the Commission’s well-established policy of not disrupting the
 results of cleared capacity auctions.699 In PJM Interconnection, L.L.C.700, we explained:

                The Commission generally does not order a remedy that
                requires rerunning a market because market participants
                participate in the market with the expectation that the rules in
                place and the outcomes will not change after the results are set.
                Rerunning past auctions creates two different types of risk: (1)
                capital risks for resources that made investments based on
                auction results, and (2) regulatory risk going forward (i.e.,
                investors would be unlikely to want to invest capital in a
                market if the results were subject to change at a later date . . . .

 Retroactively adjusting already run BRAs would inequitably upset settled expectations
 of market participants who relied on the results of those auctions to make business
 decisions. In addition, as Exelon points out, many market participants hedge their future


       697
             See, e.g., ISO New England Inc., 170 FERC ¶ 61,052, at PP 41-45 (2020).
       698
          Exelon Answer at 22; P3 Answer at 7-8; PSEG Answer at 27-28; EPSA
 Answer at 10-11.
       699
            See Md. Pub. Serv. Comm’n v. PJM Interconnection, L.L.C., 123 FERC
 ¶ 61,169, at P 49, order on reh’g, 125 FERC ¶ 61,340 (2008) (“In a case involving
 changes in market design, we generally exercise our discretion over remedies and do not
 order refunds that require rerunning a market.”); see also Bangor HydroElec. Co. v. ISO
 New England Inc., 97 FERC ¶ 61,339 (2001) (finding that rerunning markets, even when
 a software error results in clearing prices that are inconsistent with the market rules,
 would do more harm to electric markets than is justifiable), reh’g denied, 98 FERC
 ¶ 61,298 (2002); Cal. Indep. Sys. Operator, 120 FERC ¶ 61,271, at P 25 (2007)
 (identifying market reruns as the exception, not the rule).
       700
             161 FERC ¶ 61,252 (2017).
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 energy revenues well in advance of the relevant delivery year,701 and any change in prices
 will upset those hedges. Moreover, even if we were to re-calculate the VRR curve and
 other capacity auction parameters based on a new E&AS Offset, there is no way to
 accurately determine how market participants would have offered in those BRAs based
 on the new parameters.

        We disagree with EPSA that it is inappropriate to make an “out-of-cycle
 adjustment” to the E&AS Offset in this proceeding, without evaluating and potentially
 adjusting all the other cost and revenue components of the VRR curve.702 The
 Commission just recently approved an update to the VRR curve as part of the quadrennial
 review process.703 The Commission is not aware of any material intervening change that
 merits reopening the other cost and revenue components that make up the VRR curve.

         We agree with all parties arguing that an E&AS Offset is not designed, nor should
 it be required, to match actual revenues received by a given resource in the E&AS
 markets in the relevant delivery year. We disagree that this renders a prospective E&AS
 Offset inappropriate. A forward-looking E&AS Offset is the best expectation of energy
 and ancillary services revenues in the given delivery year and should therefore include
 the effects of any large market changes that are expected to be in place in the given
 delivery year. We do not expect these numbers to line up precisely.

                 4.    Other Proposed Changes to the Capacity Market

        The IMM argues that continuing to set the VRR curve maximum price at the
 higher of Gross CONE or 1.5 times Net CONE after implementation of PJM’s proposed
 ORDC changes is unjust and unreasonable because it may artificially increase the
 capacity market price if Net CONE decreases significantly.704 The IMM proposes that

        701
              Exelon Answer at 26-27.
        702
           EPSA Comments at 20 (citing Indep. Power Producers of N.Y., Inc. v. N.Y.
 Indep. Sys. Operator, Inc., 125 FERC ¶ 61,311 at PP 33, 35).
        703
           PJM Interconnection, L.L.C., 167 FERC ¶ 61,029, reh’g denied, 171 FERC
 ¶ 61,040 (2020).
        704
            IMM Protest at 68-69 (“Thus, under PJM’s proposal, even if the [energy and
 ancillary services revenues] were to increase enough to fully reflect the ORDC scarcity
 revenues, the maximum capacity market price would never fall below Gross CONE.
 That rule, is inappropriate, given that PJM’s ORDC proposal is intended to shift
 significant revenue from the capacity market to the energy market. If this evolution is
 ever to lead to the effective elimination of the capacity market, the capacity market price
 must be allowed to fall, consistent with actual net revenues.”).
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 if PJM’s ORDC changes are adopted, the maximum price on the VRR curve going
 forward should be set strictly to 1.5 times Net CONE. We do not find that the existing
 VRR curve maximum price is rendered unjust and unreasonable by the replacement rate
 we adopt here.

         As the IMM explains in its pleading and as provided in the Tariff, the VRR curve
 is constructed by connecting four anchor points: (1) a starting point priced at the VRR
 curve maximum price and at a quantity of zero; (2) the first inflection point, point A, also
 priced at the VRR curve maximum price but at a quantity equal to the Installed Reserve
 Margin minus 0.2%; (3) the second inflection point, point B, priced at roughly 75% of
 Net CONE and at a quantity equal to the Installed Reserve Margin plus 2.9%; and (4) the
 end point, point C, priced at zero and at a quantity equal to the Installed Reserve Margin
 plus 8.8%.705 Thus, the starting point and point A are functions of the VRR curve
 maximum price; points B and C are not—point B is a function of Net CONE, and point C
 is set at a price of zero.706

        Given the nature of this construction, the VRR curve maximum price affects only
 two segments of the VRR curve: it determines the price associated with the long initial
 horizontal segment that begins at a quantity of zero and extends out nearly to the Installed
 Reserve Margin; and it affects the slope of the initial downward-sloping segment of the
 curve between points A and B. Notably, it does not affect the placement of points B and
 C and therefore does not affect the slope of the segment connecting those two points.

        The IMM’s protest focuses on a scenario where Net CONE has decreased
 sufficiently, due to the ORDC changes we adopt here, such that Gross CONE—that is,
 the cost of new entry for a reference combustion turbine technology before accounting
 for anticipated energy and ancillary services revenues—becomes greater than 1.5 times
 Net CONE. In this scenario, the differences between the resulting VRR curve under
 existing rules and that under the IMM’s alternative are, again, twofold: the horizontal
 segment will be lower (i.e., will reflect a lower price), and the slope of the segment from
 point A to point B will be less.




        705
              PJM Tariff, Attach. DD, § 5.10(a)(i) (26.1.0); see also IMM Protest at 70-71.
        706
         Point B is also a function of the pool-wide equivalent forced outage rate, or
 “EFORd,” but we ignore that detail here as it is not critical to this discussion.
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         The IMM essentially argues that under the existing VRR curve maximum price,
 the VRR curve may not, under certain circumstances, be sufficiently responsive to a
 reduction in the Net CONE value. While, as a general matter, we agree that the VRR
 curve should be responsive to changes in Net CONE, the two segments of the VRR curve
 that the IMM argues will be insufficiently responsive are the segments that reflect
 quantities of capacity either below or approaching the Installed Reserve Margin. More
 specifically, those segments determine capacity clearing prices only at quantities up to
 2.9% greater than the Installed Reserve Margin. The IMM asks us to declare as unjust
 and unreasonable PJM’s current practice of valuing capacity at those levels at prices up to
 and including Gross CONE. We decline to make such a finding. In so doing, we are
 particularly mindful of pricing on the horizontal segment of the VRR curve. Were the
 capacity market to clear on this segment, PJM would be below the Installed Reserve
 Margin. Therefore, in this scenario, we find that it is appropriate for PJM to pay up to
 Gross CONE for additional capacity.

         We acknowledge that in the extreme scenario the IMM references, where Net
 CONE decreases to zero, the theory tells us that energy and ancillary services revenues
 should be sufficient to retain and attract capacity to ensure resource adequacy. However,
 the Net CONE calculation involves myriad assumptions. Should actual values deviate
 from those assumptions to an extent that energy and ancillary services revenues alone are
 insufficient to retain and attract adequate capacity despite Net CONE falling to zero, we
 find it just and reasonable for PJM to retain a VRR curve with the existing maximum
 price to serve as a final backstop to avoid resource inadequacy.

         We note that for all points on the VRR curve at quantities greater than the
 Installed Reserve Margin plus 2.9%, the curve is fully responsive to any decrease in Net
 CONE. Should Net CONE decrease dramatically, or even as far as to zero, as a result of
 the ORDC changes, the capacity clearing price will accordingly be low, or even zero, so
 long as the supply-demand intersection point is on the segment between points B and C.

 The Commission orders:

        (A)      PJM’s filings in Docket Nos. EL19-58-000 and ER19-1486-000 are
 granted in part, subject to the further compliance filing, as discussed in the body of this
 order.

        (B)       PJM is hereby directed to submit a compliance filing, within 45 days of
 the date of this order, as discussed in the body of this order.
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        (C)      As part of its further compliance filing, PJM is hereby directed to propose
 an effective date for the Operating Agreement and Tariff revisions, and related
 compliance filing, as discussed in the body of this order.

 By the Commission. Commissioner Glick is dissenting with a separate statement
                    attached.

 (SEAL)




                                               Nathaniel J. Davis, Sr.,
                                                 Deputy Secretary.
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                                    Appendix A
                              Tariff Records Accepted
                            PJM Interconnection, L.L.C.
                                Intra-PJM Tariffs


                              Docket No. EL19-58-000

 OA Definitions A - B, 7.0.0
 OA Definitions C - D, 21.0.0
 OA Definitions E - F, 15.0.0
 OA Definitions I - L, 15.0.0
 OA Definitions M - N, 13.0.0
 OA Definitions O - P, 18.0.0
 OA Definitions Q - R, 12.0.0
 OA Definitions S – T, 15.0.0
 OA Schedule 1 Sec 1.5A Economic Load Response Participant, 10.0.0
 OA Schedule 1 Sec 1.7 General., 20.0.0
 OA Schedule 1 Sec 1.10 - Scheduling, 35.0.0
 OA Schedule 1 Sec 1.11 - Dispatch, 5.0.0
 OA Schedule 1 Sec 2.2 General., 10.0.0
 OA Schedule 1 Sec 2.5 Calculation of Real-time Prices., 7.0.0
 OA Schedule 1 Sec 2.6 Calculation of Day-ahead Prices., 3.0.0
 OA Schedule 1 Sec 3.2 - Market Buyers, 44.0.0

                             Docket No. ER19-1486-000

 OATT Definitions – A - B, 14.0.0
 OATT Definitions – C-D, 19.0.0
 OATT Definitions – E - F, 23.0.0
 OATT Definitions – L – M - N, 22.0.0
 OATT Definitions – O – P - Q, 22.1.0
 OATT Definitions – R - S, OATT Definitions – R - S, 19.0.0
 OATT Attachment K Appendix Sec 1.5A Economic Load Resp, 10.0.0
 OATT Attachment K Appendix Sec 1.7 General, 20.0.0
 OATT Attachment K Appendix Sec 1.10 - Scheduling, 35.0.0
 OATT Attachment K Appendix Sec 1.11 - Dispatch, 5.0.0
 OATT Attachment K Appendix Sec 2.2 General, 10.0.0
 OATT Attachment K Appendix Sec 2.5 Calculation of Real-time, 7.0.0
 OATT Attachment K Appendix Sec 2.6 Calculation of Day-ahead, 3.0.0
 OATT Attachment K Appendix Sec 3.2 - Market Buyers, 46.0.0
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                                    Appendix B

                              Docket No. EL19-58-000
                                List of Intervenors

    Advanced Energy Economy
    Advanced Energy Management Alliance
    American Electric Power Service Corporation
    American Municipal Power, Inc.
    American Petroleum Institute
    American Public Power Association
    American Wind Capital Company, LLC
    American Wind Energy Association**
    Calpine Corporation
    Delaware Division of the Public Advocate
    Delaware Municipal Electric Corporation, Inc.
    Direct Energy Business Marketing LLC and Direct Energy Business, LLC
    Dominion Energy Services Company, Inc.
    Duke Energy Corporation
    East Kentucky Power Cooperative, Inc.
    EDP Renewables North America LLC
    Electric Power Supply Association
    Enel X North America, Inc.
    Energy Trading Institute
    Exelon Corporation
    FirstEnergy Solutions Corp.
    Illinois Commerce Commission
    Illinois Municipal Electric Agency
    Indiana Office of Utility Consumer Counselor
    Indiana Utility Regulatory Commission
    Institute for Policy Integrity, New York University School of Law
    Kentucky Attorney General
    Long Island Power Authority and Long Island Lighting Company
    LS Power Associates, L.P.
    Maryland Office of People's Counsel
    Maryland Public Service Commission
    Mercuria Energy America, Inc.
    Monitoring Analytics, LLC
    National Rural Electric Cooperative Association
    New Jersey Board of Public Utilities
    New Jersey Division of Rate Counsel
    NRDC/FERC Project
    NRG Power Marketing LLC
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    North Carolina Electric Membership Corporation*
    Nuclear Energy Institute
    Office of the People’s Counsel for the District of Columbia
    Ohio Consumers’ Counsel
    Old Dominion Electric Cooperative
    Organization of PJM States, Inc.
    Panda Power Funds
    Pennsylvania Office of Consumer Advocate
    Pennsylvania Public Utility Commission
    PJM Load/Customer Coalition
    PJM Power Providers Group
    Public Power Association of New Jersey
    PSEG Companies (PSEG Power LLC; PSEG Energy Resources & Trade LLC; Public
    Service Electric and Gas Company)
    Public Citizen, Inc.
    Public Service Commission of the District of Columbia
    Public Utilities Commission of Ohio
    R Street Institute
    Rockland Electric Company
    Sierra Club
    Solar Energy Industries Association
    Southern Maryland Electric Cooperative, Inc.
    Steel Producers
    Talen Energy Marketing, LLC
    The Dayton Power and Light Company
    The FirstEnergy Utility Companies
    Tilton Energy, LLC
    Union of Concerned Scientists
    Virginia Municipal Electric Association No. 1
    Vistra Energy Corp. and Dynegy Marketing and Trade, LLC
    West Virginia Consumer Advocate

    *motion to intervene out-of-time
    **late-filed motion to intervene
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                              Docket No. ER19-1486-000
                                 List of Intervenors

    Advanced Energy Management Alliance
    American Electric Power Service Corporation
    American Municipal Power, Inc.
    American Public Power Association
    American Wind Energy Association
    Appian Way Energy Partners
    Calpine Corporation
    Delaware Division of the Public Advocate
    Delaware Municipal Electric Corporation, Inc.
    Dominion Energy Services Company, Inc.
    Duke Energy Corporation
    East Kentucky Power Cooperative, Inc.
    Electric Power Supply Association
    Enel X North America, Inc.
    Energy Trading Institute
    Exelon Corporation
    FirstEnergy Solutions Corp.
    Illinois Commerce Commission
    Indiana Office of Utility Consumer Counselor
    Institute for Policy Integrity, New York University School of Law
    Kentucky Attorney General
    LS Power Associates, L.P.
    Maryland Office of People's Counsel
    Maryland Public Service Commission
    Monitoring Analytics, LLC
    National Rural Electric Cooperative Association
    New Jersey Board of Public Utilities
    New Jersey Division of Rate Counsel
    NRDC/FERC Project
    NRG Power Marketing LLC
    North Carolina Electric Membership Corporation*
    Nuclear Energy Institute
    Office of the People’s Counsel for the District of Columbia
    Old Dominion Electric Cooperative
    Organization of PJM States, Inc.
    Panda Power Funds
    Pennsylvania Office of Consumer Advocate
    Pennsylvania Public Utility Commission
    PJM Load/Customer Coalition
    PJM Power Providers Group
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    Public Power Association of New Jersey
    PSEG Companies (PSEG Power LLC; PSEG Energy Resources & Trade LLC; Public
    Service Electric and Gas Company)
    Public Citizen, Inc.
    Public Service Commission of the District of Columbia
    Public Utilities Commission of Ohio
    R Street Institute
    Rockland Electric Company
    Shell Energy North America (US), L.P.
    Sierra Club
    Solar Energy Industries Association
    Southern Maryland Electric Cooperative, Inc.
    Steel Producers
    Talen Energy Marketing, LLC
    The Dayton Power and Light Company
    The FirstEnergy Utility Companies
    Virginia Municipal Electric Association No. 1
    Vistra Energy Corp. and Dynegy Marketing and Trade, LLC
    West Virginia Consumer Advocate

    *motion to intervene out-of-time
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                          UNITED STATES OF AMERICA
                   FEDERAL ENERGY REGULATORY COMMISSION

 PJM Interconnection, L.L.C.                                 Docket Nos.       EL19-58-000
                                                                               ER19-1486-000


                                    (Issued May 21, 2020)

 GLICK, Commissioner, dissenting:

        Today’s order grants PJM’s complaint seeking to significantly overhaul its
 markets for energy and ancillary services. It does not, however, meet either of the
 conditions precedent for approving that sweeping overhaul: It fails to show that the
 existing rate is unjust and unreasonable or that the replacement is just and reasonable.
 Instead, the Commission unquestioningly defers to PJM’s contested assertions while
 casually dismissing the detailed and well-reasoned protests. In so doing, the Commission
 approves a proposal that will impose billions of dollars of additional costs on consumers.
 That is yet another abdication of our responsibility to protect consumers and to comply
 with the requirements of the Federal Power Act (FPA).

        Although I am obviously disappointed in this outcome, I cannot say that I am
 surprised. It is just the latest in a series of PJM proceedings that have gone against
 consumers as the Commission has prioritized high prices over efficient markets. In its
 order accepting PJM’s Variable Resource Requirement Curve (VRR Curve), the
 Commission approved a proposal to establish a “demand curve” for the capacity market
 that will systematically over-procure capacity, significantly raising rates for customers.1
 Similarly, in its order radically expanding PJM’s Minimum Offer Price Rule (MOPR),
 the Commission effectively modified the “supply curve” for the capacity market by
 prohibiting some resources that receive state support from participating in the market
 while forcing others to bid above administratively determined levels2—again all at

        1
           PJM Interconnection, L.L.C., 171 FERC ¶ 61,040 (2020) (Glick, Comm’r,
 dissenting at P 21) (explaining that capacity “oversupply hurts customers directly—
 because they are paying too high a price for too much capacity—and indirectly insofar as
 it dulls the price signals in the energy and ancillary service markets that should, in
 theory, drive the efficiency of those markets”).
        2
          PJM Interconnection, L.L.C., 171 FERC ¶ 61,035 (2020) (Glick, Comm’r,
 dissenting at PP 85-88) (observing that the order “creates a byzantine administrative
 pricing scheme that bears all the hallmarks of cost-of-service regulation, without any of
 the benefits”); id. (Glick, Comm’r, dissenting at n.218) (observing “the Commission is
 willing to set price floors that ensure . . . that those resource can never clear the capacity
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 customers’ expense. Today’s order is just more of the same. It will further distort PJM’s
 markets—this time the energy and ancillary service markets—handing yet another
 windfall to generators and leaving customers to pick up the tab. That is not just and
 reasonable.

 I.     The Commission Fails to Show that the Existing Tariff Is Unjust and
        Unreasonable

         Reserves play a critical role in our electricity system as they, quite literally, help
 keep the lights on. As a result, properly valuing reserves is an integral part of ensuring
 reliable electricity service at just and reasonable rates. Shortage pricing helps to achieve
 that by providing efficient price signals when the system is short on reserves. During a
 reserve shortage, the energy price is increased by the administratively determined cost of
 falling below the reserve requirement. And this upward administrative adjustment sends
 a strong price signal to both load and supply to respond to the shortage condition. Those
 basic principles are, for all intents and purposes, beyond dispute.

         What is in dispute is whether PJM must effectively impose shortage pricing when
 there is no shortage. The essence of PJM’s argument in this proceeding is that, without
 shortage pricing in non-shortage periods, its Tariff is unjust and unreasonable because it
 does not sufficiently compensate generators. PJM argues that, instead of paying the
 marginal cost of providing the reserves in question, it must3 pay all generators an
 administratively determined price above marginal cost even when there is no shortage.
 That theory finds no support in Commission precedent or common sense and it should
 have been easily rejected.

         The same goes for the various purported problems to which PJM points in support
 of its complaint. Simply put, none of the record evidence regarding low prices, uplift,
 market actions, or the growth of renewable resources shows that the existing energy and
 reserve market is unjust and unreasonable. The only thing revealed by a careful review
 of the record, is that PJM has failed to satisfy its burden of proof to show that the existing
 rate is unjust and unreasonable.4


 market, no matter how serious the reliability need and even if that resource is the only
 that can meet it”).
        3
          Because this proceeding involves a complaint under section 206 of the FPA, the
 Commission is finding that the failure impose these prices is unjust and unreasonable a
 far more sweeping conclusion than finding that the proposed scheme is within the range
 of just and reasonable results contemplated by the FPA. Cf. Emera Maine v. FERC, 854
 F.3d 9, 27 (D.C. Cir. 2017).
        4
            Id. The Commission also accepts PJM’s argument that the two-tiered approach
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        PJM principally contends that its Tariff is unjust and unreasonable because it does
 not price reserves in a manner that reflects the operational value of the flexibility that
 they provide.5 But that argument overlooks—or ignores—that an efficient market prices
 a service at, or at least near, the marginal cost of producing it.6 As the Independent
 Market Monitor explained, the marginal cost of providing reserves will often be zero.
 For example, when a resource is online and operating below its maximum output, it will
 be providing cost-free reserves equal to the MW difference between its current operating
 level and its maximum output. That is common because, as the Independent Market
 Monitor explains, “zero cost reserves often exceed the reserve requirement because some


 to pricing reserves has been shown to be unjust and unreasonable. PJM Interconnection,
 L.L.C., 171 FERC ¶ 61,153, at P 84 (2020) (Order). As an initial matter, Tier 1 reserves
 are made up of resources that are operating with headroom (i.e., below their maximum
 capacity) and do not face any opportunity cost associated with providing reserves. PJM
 Transmittal at 15. Providing reserves should increase their revenue, since they would not
 otherwise be paid for that headroom. See PJM Load Coalition Protest at 22. Tier 2
 resources, by contrast, are those that are dispatched below their profit-maximizing levels
 in order to provide reserves, meaning that they do face an opportunity cost of providing
 reserves. PJM Transmittal at 15-16. As they are not similarly situated, the different
 treatment between these resources does not constitute undue discrimination. PJM also
 argues that the two-tiered distinction is unjust and unreasonable because it impedes price
 transparency due to what PJM describes as sub-par performance of Tier 1 resources. Id.
 at 22-23. The record, however, is not so clear on that point. For example, the
 Independent Market Monitor disputes PJM’s analysis, arguing that Tier 1 resources
 provide greater response to spinning events than PJM calculates and that they frequently
 exceed PJM’s Tier 1 estimate. Independent Market Monitor Protest at 20. The
 Commission fails to address any of that evidence directly and just summarily states that
 agrees with PJM. Order, 171 FERC ¶ 61,153 at P 90 (noting the presence of a factual
 dispute between PJM and the Independent Market Monitor, but then crediting PJM’s
 “overarching argument’ without at all wrestling with that factual dispute). That is a far
 cry from a reasoned explanation of why the existing Tariff is unjust and unreasonable.
        5
           PJM Transmittal at 7 (“Current reserve market clearing prices—zero in about 60
 percent of all hours for Synchronized reserve and in about 98 percent of all hours for
 Non-Synchronized Reserve—do not reflect the operational value of resource
 flexibility.”).
        6
          See Order, 171 FERC ¶ 61,153 at P 81 (noting that PJM’s market design should
 “reflect the marginal cost of providing reliable service—including reserves necessary to
 address legitimate non-contingency operational uncertainties”); id. P 83 (“We agree with
 PJM that the existing market design is consistently failing to produce prices reflecting the
 marginal cost of procuring necessary reserves.”).
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 generating units are inflexible and must be scheduled for hours ahead of and beyond the
 time at which they are needed to produce energy.”7

         Those reserves surely have value. If a resource trips offline or if demand
 unexpectedly surges, they could help pick up the slack. But the fact that those costless
 reserves provide value to the system does not mean that PJM’s market is sending
 inefficient price signals just because it is not paying high prices to a resource that is
 providing reserves by operating at a profit-maximizing level that happens to be below its
 maximum output. The Commission itself repeatedly explains that reserve prices should
 reflect the marginal cost of providing reserves,8 but then utterly fails to square its finding
 that PJM’s Tariff is unjust and unreasonable because reserves prices are too low with the
 fact that the marginal cost of providing reserves will often be at or near zero.9

        In an effort to illustrate what it sees as the problem with PJM’s current Tariff, the
 Commission points to a stretch of cold weather in January 2019.10 It suggests that there
 must be a design flaw because the reserve prices were low during those frigid
 conditions.11 But the record suggests that, from the perspective of the grid, the conditions
 were not actually that challenging: PJM was operating with a reserve margin above 25
 percent during the peak hour of that cold snap.12 Nothing in PJM’s complaint—or
 today’s order—provides any reason to believe that the low reserve prices during that
 period were due to anything other than market fundamentals or that there is something
 amiss with those fundamentals. Although the Commission suggests that the healthy


        7
          Independent Market Monitor Protest at 13-14 (“Coal and combined cycle gas
 units comprise most of PJM’s excess online capacity that is not providing energy at full
 output levels. Both have inflexibility in starting and shutting down, but provide a
 relatively large range of dispatchable capacity once online. . . . 60 percent of PJM’s
 energy is provided by resources that create large quantities of zero cost synchronized
 reserves.”).
        8
            See, e.g., Order, 171 FERC ¶ 61,153 at PP 81, 83.
        9
         See, e.g., Independent Market Monitor Protest at 13 (“Zero cost reserves often
 exceed the reserve requirement because some generating units are inflexible and must be
 scheduled for hours ahead of and beyond the time at which they are needed to produce
 energy.”).
        10
             Order, 171 FERC ¶ 61,153 at P 78.
        11
             Id. P 91.
        12
             PJM Load Coalition Protest at 19.
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 reserve margin may have been due to the operator bias to commit additional reserves,13 it
 fails to address the evidence provided by the Independent Market Monitor refuting that
 argument and explaining that the low prices were the result of an excess supply of
 resources self-scheduling into the market.14 If anything, the evidence on this cold snap
 seems to show that the existing Tariff is more than up to the job, not that it is unjust and
 unreasonable.

        Next, the Commission points to PJM’s contention that the tariff is unjust and
 unreasonable in part because of uplift payments caused by PJM’s operators taking out-of-
 market actions to dispatch resources.15 No one can argue with the general goal of
 reducing uplift payments. But, even so, it is not true that any existing tariff provision is
 unjust and unreasonable just because a change could be made that would conceivably
 reduce uplift payments.

         Instead, the Commission must show that there is something about these uplift
 payments in particular that renders PJM’s Tariff unjust and unreasonable—a showing it
 fails to make in this order. The Commission points to the Independent Market Monitor’s
 2018 State of the Market Report, suggesting that the fact that nearly half of the revenue
 for synchronized reserves was paid outside the market shows that there is an uplift
 problem that makes the Tariff unjust and unreasonable.16 But, as the Independent Market
 Monitor asserts in disputing that characterization of his report, those uplift costs appear to
 be the result of issues with the settlements process that are outside the scope of PJM’s
 complaint.17 The Commission, however, simply ignores the contrary evidence in the
 record and claims that the presence of these uplift payments shows that there must be a

        13
             Order, 171 FERC ¶ 61,153 at P 91.
        14
           The Independent Market Monitor explains that several large units self-scheduled
 or came online several hours prior to their commitment period in the early morning
 hours, increasing the available tier 1 synchronized reserves. As a result, for almost all
 intervals between 2:00 AM and 6:00 AM, zero-cost reserves fully satisfied the
 synchronized reserve requirement. Independent Market Monitor Protest, Attachment A
 at 12-13 (Winter Peak Price and Uplift Analysis: January 2019).
        15
             Order, 171 FERC ¶ 61,153 at PP 81-83.
        16
           Id. P 82. PJM makes a similar point, noting that in 2018, it paid 46.2 percent of
 the costs of Tier 2 reserves through uplift, which covered only 36.1 percent of production
 costs. PJM Answer at 28.
        17
         Independent Market Monitor Second Answer at 9 (noting that the uplift
 payments were, in significant part, the result of “incorrect settlements calculations, and a
 mismatch between the dispatch interval and the pricing interval”).
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 problem with the market for reserves. Such conclusory assertions that ignore contrary
 evidence are not reasoned decisionmaking.18

         In addition, both the Commission and PJM suggest that the replacement rate will
 help lower uplift costs. Maybe, but that certainly does not show that the existing Tariff is
 unjust and unreasonable or that there is a problem with the current uplift payments. After
 all, uplift payments to eligible resources (such as those committed out of merit for an
 unexpected reliability need) are based on the difference between their cost and the
 revenue they receive from the market.19 Higher energy market prices would, all else
 equal, likely reduce that difference, thereby decreasing uplift payments. But the fact that
 we could increase energy prices in order to decrease uplift does not necessarily mean that
 it would be just and reasonable to do so or, as relevant here, that PJM’s tariff is unjust
 and unreasonable because the market is yielding low prices, which themselves increase
 uplift payments.

         PJM and the Commission also argue that the mere presence of out-of-market
 operator actions is also a reason to find the Tariff unjust and unreasonable. As with
 uplift, the goal of minimizing out-of-market actions, and instead pricing the steps
 operators take to maintain reliability, is a laudable one. PJM and the Commission
 contend that, as a result of operator actions, PJM is procuring reserves well in excess of
 the minimum NERC standards: In 2018, it carried 34 percent more Synchronized
 Reserves than the system requirement and 43 percent more Primary Reserves.20 These
 out of market actions to procure additional reserves should be transparent and understood

        18
           Genuine Parts Co. v. EPA, 890 F.3d 304, 312 (D.C. Cir. 2018) (“[A]n agency
 cannot ignore evidence that undercuts its judgment; and it may not minimize such
 evidence without adequate explanation.”); id. (“‘Conclusory explanations for matters
 involving a central factual dispute where there is considerable evidence in conflict do not
 suffice to meet the deferential standards of our review.’” (quoting Int’l Union, United
 Mine Workers v. Mine Safety & Health Admin., 626 F.3d 84, 94 (D.C. Cir. 2010)); see
 also Lakeland Bus Lines, Inc. v. NLRB, 347 F.3d 955, 962 (D.C. Cir. 2003) (explaining
 that a court “may not find substantial evidence ‘merely on the basis of evidence which in
 and of itself justified [the agency’s conclusion], without taking into account contradictory
 evidence or evidence from which conflicting inferences could be drawn’” (quoting
 Universal Camera Corp. v. NLRB, 340 U.S. 474, 487 (1951)).
        19
          See, e.g., Federal Energy Regulatory Commission, Staff Analysis of Uplift in
 RTO and ISO Markets 4 (2014), available at https://www.ferc.gov/legal/staff-
 reports/2014/08-13-14-uplift.pdf (“Uplift credits are payments made to resources whose
 commitment and dispatch by an RTO or ISO result in a shortfall between the resource’s
 offer and the revenue earned through market clearing prices.”).
        20
             PJM Load Coalition Protest, Attachment A at P 8 (Ali Al-Jabir Affidavit).
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 and PJM should endeavor to improve its markets’ design to incorporate those actions, at
 least to the extent justifiable.

        But, again, as with uplift, the fact that the underlying goal is laudable does not
 show that the existing Tariff is unjust and unreasonable. Indeed, some out-of-market
 actions are inevitable, and, accordingly, proving that a Tariff is unjust and unreasonable
 requires reasoning quite a bit more thorough than simply pointing out that operator
 actions occur.21 In addition, where the record contains conflicting evidence—as this one
 certainly does—section 206 requires the Commission to wrestle with the contrary
 evidence, not simply defer to PJM’s contentions, as today’s order does.22 And while it
 may be just and reasonable for regions to take different approaches to procuring reserves
 beyond the NERC requirement, the Commission should not be so quick to find that
 procuring reserves consistent with that requirement is itself unjust and unreasonable.23

        Moreover, PJM’s existing Tariff permits it to take additional actions to address
 these very issues, suggesting that wholesale revisions to the Tariff may not be necessary.
 For example, its current Operating Reserve Demand Curve (ORDC) has a two-step
 design with a “Step 2B” that allows PJM “to extend the reserve requirement when PJM
 operators [take] actions to schedule additional reserves during conservative operations.”24
 PJM explains that this authority to extend the reserve requirement has never been
 deployed, but fails to adequately explain why greater use of its existing authority could
 not go a long way toward remedying the problems that purportedly render the existing
 Tariff unjust and unreasonable.25 It stands to reason that an RTO cannot decline to

        21
         And yet that is the primary argument on which the Commission relies to
 demonstrate the alleged shortcomings in PJM’s Tariff. See Order, 171 FERC ¶ 61,153 at
 PP 77-78.
        22
             See supra note 18.
        23
           The Commission points to the many individual uncertainties related to the
 forecast of load, generator availability and performance, and interchange—uncertainties
 that all RTOs and ISOs as well as other Transmission Operators share—and contends that
 the sum of those uncertainties render the NERC-mandated quantity of reserves
 insufficient. See Order, 171 FERC ¶ 61,153 at P 75.
        24
             PJM, Manual 13: Emergency Operations § 3.2.
        25
           PJM claims that limitations in the guidance on how to use the Step 2B extension
 in its Business Practices Manual prevent this option from being effective solution. Even
 assuming that is correct, the more obvious solution would be to revise the Business
 Practices Manual—a guidance document that is not on file with the Commission—rather
 finding that the Tariff is unjust and unreasonable. See PJM Load Coalition Answer at 7-
 8. Today’s order suggests that Step 2B is too narrow a measure as evidenced by the fact
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 exercise its existing authority and then use that decision to explain why its existing Tariff
 is unjust and unreasonable.

        Finally, PJM contends that the Tariff is unjust and unreasonable because it will
 need additional reserves to provide the flexibility required to address the growth of
 variable resources, such as wind and solar.26 As an initial matter, PJM has some of the
 lowest levels of variable resources of any RTO in the country—yet those other RTOs
 have managed to address the changing needs of their systems without filing complaints
 against their own tariffs—and, in any case, the Commission’s recent orders are doing
 plenty to slow down that transition.27 SPP and CAISO, for example, routinely manage
 renewable generation levels well above 50 percent of total load without the type of
 reforms PJM claims it needs.28 Moreover, with over 40 GW of new, highly efficient, and
 flexible combined-cycle natural gas turbines PJM has a resource mix that should easily
 accommodate its relatively slow growth in variable resources.29

        The bottom line is that none of PJM’s arguments provide a compelling case that its
 existing Tariff is unjust and unreasonable. And the analysis, such as it is, in today’s order
 equally fails to meet that burden. Most of the Commission’s determination section
 consists of parroting PJM’s points and then asserting that the Commission disagrees with
 protestors, without a real explanation why. Simply put, the Commission’s willingness to
 uncritically accept the representations in PJM’s complaint makes a mockery out of the




 that it has not prevented the use of out-of-market operator commitments. Order, 171
 FERC ¶ 61,153 at P 94. That does not, however, respond to the argument that the
 appropriate response is for PJM to change its guidance on how to use Step 2B before
 claiming that the Tariff is simply unjust and unreasonable.
        26
             PJM Transmittal at 7.
        27
          See PJM Interconnection, L.L.C., 171 FERC ¶ 61,035 (Glick, Comm’r,
 dissenting at PP 90-97).
        28
           See California ISO, Monthly Renewables Performance Report (Mar. 2020),
 http://www.caiso.com/Documents/MonthlyRenewablesPerformanceReport-
 Mar2020.html (stating that CAISO’s maximum renewable penetration in March was just
 over 80 percent); Tom Kleckner, RTO Insider, SPP Sets 71.3% Wind Penetration Mark
 (Feb. 6, 2020), available at https://rtoinsider.com/spp-sets-wind-penetration-mark-
 154435/ (reporting that SPP experienced energy penetration levels of 71.3 percent on
 February 3, 2020).
        29
             See Independent Market Monitor Protest at 19.
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 well-established proposition that “Section 206’s procedures are ‘entirely different’ and
 ‘stricter’ than those of section 205.”30

 II.    The Commission Fails to Demonstrate that Its Replacement Rate Is Just and
        Reasonable

        In setting a replacement rate, today’s order largely rubber stamps PJM’s proposal
 to impose a complex and opaque administrative pricing scheme, which is expected to
 increase prices by between $500 million and $2 billion per year.31 That replacement rate
 will result in pervasive scarcity pricing, even when reserves are plentiful.32 That result is
 inconsistent with basic economic theory and, taken seriously, would appear to raise
 serious questions about how locational marginal prices are formulated in all other RTOs.
 Suffice it to say, forcing customers to pay outrageous costs for reserves substantially in
 excess of the reserve requirements established by NERC and without any evidence of
 additional benefits commensurate with that additional cost is about unjust and
 unreasonable as you can get.

         As noted, scarcity pricing is an essential element of any market-based approach to
 managing an electricity system. It provides an economic incentive for resources to
 provide services that are in short supply, thereby providing more of those essential
 services. But the logic of shortage pricing presupposes that there is a shortage. Imposing
 scarcity pricing in the absence of a shortage is a way to generate windfalls for generators,
 not a just and reasonable response to market conditions.

        Imagine if ride-sharing companies, such as Uber or Lyft, all suddenly began
 doubling or tripling the cost of rides when there were far more cars on the road than
 customers using those apps. Now imagine that those companies had a monopoly on
 transportation and you had to use those services to get where you want to go. That would
 look a lot more like price gouging than a reasonable response to market fundamentals.
 And yet, that is distressingly similar to the pricing regime that the Commission is


        30
             Emera Maine, 854 F.3d at 24.
        31
           The Independent Market Monitor estimates PJM’s proposal will result in an
 increase in payments by load to generators of at least $1.7 billion per year. Independent
 Market Monitor Protest at 53. PJM estimates the increase in energy and reserve market
 billing from its proposal will be approximately $556 million. PJM Transmittal,
 Attachment D at 46 (Affidavit of Adam Keech).
        32
          See Independent Market Monitor Protest at 7 (explaining that the result of
 PJM’s proposed replacement rate “is scarcity pricing all the time, all hours of the day, all
 days of the year, regardless of actual shortage conditions.”).
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 imposing today. That is a sad state of affairs for an agency whose primary purpose is
 supposed to be customer protection.33

         To appreciate the implications of today’s order, we need to start with the shape of
 the ORDC and what it means both in terms of pricing and price signals. Today’s order
 approves a transition from a vertical stepped demand curve for reserves, to a downward-
 sloping ORDC. That downward slope supposedly reflects a probabilistic distribution of
 the likelihood that PJM would fail to meet its minimum reserve requirement for a reserve
 product when varying amounts of reserves in excess of the minimum reserve requirement
 are available to the system.34 As a result, the downward-sloping ORDC extends far
 beyond the minimum reserve requirement and assigns a positive value to acquiring
 operating reserves well in excess of that requirement.35 In particular, this positive value
 assigns every MW of load served a cost associated with failure to satisfy the reserve
 requirement. That cost is the scarcity component that is added to the energy price.

         And therein lies the problem. Today’s order approves PJM’s proposal to procure
 reserves in excess of the reserve requirement as if it were facing a reserve shortage when
 it is not. As the Independent Market Monitor explains, the extended slope of the new
 ORDCs creates “scarcity pricing at all times rather than when there is an actual
 shortage.”36 The record suggests that this permanent shortage approach to pricing
 reserves will raise energy prices in 85 percent of the hours of the year.37 The idea that
 PJM, out of all the RTOs, is facing a near-constant reserve shortage is frankly ludicrous.


        33
           California ex rel. Lockyer v. FERC, 383 F.3d 1006, 1017 (9th Cir. 2004)
 (rejecting “an interpretation [that] comports neither with the statutory text nor with the
 Act’s ‘primary purpose’ of protecting consumers”); City of Chicago, Ill. v. FPC, 458 F.2d
 731, 751 (D.C. Cir. 1971) (“[T]he primary purpose of the Natural Gas Act is to protect
 consumers.” (citing, inter alia, City of Detroit v. FPC, 230 F.2d 810, 815 (D.C Cir.
 1955)).
        34
           PJM Transmittal at 58-59; see also id., Attachment F at 6 (Affidavit of Dr.
 Patricio Rocha Garrido) (“[T]he proposed ORDC is composed of an [Minimum Reserve
 Requirement segment and a downward-sloping segment whose shape is determined by
 the declining probability of failing to meet the MRR as the magnitude of total forecast
 error (and available reserves) increases.”).
        35
           Independent Market Monitor Protest at 22 (“PJM’s current calculations for its
 proposed ORDC define a positive marginal value for reserves up to nearly twice the
 current reserve requirements.”).
        36
             Id. at 23.
        37
             Id. at 24. As noted, the total costs of those price increases is forecasted to run
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        In addition, the record suggests that applying constant scarcity pricing regardless
 of system conditions can threaten reliability. As Direct Energy observed, it could be
 particularly problematic during minimum generation events, when PJM needs to remove
 excess generation from the system to manage reliability. With the new downward-
 sloping ORDC, PJM’s pricing mechanism will incentivize generation to come on to the
 system (and for load to come off), even as PJM is trying to get resources offline. This
 dynamic can threaten reliability as it undermines PJM’s ability to manage a minimum
 generation event. And that is particularly concerning here because, as the Independent
 Market Monitor points out, the extended reserve requirements created by the long slope
 of the new ORDC increases the likelihood of minimum generation events in the future.38

        In fairness, a sloped ORDC would not be inherently unjust and unreasonable. A
 sloped curve that reflected a realistic risk assessment could well be an appropriate
 approach to pricing excess reserves. But that is not what we have here. The downward
 sloping portion of the ORDC has no zero crossing point and can be more than twice as
 much as the reserve requirement.39 That will result in the procurement of unneeded
 reserves and could result in prices as high as $12,000/MWh which appears far in excess
 of the value of lost load.40 Neither PJM nor the Commission explain how the sloped
 curve in this order will provide reliability benefits anywhere near the roughly $500
 million to $2 billion in annual costs that it will impose on customers.41



 between $500 million and $2 billion. See supra n.31. And that is just the beginning. As
 the Independent Market Monitor explains, applying PJM’s method for calculating the
 proposed ORDCs based on wind and solar forecast error to PJM’s prediction of the
 growth in wind and solar in the coming years would increase the scarcity price adder by
 $500 per MW for the first 1,000 MW of reserves beyond the reserve requirement. See
 Independent Market Monitor Protest at 50.
        38
            Independent Market Monitor First Answer at 21 (“The extended reserve
 requirements created by the extended sloping ORDC increase the likelihood of PJM
 having excess online capacity such that it dispatches all resources down to their physical
 limits.”).
        39
          Compare that to the downward sloping portion the VRR curve, which can
 procure up to about five percent more MW than the target reserve margin. Independent
 Market Monitor Protest at 17.
        40
        Cf. MISO FERC Electric Tariff Schedule 28 40.0.0 (“The Value of Lost Load
 (VOLL) shall be equal to $3,500 per MWh”).
        41
             See supra n.31.
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        In addition, by more than doubling the Reserve Penalty Factor from $850/MWh to
 $2,000/MWh, today’s order also permits PJM to charge far too much for the reserves it
 procures.42 PJM’s argument, which the Commission again uncritically accepts, is that the
 reserve penalty factor should be the same as the maximum price-setting energy offer cap,
 which, in Order No. 831, the Commission increased to $2,000.43 But that argument
 overlooks the fact that offers cannot exceed $1,000/MWh without prior PJM approval of
 a cost-based offer44 and the Independent Market Monitor contends that the short-run
 marginal cost rarely exceeds the current $850/MWh penalty factor.45 The Commission’s
 statement that $2,000 is a just and reasonable Reserve Penalty Factor because generation
 resources can, under certain circumstances, submit cost-verified incremental energy
 offers up to $2,000/MWh ignores the fact that such prices are unlikely to occur46 and
 makes no effort to wrestle with whether customers derive a benefit even remotely close to
 the incremental cost of such sky-high penalty factors.47

         Using a $2,000/MWh penalty factor is likely an overstated value for the highest
 marginal cost resource on the system in all but the rarest of circumstances, but the impact
 of this is most severe when considering how the multiple products are designed to work
 together. The Commission approves PJM’s proposal to make the reserve penalty factors
 additive across the different products and locational reserve.48 In English, that means that



        42
             Order, 171 FERC ¶ 61,153 at PP 34, 153.
        43
         Offer Caps in Mkts. Operated by Reg’l Transmission Orgs. & Indep. Sys.
 Operators, Order No. 831, 157 FERC ¶ 61,115 (2016), order on reh’g & clarification,
 Order No. 831-A, 161 FERC ¶ 61,156 (2017), amended by 165 FERC ¶ 61,136 (2018).
        44
           Id. P 1 (“[W]e require, pursuant to section 206 of the Federal Power Act, that
 each RTO/ISO: (1) cap each resource's incremental energy offer at the higher of
 $1,000/megawatt-hour (MWh) or that resource's verified cost-based incremental energy
 offer; and (2) cap verified cost-based incremental energy offers at $2,000/MWh when
 calculating locational marginal prices”).
        45
             Independent Market Monitor Protest at 32.
        46
         As the Load Coalition points out, price-setting energy market offers did not
 exceed $1,000/MWh between 2015 and 2018 and, even in 2014, only went up
 $1,850/MWh. PJM Load Coalition Protest at 52.
        47
             Order, 171 FERC ¶ 61,153 at P 153.
        48
             Id. P 157.
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 total Reserve Penalty Factors could rise up to $12,000/MWh.49 That is almost four times
 what other RTOs, such as MISO estimate as the Value of Lost Load50 and even higher
 than the $9,000/MWh value used in the Electric Reliability Council of Texas’s (ERCOT)
 energy only market.51 That $9,000/MWh figure in ERCOT is supposed to raise energy
 prices above marginal cost as an alternative to a capacity market. Unlike ERCOT, PJM
 has a capacity market, albeit a troubled one, which would seem to undermine any
 justification for cumulative Reserve Penalty Factor thousands of dollars above ERCOT’s
 figures.52

        Given the enormous costs imposed by today’s order, I am pleased to see that the
 Commission is at least requiring PJM to implement a forward-looking energy and
 ancillary services offset (E&AS Offset). In theory, that should mitigate some of the
 enormous costs imposed by this proposal by reducing capacity market prices
 accordingly.53 But getting a forward looking E&AS Offset right is no mean feat. And
 getting it right is critical to properly establishing the Net CONE value that is used to

        49
             PJM Transmittal at 11-12.
        50
        MISO FERC Electric Tariff Schedule 28 40.0.0 (“The Value of Lost Load
 (VOLL) shall be equal to $3,500 per MWh”).
        51
          Independent Market Monitor Protest at 27 (citing William W. Hogan & Susan
 L. Pope, FTI Consulting, Priorities for the Evolution of an Energy-Only Electricity
 Market Design in ERCOT (2017)).
        52
           The Commission also relies on PJM’s claim that these reforms will incentivize
 the development of flexible resources as a justification for the replacement rate. Order,
 171 FERC ¶ 61,153 at P 230. If only. The record instead reflects that the new ORDC’s
 principal effect will be to convey a windfall to inflexible generators. Independent Market
 Monitor Protest at 47- 49, tbl. 3 (showing that nuclear resources would receive the largest
 increase in energy revenue from PJM’s proposal at $15,345/MW-year for the simulated
 year 2018 while combustion turbines and steam coal units would receive an increase of
 $5,910 and $6,952/MW-year in energy and reserve revenues). That will presumably help
 keep them online and slow their replacement by more flexible resources. Instead of
 helping the transition to the flexible resources needed in the future, this proposal seems
 more likely to slow—or even reverse—that trend by creating a new source of revenue for
 inflexible capacity.
        53
          To that end, I have previously urged PJM and its stakeholders to work on
 developing such an approach, as I agree with the Brattle Group’s repeated
 recommendations along these lines as a forward-looking approach to calculating E&AS
 would better align with a forward looking auction such as PJM’s capacity auction. PJM
 Interconnection, L.L.C., 167 FERC ¶ 61,029 (Glick, Comm’r, dissenting at P 12).
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 anchor the VRR Curve54 and that plays a central role in the sweeping administrative
 scheme imposed by the Commission’s recent MOPR Order.55 I strongly urge PJM to
 consider multiple options for developing this forward-looking offset and provide the
 relevant details to the PJM stakeholders as transparently as possible. Any proposal PJM
 makes on compliance must be properly vetted by PJM’s stakeholders.

         Finally, I note that the implication of the Commission’s adoption of an E&AS
 offset is that, without such an offset reflecting the changes imposed by today’s order,
 capacity market inputs that depend on E&AS, including Net CONE, could well be unjust
 and unreasonable. Accordingly, it would seem that any offset would have to be in place
 before the next capacity auction if the results are to be deemed just and reasonable under
 the Commission’s own reasoning.

                                        *      *     *

         I support changes to more accurately price operating reserves, which, when done
 well, should reward flexibility and ensure that both demand and supply receive accurate
 price signals to respond to changing system conditions. I also support efforts to better
 define energy market needs that would increase the ability of resources to earn revenues
 in the energy and ancillary services markets based on the services they provide rather
 than through the slush fund that has become the PJM capacity market. I remain open to
 proposals to improve PJM’s markets along those lines.

        Today’s order does not do that. The record in this proceeding simply does not
 support a finding that the current market is unjust and unreasonable. To be sure, the
 market is not perfect, but showing that an existing rate is unjust and unreasonable
 requires more than suggesting that there may be something better. 56 In any case, the
 replacement rate set by today’s order clearly is not a better approach. Instead of
 incentivizing resources to respond to system conditions or improving price formation, it
 replaces the locational marginal price with an administrative construct that implements
 scarcity pricing even when there is no shortage. This is an indefensible rate hike for
 consumers, not a just and reasonable solution.

        In closing, I am also deeply disappointed by the failure of leadership on the parts
 of both PJM and the Commission in how they appear to be approaching the changing
 needs of the grid. Instead of using the coming growth of variable resources as a

         54
              PJM Interconnection, L.L.C., 171 FERC ¶ 61,040 (Glick, Comm’r, dissenting at
 P 2).
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              PJM Interconnection, L.L.C., 171 FERC ¶ 61,035.
         56
              Emera Maine, 854 F.3d at 27.
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 scapegoat to justify imposing excessive rates on consumers (and handing yet another
 windfall to generators), we should be considering how to best incentivize the resources
 that will provide the services needed to operate the grid reliably in the years to come.
 There are many ways that PJM could do that; this just is not one of them.

        For these reasons, I respectfully dissent.


 ________________________
 Richard Glick
 Commissioner
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